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                          EXHIBIT 5
Case 8:17-cv-00587-TPB-AEP Document 142-6 Filed
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                                           J. Feist
                                      October 07, 2020                              ·




      ·   ·   ·   ·   ·   · UNITED STATES DISTRICT COURT
      ·   ·   ·   ·   ·   · ·MIDDLE DISTRICT OF FLORIDA
      ·   ·   ·   ·   ·   · · · · ·TAMPA DIVISION
      ·   ·   ·   ·   ·   CASE NO.:· 8:17-CV-00587-TPB-AEP


      JOHN J. JERUE and MICHAEL J.
      FEIST,

      · · · · · · · ·Plaintiffs,
      vs.

      DRUMMOND COMPANY, INC.,

      · · · · · · · ·Defendant.
      ________________________________/




      · · · · · · · VIDEOTAPED DEPOSITION OF

      · · · · · · · · · MICHAEL J. FEIST




      · · · · · · · · ·Pages 1 through 166



      · · · · · · ·Wednesday, October 7, 2020
      · · · · · · · · 9:12 a.m. - 2:39 p.m.


      · · · · · · · · Holland & Knight, LLP
      · · · · ·100 North Tampa Street, Suite 4200
      · · · · · · · · Tampa, Florida 33602




      · · · · · · Stenographically Reported By:
      · · · · · · Denise Sankary, RPR, RMR, CRR




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                                           J. Feist
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      ·1·   ·APPEARANCES:                                                  ·1·   ·The following proceedings began at 9:12 a.m.:
      ·2
      · ·   ·On behalf of Plaintiffs:                                      ·2·   · · · · · ·THE VIDEOGRAPHER:· Good morning.· We are
      ·3
      · ·   · · ·       NIDEL & NACE, P.L.L.C.                             ·3·   · · · now on the record.· Today's date is October 7,
      ·4·   · · ·       5335 Wisconsin Avenue, NW, Suite 440
      · ·   · · ·       Washington, D.C. 20015
                                                                           ·4·   · · · 2020, and the time is 9:12 a.m.
      ·5·   · · ·       202-558-2020                                       ·5·   · · · · · ·We are here for the videotaped deposition
      · ·   · · ·       BY:· CHRISTOPHER T. NIDEL, ESQUIRE
      ·6·   · · ·       chris@nidellaw.com                                 ·6·   · · · of Mr. Michael J. Feist taken in the matter
      ·7·   ·and
      ·8·   · · ·       GERMAN RUBENSTEIN, LLP                             ·7·   · · · John Jay Jerue and Michael J. Feist,
      · ·   · · ·       19 West 44th Street, Suite 1500                    ·8·   · · · Plaintiffs, versus Drummond Company,
      ·9·   · · ·       New York, New York 10036
      · ·   · · ·       212-704-2020                                       ·9·   · · · Incorporated.· Case
      10·   · · ·       BY:· STEVEN J. GERMAN, ESQUIRE
      · ·   · · ·       sgerman@germanrubenstein.com                       10·   · · · Number 8:17-CV-00587-TPB-AEP, in the United
      11
      12·   ·On     behalf of Defendant:
                                                                           11·   · · · States District Court, Middle District of
      13·   · ·     · HOLLAND & KNIGHT, LLP                                12·   · · · Florida, Tampa Division.
      · ·   · ·     · 100 North Tampa Street, Suite 4100
      14·   · ·     · Tampa, Florida 33602-3644                            13·   · · · · · ·We are located here today at Holland &
      · ·   · ·     · (813)227-6485
      15·   · ·     · BY:· CHARLES WACHTER, ESQUIRE
                                                                           14·   · · · Knight, 100 North Tampa Street, Suite 4100 --
      · ·   · ·     · charles.wachter@hklaw.com                            15·   · · · excuse me, 4200, Tampa, Florida.
      16·   · ·     · BY:· FREDERICK J. GRADY, ESQUIRE
      · ·   · ·     · fred.grady@hklaw.com                                 16·   · · · · · ·Will the attorneys in the room please
      17
      · ·   ·and                                                           17·   · · · introduce themselves, starting with the
      18                                                                   18·   · · · plaintiff.
      · ·   ·   ·   ·   BURR & FORMAN, LLP
      19·   ·   ·   ·   420 North 20th Street, Suite 3400                  19·   · · · · · ·MR. NIDEL:· Chris Nidel on behalf of the
      · ·   ·   ·   ·   Birmingham, Alabama 35203
      20·   ·   ·   ·   205-458-5469                                       20·   · · · plaintiffs.
      · ·   ·   ·   ·   BY:· BRYAN O. BALOGH, ESQUIRE
      21·   ·   ·   ·   bbalogh@burr.com
                                                                           21·   · · · · · ·THE VIDEOGRAPHER:· Can you please put
      22                                                                   22·   · · · your --
      · ·   ·ALSO       PRESENT:·   Travis Failey, Videographer
      23·   · · ·       · · · · ·   Russell Wills, Videographer            23·   · · · · · ·MR. WACHTER:· I'm Charles Wachter
      · ·   · · ·       · · · · ·   Nancy Daniel, Paralegal
      24·   · · ·       · · · · ·   Blake Andrews, Esquire                 24·   · · · representing the defendant.· I'm here with Fred
      · ·   · · ·       · · · · ·   Connie Cox, Esquire                    25·   · · · Grady, my partner, and Nancy Daniel, our
      25


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      ·1·   · · · · · · · · · · · ·I N D E X                               ·1·   · · · paralegal.
      ·2
      · ·   ·Examination· · · · · · · · · · · · · · · · ·Page              ·2·   · · · · · ·THE VIDEOGRAPHER:· Will the court reporter
      ·3
                                                                           ·3·   · · · please -- my name is Travis Bailey representing
      · ·   ·MICHAEL J. FEIST
      ·4                                                                   ·4·   · · · Trial Consultant Services.· I'm the
      · ·   ·Direct· · · · · · · By Mr. Wachter· · · · · · ·5
      ·5·   ·Cross· · · · · · · ·By Mr. Nidel· · · · · · ·160
                                                                           ·5·   · · · videographer.· Russell Wills is also -- my
      · ·   ·Redirect· · · · · · By Mr. Wachter· · · · · ·163              ·6·   · · · associate is also in the room.
      ·6
      · ·   ·Certificate of Oath· · · · · · · · · · · · · 165
                                                                           ·7·   · · · · · ·Will the court reporter please swear the
      ·7·   ·Certificate of Reporter· · · · · · · · · · · 166              ·8·   · · · witness.
      ·8·   · · · · · · · · · ·DEFENSE EXHIBITS
      ·9·   ·No.· · · · · · · · · · · · · · · · · · · · ·Page              ·9·   · · · · · ·THE COURT REPORTER:· Mr. Feist, would you
      10·   · 1· · Color photographs· · · · · · · · · · · ·16              10·   · · · raise your right hand, please.
      11·   · 2· · 06/14/20 Warranty Deed between Herve· · 17
      · ·   · · · ·A. Meillat, Annie Meillat and Michael                   11·   · · · · · ·Do you swear the testimony you're about to
      12·   · · · ·Feist, Ratnamani Lingamallu                             12·   · · · give today will be the truth, the whole truth
      13·   · 3· · 07/05/20 Warranty Deed between Thomas· ·17
      · ·   · · · ·S. Wallace, Alice A. Wallace and                        13·   · · · and nothing but the truth?
      14·   · · · ·Michael Feist, Ratnamani Lingamallu
      15·   · 4· · 07/01/05 Warranty Deed between· · · · · 25
                                                                           14·   · · · · · ·THE WITNESS:· I do.
      · ·   · · · ·Michael Feist, Ratnamani Lingamallu                     15·   · · · · · ·THE COURT REPORTER:· Thank you.
      16·   · · · ·and Eugene W. Kent, Carol J. Kent
      17·   · 5· · 04/26/06 Corrective Warranty Deed· · · ·28
                                                                           16·   ·Thereupon:
      · ·   · · · ·between Michael Feist, Ratnamani                        17·   · · · · · · · · · ·MICHAEL J. FEIST
      18·   · · · ·Lingamallu and Eugene W. Kent, Carol
      · ·   · · · ·J. Kent                                                 18·   ·having been first duly sworn, was examined and
      19                                                                   19·   ·testified as follows:
      · ·   ·   6· · 08/31/05 Warranty Deed between Helena· ·31
      20·   ·   · · ·Mahias and Rekha Holdings, LLC                        20·   · · · · · ·THE VIDEOGRAPHER:· Please proceed.
      21·   ·   7· · (6)Color photographs· · · · · · · · · · 33            21·   · · · · · · · · · DIRECT EXAMINATION
      22·   ·   8· · Drummond Properties Lakeland· · · · · ·138
      · ·   ·   · · ·Development Agreement with Department                 22·   · ·BY MR. WACHTER:
      23·   ·   · · ·of Community Affairs and Central
                                                                           23·   · · · Q.· ·Mr. Feist, my name is Charles Wachter.
      · ·   ·   · · ·Florida Regional Planning Council
      24                                                                   24·   · · · · · ·Could you give us your full name, please?
      · ·   · 9· · 05/02/17· · · · · · · · · · · · · · · ·140
      25·   · · · ·Drummond/Grasslands/Oakbridge Meeting
                                                                           25·   · · · A.· ·Michael John Feist.


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      ·1·   · · · Q.· ·Okay.· Mr. Feist, if you need a break or     ·1·   · · · A.· ·Right.
      ·2·   ·if you have any difficulty hearing, could you please   ·2·   · · · Q.· ·-- chronology.· So take your time.
      ·3·   ·let us know?                                           ·3·   · · · A.· ·Yeah.· I just -- I'm trying to remember
      ·4·   · · · A.· ·Sure.                                        ·4·   ·the actual address, but it was, I believe, 733 Terra
      ·5·   · · · Q.· ·Mr. Feist, where do you live?                ·5·   ·Largo Drive or something like that.· That was also
      ·6·   · · · A.· ·You want the full address?                   ·6·   ·Lakeland, Florida 33810.
      ·7·   · · · Q.· ·Yes, sir.                                    ·7·   · · · Q.· ·When did you live there?
      ·8·   · · · A.· ·3504 Royal Court North, Lakeland, Florida    ·8·   · · · A.· ·That was about 2000 -- January 2008 to
      ·9·   ·33812.                                                 ·9·   ·about 2010.· August, I think, 2010, something like
      10·   · · · Q.· ·And who do you live with?                    10·   ·that.
      11·   · · · A.· ·My wife and four boys; four sons.            11·   · · · Q.· ·Where did you live before that?
      12·   · · · Q.· ·Thank you.                                   12·   · · · A.· ·651 Grasslands Village Circle.
      13·   · · · · · ·What's your wife's name?                     13·   · · · Q.· ·How long did you live there?
      14·   · · · A.· ·Fon, F-O-N.                                  14·   · · · A.· ·About two years, a little less than two
      15·   · · · Q.· ·And do you have any other children?          15·   ·years.
      16·   · · · A.· ·I do.· I have an 18-year-old daughter        16·   · · · Q.· ·What years were that?
      17·   ·who's away at college.                                 17·   · · · A.· ·That was, I believe, 2007, 2008.
      18·   · · · Q.· ·So four boys and one daughter?               18·   · · · Q.· ·So -- and so prior to 651 Grasslands
      19·   · · · A.· ·Yeah.                                        19·   ·Village, that's -- is that in Muirfield Village?
      20·   · · · Q.· ·Okay.· Where did you live -- where does      20·   · · · A.· ·It is, yeah.
      21·   ·your daughter live when she's not in college?          21·   · · · Q.· ·Okay.· Prior to Muirfield Village, where
      22·   · · · A.· ·With my ex-wife in Grasslands.               22·   ·did you live?
      23·   · · · Q.· ·Where's that located?· What's the address    23·   · · · A.· ·A short time at 3039 Grasslands Drive.
      24·   ·for that?                                              24·   · · · Q.· ·And then where did you live before that?
      25·   · · · A.· ·3039 Grasslands Drive, I think it is.· And   25·   · · · A.· ·The number, I don't remember, but Winged

                                                          Page 7                                                        Page 9
      ·1·   ·the ZIP code is 33813 or 03.· I'm not sure.            ·1·   ·Foot Drive in Grasslands also.
      ·2·   · · · Q.· ·And so before your -- can we get your        ·2·   · · · · · ·I have, excuse me, a bit of a correction.
      ·3·   ·daughter's name?                                       ·3·   ·Prior to 3504 Royal Court, I also lived in Oakbridge
      ·4·   · · · A.· ·Bayli, B-A-Y-L-I.                            ·4·   ·and -- yeah, that was Whitestone Court.· And then
      ·5·   · · · Q.· ·Okay.· So before your daughter went to       ·5·   ·prior to 3039 Grasslands, I lived at Winged Foot
      ·6·   ·college, did she reside with your former wife in       ·6·   ·which is also in Grasslands.· I just don't remember
      ·7·   ·Grasslands?                                            ·7·   ·the number.
      ·8·   · · · A.· ·Yes.· My former wife had custody.· We had    ·8·   · · · Q.· ·Okay.· So just to kind of get an idea of
      ·9·   ·kind of the usual arrangement.· So she lived mostly    ·9·   ·the chronology, was Winged Foot the first residence
      10·   ·with my ex-wife.                                       10·   ·within Grasslands that you lived at?
      11·   · · · Q.· ·What's your former wife's name?              11·   · · · A.· ·Yes.
      12·   · · · A.· ·Her full name is Ratnamani Lingamallu. I     12·   · · · Q.· ·So would that have been 3141 Winged Foot
      13·   ·could spell that.                                      13·   ·Drive?
      14·   · · · Q.· ·Could you?                                   14·   · · · A.· ·Yep, sounds correct.
      15·   · · · A.· ·R-A-T-N-A-M-A-N-I.· Lingamallu is            15·   · · · Q.· ·And then was the next residence
      16·   ·L-I-N-G-A-M-U-L-L-A [sic].                             16·   ·3039 Grasslands Drive?
      17·   · · · Q.· ·So does Ms. Lingamallu reside in the -- in   17·   · · · A.· ·Correct.
      18·   ·Grasslands?                                            18·   · · · Q.· ·And then did you go to Grasslands Village
      19·   · · · A.· ·She does, yeah.                              19·   ·Circle --
      20·   · · · Q.· ·Mr. Feist, where did you reside before       20·   · · · A.· ·Right.
      21·   ·Royal Court?                                           21·   · · · Q.· ·-- or Whitestone?
      22·   · · · · · ·MR. NIDEL:· Objection to form.               22·   · · · A.· ·Right, Grasslands Village Circle.
      23·   · ·BY MR. WACHTER:                                      23·   · · · Q.· ·And then Whitestone Court?
      24·   · · · Q.· ·We're going to go back on your -- in terms   24·   · · · A.· ·No, the Terra Largo.
      25·   ·of your residential --                                 25·   · · · Q.· ·Then after Terra Largo, did you go to


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      ·1·   ·Whitestone Court?                                      ·1·   ·what's your current job?
      ·2·   · · · A.· ·Yes.                                         ·2·   · · · A.· ·I'm a senior software engineer working for
      ·3·   · · · Q.· ·And Whitestone Court is in Oakbridge?        ·3·   ·Franklin Templeton, and I've been with them for
      ·4·   · · · A.· ·Oakbridge, correct.                          ·4·   ·about 12 years.
      ·5·   · · · Q.· ·Did you ever live at 1774 Alta Vista         ·5·   · · · Q.· ·And what do you do as a senior software
      ·6·   ·Circle?                                                ·6·   ·engineer?
      ·7·   · · · A.· ·That's the Terra Largo address.              ·7·   · · · A.· ·I develop statistical models and reporting
      ·8·   · · · Q.· ·Okay.· So before moving to Winged Foot       ·8·   ·to mitigate investment risks.
      ·9·   ·Court, did you live in Polk County?                    ·9·   · · · Q.· ·Now, is that investment risks for Franklin
      10·   · · · A.· ·No.· I lived in Pinellas.                    10·   ·Templeton or its customers or who?
      11·   · · · Q.· ·Where did you live in Pinellas?              11·   · · · A.· ·Franklin Templeton.
      12·   · · · A.· ·It was, I think, Nina Drive or Nina          12·   · · · Q.· ·Before Franklin Templeton, where did you
      13·   ·Boulevard, and it was in Seminole.                     13·   ·work?
      14·   · · · Q.· ·So why did you to --                         14·   · · · A.· ·I was self-employed as a consultant.· The
      15·   · · · A.· ·Seminole, Largo.                             15·   ·name of my company was Data Warehouse District.
      16·   · · · Q.· ·Thank you.                                   16·   · · · Q.· ·Where did you work before that?
      17·   · · · · · ·Why did you move to Polk County?             17·   · · · A.· ·Nielson Media Research.
      18·   · · · A.· ·I met my ex-wife and she -- she had a        18·   · · · Q.· ·And where did you work before that?
      19·   ·practice here, so -- and I was a -- a computer         19·   · · · A.· ·National Citibank in Cleveland.
      20·   ·consultant, so it was easy for me to live anywhere.    20·   · · · Q.· ·Did you ever work for Publix?
      21·   · · · Q.· ·Where are you from?                          21·   · · · A.· ·I was a consultant for Publix.· Never was
      22·   · · · A.· ·Ohio.                                        22·   ·employed by them.
      23·   · · · Q.· ·What town?                                   23·   · · · Q.· ·When was that?
      24·   · · · A.· ·Akron area.· It's called Tallmadge.          24·   · · · A.· ·I want to say maybe 2003 to 2005.· I don't
      25·   · · · Q.· ·Is that where you grew up?                   25·   ·remember the exact dates, but it was something like

                                                        Page 11                                                       Page 13
      ·1·   · · · A.· ·Yes.                                         ·1·   ·that.
      ·2·   · · · Q.· ·Did you go to college in Ohio?               ·2·   · · · Q.· ·So for each of these jobs, did you work in
      ·3·   · · · A.· ·I did.                                       ·3·   ·an office, or did you work from home?· Where did you
      ·4·   · · · Q.· ·Which college did you to go to?              ·4·   ·work from?
      ·5·   · · · A.· ·Kent State.                                  ·5·   · · · · · ·MR. NIDEL:· Objection to form.
      ·6·   · · · Q.· ·When did you graduate?                       ·6·   · ·BY MR. WACHTER:
      ·7·   · · · A.· ·I didn't.                                    ·7·   · · · Q.· ·Starting with your current.
      ·8·   · · · Q.· ·What years were you there?                   ·8·   · · · A.· ·I worked from home.
      ·9·   · · · A.· ·'84 to 1994, I think.                        ·9·   · · · Q.· ·And so for Franklin Templeton, have you
      10·   · · · Q.· ·And so from '94 till when you moved to       10·   ·worked from home the entire time?
      11·   ·Polk County, where did you live?                       11·   · · · A.· ·Except for the first two weeks, yes.
      12·   · · · A.· ·'94.· I -- I had bought a house in Kent,     12·   · · · Q.· ·And then for Data Warehouse, where did you
      13·   ·Ohio in, I don't know, probably '93.· And then I       13·   ·work from?
      14·   ·lived with a friend prior to moving to Florida, but    14·   · · · A.· ·I traveled to various company sites.
      15·   ·I don't remember the address, but it was Akron,        15·   · · · Q.· ·How about for Nielson?· Where did you work
      16·   ·Ohio.                                                  16·   ·from?
      17·   · · · Q.· ·And then after that you moved to Pinellas?   17·   · · · A.· ·The office in Clearwater.
      18·   · · · A.· ·That's correct.                              18·   · · · Q.· ·When you were consulting with Publix, did
      19·   · · · Q.· ·So your residence in Florida was in          19·   ·you work at Publix or from home or where?
      20·   ·Pinellas County and Polk County?                       20·   · · · A.· ·I went to the Publix location in Downtown
      21·   · · · A.· ·Pinellas County first and then moved to      21·   ·Lakeland.
      22·   ·Polk County.                                           22·   · · · Q.· ·And that was where you regularly worked
      23·   · · · Q.· ·Any other residence in Florida?              23·   ·from?
      24·   · · · A.· ·No, not that I know of.                      24·   · · · A.· ·Yes.
      25·   · · · Q.· ·In terms of your job history, what --        25·   · · · Q.· ·When was that?


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                                           J. Feist
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      ·1·   · · · A.· ·I believe, again, it was somewhere in the    ·1·   · · · · · ·(Thereupon, marked as Defense Exhibit 1.)
      ·2·   ·2003.                                                  ·2·   · ·BY MR. WACHTER:
      ·3·   · · · · · ·I've got a correction.· I remember.· I was   ·3·   · · · Q.· ·We're going to mark this as Exhibit 1.
      ·4·   ·at the Publix office when 9/11 hit, so it had to be    ·4·   ·Mr. Feist, this has got several pages that came off
      ·5·   ·2001 through maybe 2003.                               ·5·   ·the Internet, but I want you to let us know -- and
      ·6·   · · · Q.· ·So two year-period?                          ·6·   ·there's also an aerial view of where it sits on the
      ·7·   · · · A.· ·Yeah, about two years.                       ·7·   ·street.· I want you to let us know, please, if this
      ·8·   · · · Q.· ·And that work was at the Publix offices?     ·8·   ·is a fair and accurate depiction of this particular
      ·9·   · · · A.· ·Yes.                                         ·9·   ·house.
      10·   · · · Q.· ·In Lakeland?                                 10·   · · · A.· ·It is, yes.
      11·   · · · A.· ·Correct.                                     11·   · · · Q.· ·So you purchased this with your former
      12·   · · · Q.· ·And was that Downtown Lakeland or is there   12·   ·wife?
      13·   ·a separate building that's not in downtown?            13·   · · · A.· ·I did, yeah.
      14·   · · · A.· ·Yeah, this is -- this was Downtown           14·   · · · Q.· ·When was that?
      15·   ·Lakeland.                                              15·   · · · A.· ·About 2001.
      16·   · · · Q.· ·So going back to -- you were going up to     16·   · · · Q.· ·Who did you purchase it from?
      17·   ·your current employment with Franklin Templeton.       17·   · · · A.· ·You know, I don't remember.
      18·   ·Would you say you work from home exclusively or        18·   · · · Q.· ·What -- why did you purchase this
      19·   ·mostly or...                                           19·   ·particular house?
      20·   · · · A.· ·I work from home exclusively.· When I        20·   · · · A.· ·I used to play a lot of golf, and this
      21·   ·first started with them, I did travel back and forth   21·   ·house was on the golf course, and my ex-wife liked
      22·   ·to Fort Lauderdale about one -- one time every six     22·   ·it, so that's -- that's the one we chose.
      23·   ·weeks or so.· But for probably the past five or six    23·   · · · Q.· ·Who negotiated the sale of the house on
      24·   ·years, I haven't traveled to Fort Lauderdale or        24·   ·your side?
      25·   ·anyplace else for them that I can remember.            25·   · · · A.· ·We went through a real estate agent.· Her

                                                        Page 15                                                       Page 17
      ·1·   · · · Q.· ·How many hours a day do you spend at home    ·1·   ·name was Jeri Thom.
      ·2·   ·working?                                               ·2·   · · · Q.· ·Did you and your -- did you and your wife
      ·3·   · · · · · ·MR. NIDEL:· Objection to form.               ·3·   ·negotiate the price or pay the asking price?
      ·4·   · ·BY MR. WACHTER:                                      ·4·   · · · A.· ·I don't think we paid the asking price.
      ·5·   · · · Q.· ·Currently.                                   ·5·   ·Something under that, but I don't remember the
      ·6·   · · · A.· ·Nine hours a day.                            ·6·   ·details exactly.
      ·7·   · · · Q.· ·And do you have a home office?               ·7·   · · · Q.· ·Were you and your former wife both
      ·8·   · · · A.· ·I did.· Now I have a desk in the side of     ·8·   ·involved in that negotiation?
      ·9·   ·the bedroom.                                           ·9·   · · · A.· ·As far as I remember, yes.
      10·   · · · Q.· ·And so before the COVID-19, was it also      10·   · · · · · ·MR. WACHTER:· Let's mark this as Exhibit
      11·   ·your practice to work at home?                         11·   · · · Number 2.· I'm just going to say this is a deed
      12·   · · · A.· ·Yes.                                         12·   · · · to Feist and Lingamallu from Herve and Annie
      13·   · · · Q.· ·So was 3141 Winged Foot Drive your first     13·   · · · Meillat.· It's June 14, 2000.
      14·   ·purchase in Grasslands?                                14·   · · · · · ·(Thereupon, marked as Defense Exhibit 2.)
      15·   · · · A.· ·Yes, it was.                                 15·   · · · · · ·MR. WACHTER:· The next exhibit's going to
      16·   · · · Q.· ·I've got a picture.· I wanted to see if      16·   · · · be Exhibit 3, which is from Wallace to Feist
      17·   ·this is the -- that house.                             17·   · · · and Lingamallu --
      18·   · · · A.· ·It is, yes.                                  18·   · · · · · ·THE COURT REPORTER:· I'm sorry, I can't
      19·   · · · · · ·MR. WACHTER:· We're going to mark that as    19·   · · · hear you.
      20·   · · · an exhibit.· So Nancy -- Nancy's going to help    20·   · · · · · ·MR. WACHTER:· Exhibit 3 is going to be
      21·   · · · us with those.· These pictures.                   21·   · · · another warranty deed from Wallace to Feist and
      22·   · · · · · ·MR. NIDEL:· Am I going to get a copy? I      22·   · · · Lingamallu dated July 5, 2000.
      23·   · · · can't see.· I'm not seeing the exhibits.          23·   · · · · · ·(Thereupon, marked as Defense Exhibit 3.)
      24·   · · · · · ·MR. WACHTER:· Yeah, we'll get you a copy.    24·   · · · · · ·THE WITNESS:· I got two of the same.
      25                                                            25


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      ·1·   · ·BY MR. WACHTER:                                      ·1·   · ·   · · ·MR. NIDEL:· Same objection.
      ·2·   · · · Q.· ·So just to clarify, Exhibit 2 is June 14,    ·2·   ·BY   MR. WACHTER:
      ·3·   ·2000, and Exhibit 3 is July 5, 2000.· Do you see       ·3·   · ·   Q.· ·You may answer, Mr. Feist.
      ·4·   ·those, Mr. Feist?                                      ·4·   · ·   · · ·MR. NIDEL:· Same objection.
      ·5·   · · · A.· ·Yes.                                         ·5·   ·BY   MR. WACHTER:
      ·6·   · · · Q.· ·Okay.· So it looks like it's two deeds       ·6·   · ·   Q.· ·Go ahead.
      ·7·   ·closely related in time, and they both seem to         ·7·   · ·   · · ·MR. NIDEL:· Same objection.
      ·8·   ·relate to Fairway Lakes.· And I don't know whether     ·8·   ·BY   MR. WACHTER:
      ·9·   ·this is Lot 7, Lot 6.· Does this ring a bell in        ·9·   · ·   Q.· ·Mr. Feist, did you not hear the question?
      10·   ·terms of why there were two deeds?                     10·   · ·   · · ·MR. NIDEL:· Same objection.
      11·   · · · A.· ·Where are you seeing Fairway Lakes?          11·   · ·   · · ·MR. WACHTER:· You're objecting to whether
      12·   · · · Q.· ·Well, let's take a look at Number 2.         12·   · ·   or not he heard the question?
      13·   · · · A.· ·Oh, okay.                                    13·   · ·   · · ·MR. NIDEL:· I'm objecting to you getting
      14·   · · · Q.· ·Yeah.· So Number 2 talks about Fairway       14·   · ·   an answer about a document you've just shown
      15·   ·Lakes, Lot 7C in Fairway Lakes.                        15·   · ·   him that you haven't allowed him to read and he
      16·   · · · A.· ·Yes.                                         16·   · ·   may not be able to identify an answer to your
      17·   · · · Q.· ·Is that a deed that you and your former      17·   · ·   question.· That's what I'm objecting to.
      18·   ·wife received?                                         18·   · ·   · · ·MR. WACHTER:· You know what, Mr. Nidel, if
      19·   · · · A.· ·Yes.                                         19·   · ·   your witness needs to have more time to read
      20·   · · · Q.· ·And then Exhibit 3 talks about Lot 7C in     20·   · ·   the document, please let me know.· I'm at the
      21·   ·Fairway Lakes, and is that a deed that you and your    21·   · ·   other end of the room, so I can't see whether
      22·   ·wife received?                                         22·   · ·   he's reading it or not, and I'm not getting any
      23·   · · · A.· ·I'm not sure which one you're calling, but   23·   · ·   response from the witness.
      24·   ·I'm assuming it's this other one.                      24·   · ·   A.· ·Can you repeat the question?
      25·   · · · Q.· ·Exhibit 3, just so we're clear, it says      25

                                                         Page 19                                                       Page 21
      ·1·   ·the grantors are Thomas S. Wallace and Alice A.        ·1·   · ·BY MR. WACHTER:
      ·2·   ·Wallace.                                               ·2·   · · · Q.· ·All right.· Exhibit Number 2, do you know
      ·3·   · · · · · ·MR. NIDEL:· Can we have the court reporter   ·3·   ·what that is?
      ·4·   · · · mark the exhibit he's looking at, because his     ·4·   · · · A.· ·Yes.
      ·5·   · · · exhibits don't have numbers, and I'm confused     ·5·   · · · Q.· ·What is it?
      ·6·   · · · as to what documents we're talking about, and I   ·6·   · · · A.· ·It's a warranty deed.
      ·7·   · · · don't think it's appropriate.                     ·7·   · · · Q.· ·And is that a warranty deed from Herve A.
      ·8·   · · · · · ·MR. WACHTER:· Mr. Feist ought to have the    ·8·   ·Meillat and Annie Meillat to you and your former
      ·9·   · · · marked exhibits.                                  ·9·   ·wife?
      10·   · · · · · ·MR. NIDEL:· Mine aren't marked.              10·   · · · A.· ·Yes.
      11·   · · · · · ·MS. DANIEL:· No, none of them are.           11·   · · · Q.· ·And does it relate to the house that you
      12·   · · · · · ·MR. WACHTER:· We're talking about the        12·   ·bought?
      13·   · · · marked exhibits.                                  13·   · · · A.· ·Yes.
      14·   · · · · · ·MR. NIDEL:· Now can I get copies?            14·   · · · Q.· ·And then could you look at Exhibit
      15·   · · · · · ·Nancy, he's got a third document.            15·   ·Number 3?
      16·   · · · · · ·MR. WACHTER:· Okay.                          16·   · · · A.· ·Okay.
      17·   · ·BY MR. WACHTER:                                      17·   · · · Q.· ·What is Number 3?
      18·   · · · Q.· ·Mr. Feist, let me know when you've got       18·   · · · · · ·MR. NIDEL:· Objection to form and
      19·   ·Exhibit 2 in front of you.                             19·   · · · foundation.
      20·   · · · A.· ·I do.                                        20·   · · · A.· ·It's a warranty deed.
      21·   · · · Q.· ·All right.· What does this -- what does      21·   · ·BY MR. WACHTER:
      22·   ·this warranty deed relate to?                          22·   · · · Q.· ·Is that a warranty deed from Thomas
      23·   · · · · · ·MR. NIDEL:· Objection to foundation.         23·   ·Wallace and Alice Wallace to you and your former
      24·   · ·BY MR. WACHTER:                                      24·   ·wife?
      25·   · · · Q.· ·What does this Exhibit 2 relate to?          25·   · · · A.· ·Yes.


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      ·1·   · · · Q.· ·Does that also relate to 3141 Winged Foot    ·1·   ·that correct?
      ·2·   ·Drive?                                                 ·2·   · · · A.· ·That transaction, I don't believe Drummond
      ·3·   · · · A.· ·No.                                          ·3·   ·was involved.· That was through an agent.
      ·4·   · · · Q.· ·What does that relate to?                    ·4·   · · · Q.· ·You purchased from these individuals,
      ·5·   · · · A.· ·3049 Grasslands.                             ·5·   ·right?
      ·6·   · · · Q.· ·So when you bought the house at              ·6·   · · · A.· ·Correct.
      ·7·   ·3141 Winged Foot Drive, that was -- the sellers        ·7·   · · · Q.· ·Did Drummond provide any information to
      ·8·   ·were -- I'm just going to spell it -- M-E-I-L-L-A-T;   ·8·   ·you concerning this property before you purchased
      ·9·   ·is that right?                                         ·9·   ·it?
      10·   · · · A.· ·Yes.· Meillat, I believe that                10·   · · · A.· ·No.
      11·   ·pronunciation was.                                     11·   · · · Q.· ·Did the individuals provide any
      12·   · · · Q.· ·Thanks.                                      12·   ·information to you before you purchased it about the
      13·   · · · · · ·Okay.· And then so when you bought the       13·   ·property?
      14·   ·house -- when you bought the lot from Wallace, that    14·   · · · · · ·MR. NIDEL:· Objection to form.
      15·   ·was for the Grasslands property?                       15·   · · · A.· ·Not that I recall.
      16·   · · · A.· ·I believe it was.                            16·   · ·BY MR. WACHTER:
      17·   · · · Q.· ·So for the Grasslands Drive property, did    17·   · · · Q.· ·Did the agent furnish any information to
      18·   ·you and your wife, did you build that house, or was    18·   ·you about the property before you bought it?
      19·   ·the house already built there?                         19·   · · · · · ·MR. NIDEL:· Objection to form.
      20·   · · · A.· ·Which one?                                   20·   · · · A.· ·Other than general information, not that I
      21·   · · · Q.· ·Grasslands, the one you moved to.            21·   ·recall.
      22·   · · · A.· ·Oh, there was a house there and we bought    22·   · ·BY MR. WACHTER:
      23·   ·it and kind of built on to it.                         23·   · · · Q.· ·Do you recall any general information?
      24·   · · · Q.· ·Let's go back to 3141 Winged Foot Drive,     24·   · · · A.· ·Not specifically, no.
      25·   ·which is Exhibit Number 2.· Before purchasing this     25·   · · · Q.· ·Did you have an appraisal done on this

                                                        Page 23                                                        Page 25
      ·1·   ·house, did you consider any other neighborhoods in     ·1·   ·property before you purchased it?
      ·2·   ·Polk County?                                           ·2·   · · · A.· ·To be honest, I don't -- I don't recall.
      ·3·   · · · A.· ·We did.                                      ·3·   · · · Q.· ·At some point, did you sell this property?
      ·4·   · · · Q.· ·Which ones did you consider?                 ·4·   · · · A.· ·Yes.
      ·5·   · · · A.· ·There was another neighborhood off of Lake   ·5·   · · · Q.· ·Who did you sell it to?
      ·6·   ·Miriam Drive called -- I think it's Lake in the        ·6·   · · · A.· ·The name was Eugene and I don't remember
      ·7·   ·Woods.                                                 ·7·   ·his wife's name.· Last name was Kent, K-E-N-T.
      ·8·   · · · Q.· ·So why did you select this house over the    ·8·   · · · Q.· ·When was that?
      ·9·   ·one you just mentioned?                                ·9·   · · · A.· ·I believe it was 2004 or 2005, right in
      10·   · · · · · ·MR. NIDEL:· Objection to form, and he        10·   ·there.
      11·   · · · didn't -- I don't believe he finished answering   11·   · · · · · ·MR. WACHTER:· So we're going to mark as
      12·   · · · your question.                                    12·   · · · Exhibit Number 4 a warranty deed from Mr. Feist
      13·   · ·BY MR. WACHTER:                                      13·   · · · and his former wife to Eugene and Carol Kent,
      14·   · · · Q.· ·Would you like to finish, Mr. Feist?         14·   · · · July 1, 2005.
      15·   · · · A.· ·Yeah, sure.                                  15·   · · · · · ·(Thereupon, marked as Defense Exhibit 4.)
      16·   · · · · · ·There was another neighborhood we looked     16·   · ·BY MR. WACHTER:
      17·   ·at off of Clubhouse Road, but felt that that was too   17·   · · · Q.· ·Let me know when you've had time to take a
      18·   ·far from a number of things.                           18·   ·look at that, you and your counsel, please.
      19·   · · · Q.· ·Any others?                                  19·   · · · A.· ·I did.
      20·   · · · A.· ·Not that I recall.                           20·   · · · Q.· ·Mr. Feist, can you identify Exhibit 4?
      21·   · · · Q.· ·Why did you select this particular           21·   · · · A.· ·It's also a warranty deed for the sale of
      22·   ·property?                                              22·   ·3141 Winged Foot Drive.
      23·   · · · A.· ·As I mentioned before, my ex-wife liked      23·   · · · Q.· ·And that's your signature on there?
      24·   ·it, it was on the golf course.                         24·   · · · A.· ·Yes.
      25·   · · · Q.· ·So you did not purchase from Drummond; is    25·   · · · Q.· ·So did you provide any information to the


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      ·1·   ·Kents in connection with this property before you      ·1·   · · · Q.· ·The sales contracts, do you know whether
      ·2·   ·sold it to them?                                       ·2·   ·you gave those to your counsel or not or whether you
      ·3·   · · · · · ·MR. NIDEL:· Objection to form and            ·3·   ·might still have them?
      ·4·   · · · foundation.                                       ·4·   · · · A.· ·I don't recall whether I did or not.· I've
      ·5·   · ·BY MR. WACHTER:                                      ·5·   ·provided quite a bit of documentation.· Which one in
      ·6·   · · · Q.· ·Do you recall?                               ·6·   ·particular, I don't remember.
      ·7·   · · · A.· ·Not that I recall.                           ·7·   · · · Q.· ·The next document is going to be
      ·8·   · · · Q.· ·Was there an agent involved?                 ·8·   ·Exhibit 5.· We'll get a copy of that for you. A
      ·9·   · · · A.· ·Yes, there was.                              ·9·   ·corrective warranty deed dated April 26, 2006.
      10·   · · · Q.· ·Who was the agent?                           10·   · · · · · ·(Thereupon, marked as Defense Exhibit 5.)
      11·   · · · A.· ·I don't -- I don't recall.                   11·   · ·BY MR. WACHTER:
      12·   · · · Q.· ·Do you recall how much the purchase price    12·   · · · Q.· ·Mr. Feist, after you and your counsel have
      13·   ·was or the selling price when you sold it?             13·   ·had time to look at this document, take any more
      14·   · · · A.· ·It was 825,000.                              14·   ·time you might need, but my question is going to be
      15·   · · · Q.· ·Do you recall what you purchased -- your     15·   ·whether you can identify Exhibit 5.
      16·   ·purchase cost for the property?                        16·   · · · A.· ·It's a corrective warranty deed.
      17·   · · · A.· ·I believe it was 485-, purchase price.       17·   · · · Q.· ·Is that also for the 3141 Winged Foot
      18·   · · · Q.· ·Did you add on to this house at all, or      18·   ·Drive?
      19·   ·was this just the appreciation over time?              19·   · · · A.· ·It is, yes.
      20·   · · · A.· ·Structural adding on, no.· We did quite a    20·   · · · Q.· ·Do you have any recollection as to why a
      21·   ·bit of work redecorating and landscaping.              21·   ·corrective warranty deed was executed?
      22·   · · · Q.· ·Why did you sell that?                       22·   · · · A.· ·I remember that there was something fishy
      23·   · · · A.· ·We found 3039 Grasslands for sale, and it    23·   ·with the description, legal description of the
      24·   ·was on the water, and my ex-wife wanted to -- back     24·   ·property, but I don't remember the details of what
      25·   ·to the water.                                          25·   ·the issue was.

                                                        Page 27                                                        Page 29
      ·1·   · · · Q.· ·Sir, did you have written sales contracts    ·1·   · · · Q.· ·All righty.· So after selling the Winged
      ·2·   ·for each of these purchases?· And what I'm referring   ·2·   ·Foot Drive property to the Kents or around that same
      ·3·   ·to is you originally bought 3141 Winged Foot Drive     ·3·   ·time, did you also -- did you say you purchased
      ·4·   ·and then you sold it and then you purchased 3039       ·4·   ·3039 Grasslands; is that right?
      ·5·   ·Grasslands, were there written contracts?              ·5·   · · · A.· ·Correct.
      ·6·   · · · A.· ·Yes.                                         ·6·   · · · Q.· ·Had you purchased the 3039 Grasslands from
      ·7·   · · · Q.· ·Do you still have those somewhere?           ·7·   ·the Wallaces?
      ·8·   · · · A.· ·I've provided all the information to my      ·8·   · · · A.· ·We did, yes.
      ·9·   ·attorney, all the information that I could find.· So   ·9·   · · · Q.· ·So I think we -- you were able to clarify
      10·   ·those particular ones, I don't recall whether I        10·   ·this earlier.· If you go back and look at Exhibit
      11·   ·provided those or not.                                 11·   ·Number 3.· Is that the warranty deed that relates to
      12·   · · · Q.· ·I'm just curious whether they might still    12·   ·3039 Grasslands?
      13·   ·be in your records somewhere or given to your          13·   · · · A.· ·It is, yes.
      14·   ·counsel.                                               14·   · · · Q.· ·So in connection with your purchase of
      15·   · · · · · ·MR. NIDEL:· Objection to the form.· He       15·   ·3039 Grasslands, did the Wallaces provide with you
      16·   · · · stated that he's given counsel all of his         16·   ·any information about the property?
      17·   · · · documents.· Counsel will state for the record     17·   · · · A.· ·No.
      18·   · · · that any documents provided by the client have    18·   · · · Q.· ·Was there an agent involved?
      19·   · · · been provided to defense counsel.· Beyond that,   19·   · · · A.· ·There was.
      20·   · · · I'm not sure I understand the question.           20·   · · · Q.· ·Did the agent provide you with any
      21·   · ·BY MR. WACHTER:                                      21·   ·information about the property?
      22·   · · · Q.· ·Do you have any property records that you    22·   · · · A.· ·Besides general information, not that I
      23·   ·in your recordkeeping anywhere that you might not      23·   ·recall.
      24·   ·have given to your counsel?                            24·   · · · Q.· ·Did Drummond provide you with any
      25·   · · · A.· ·What was the last part?                      25·   ·information about the property?


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      ·1·   · · · A.· ·Not that I recall.                           ·1·   · · · A.· ·Was it later transferred to me?· Yes.
      ·2·   · · · Q.· ·So this was right also in Grasslands in      ·2·   · · · Q.· ·So did Ms. Mahias provide you any
      ·3·   ·the Fairway Lakes subdivision?                         ·3·   ·information about this property before you purchased
      ·4·   · · · A.· ·Correct.                                     ·4·   ·it?
      ·5·   · · · Q.· ·And I think you mentioned earlier the        ·5·   · · · A.· ·Not that I recall.
      ·6·   ·reason for moving to the Grasslands Drive location     ·6·   · · · Q.· ·Was there an agent involved?
      ·7·   ·was that your former wife wanted to have water or      ·7·   · · · A.· ·There was.
      ·8·   ·water view?                                            ·8·   · · · Q.· ·Did the agent provide you with any
      ·9·   · · · A.· ·Yes.                                         ·9·   ·information about this property?
      10·   · · · Q.· ·How long did you live there?                 10·   · · · A.· ·Not that I recall.
      11·   · · · A.· ·I'm going to say about a year.               11·   · · · Q.· ·Did Drummond provide you with any
      12·   · · · Q.· ·And is this the address where your former    12·   ·information about this property before you purchased
      13·   ·wife still resides?                                    13·   ·it?
      14·   · · · A.· ·Yes, it is.                                  14·   · · · A.· ·Not that I recall.
      15·   · · · Q.· ·Now, did your daughter Bayli reside at       15·   · · · Q.· ·Is this a condo?
      16·   ·that address the whole time -- the time that you all   16·   · · · A.· ·Yes.
      17·   ·owned it and now your former wife owns it?             17·   · · · Q.· ·And this is in Muirfield Village?
      18·   · · · A.· ·First year and a half at 3141 Winged Foot    18·   · · · A.· ·It is, yes.
      19·   ·and then 3039 the rest of her life.                    19·   · · · Q.· ·Is it a two-story or second story?
      20·   · · · Q.· ·And how about your other -- your sons?       20·   · · · A.· ·It's a second-floor condo.
      21·   ·You said you had four sons.· Did they reside at        21·   · · · Q.· ·Is there anything on the first floor?
      22·   ·either of these addresses?                             22·   · · · A.· ·Another condo.
      23·   · · · A.· ·They did not.                                23·   · · · Q.· ·So your entire living space would be on
      24·   · · · Q.· ·So your next purchase after that is          24·   ·the second floor?
      25·   ·651 Grasslands Village Circle; is that right?          25·   · · · A.· ·Correct.

                                                        Page 31                                                       Page 33
      ·1·   · · · A.· ·Correct.                                     ·1·   · · · Q.· ·We have some pictures.· I'd just like to
      ·2·   · · · Q.· ·Is that a condo?                             ·2·   ·make sure we've got the right property.· I'm going
      ·3·   · · · A.· ·Yes.                                         ·3·   ·to mark that as the next exhibit.
      ·4·   · · · · · ·MR. WACHTER:· And the next exhibit is        ·4·   · · · · · ·(Thereupon, marked as Defense Exhibit 7.)
      ·5·   · · · going to be a warranty deed from Helena Mahias.   ·5·   · ·BY MR. WACHTER:
      ·6·   · · · I think this is Exhibit 6.                        ·6·   · · · Q.· ·It's going to be a combination of several
      ·7·   · · · · · ·(Thereupon, marked as Defense Exhibit 6.)    ·7·   ·pictures.· It looks like we have several pictures,
      ·8·   · ·BY MR. WACHTER:                                      ·8·   ·some pictures of a pond behind and then the street
      ·9·   · · · Q.· ·I believe we've marked Exhibit 6 as a        ·9·   ·view.· Just take a look.· Take as much time as you
      10·   ·warranty deed.· Please take all the time you need,     10·   ·need, but I just want to see if this identifies that
      11·   ·Mr. Feist, and your counsel, to review the document.   11·   ·location.
      12·   · · · A.· ·I've reviewed it.                            12·   · · · A.· ·It does, yes.
      13·   · · · Q.· ·Mr. Feist, can you identify Exhibit 6?       13·   · · · Q.· ·Why did you purchase this condo?
      14·   · · · A.· ·It's a warranty deed for a purchase of       14·   · · · A.· ·One, for investment because at the time,
      15·   ·what is now 651 Grasslands Village Circle.             15·   ·properties were appreciating, and I don't remember
      16·   · · · Q.· ·And the seller is Helena Mahias?             16·   ·if there was another reason at the time.
      17·   · · · A.· ·Correct.                                     17·   · · · Q.· ·Did you live there?
      18·   · · · Q.· ·Okay.· And the purchaser looks like it's     18·   · · · A.· ·Yes.
      19·   ·either Rekha or Rekha.· How do you pronounce that?     19·   · · · Q.· ·When did -- what time period did you live
      20·   · · · A.· ·Rekha.                                       20·   ·there?
      21·   · · · Q.· ·Rekha.· And is that an LLC that --           21·   · · · A.· ·Sometime in -- I believe it was 2005, late
      22·   · · · A.· ·Yes, that's correct.                         22·   ·2005 until January 2008.
      23·   · · · Q.· ·-- that is yours?                            23·   · · · Q.· ·And so January of 2008, where did you
      24·   · · · A.· ·Yes.                                         24·   ·live?
      25·   · · · Q.· ·And was that later transferred to you?       25·   · · · A.· ·Yeah, that --


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      ·1·   · · · Q.· ·Where did you live?                          ·1·   · · · A.· ·Some, yes.
      ·2·   · · · A.· ·Yeah, that's 1771 Alta Vista.                ·2·   · · · Q.· ·What did you do?
      ·3·   · · · Q.· ·And then you -- you had one more time that   ·3·   · · · A.· ·Things like fix the deck in the back,
      ·4·   ·you were living in Oakbridge at 804 Whitestone; is     ·4·   ·stripped the deck, fix the air conditioning multiple
      ·5·   ·that right?                                            ·5·   ·times.
      ·6·   · · · A.· ·Yes, that's correct.                         ·6·   · · · Q.· ·So your work on the deck, was that an
      ·7·   · · · Q.· ·And when was that?                           ·7·   ·upstairs or downstairs deck?
      ·8·   · · · A.· ·2010 to -- I think it was 2013, very late    ·8·   · · · A.· ·Downstairs.
      ·9·   ·2013, January -- excuse me, December 31st, I           ·9·   · · · Q.· ·What did you do to fix it?
      10·   ·believe.                                               10·   · · · A.· ·There was a number of boards that were
      11·   · · · Q.· ·Was that -- you were renting?                11·   ·rotted, so I replaced the boards and stripped and
      12·   · · · A.· ·Yes.                                         12·   ·put a coat of finish on the -- on the pool deck.
      13·   · · · Q.· ·Did you have a written lease?                13·   · · · Q.· ·And that property was ultimately
      14·   · · · A.· ·Yes.                                         14·   ·foreclosed on by the lender?
      15·   · · · Q.· ·Do you know where that written lease is?     15·   · · · A.· ·Yep, yes.
      16·   · · · A.· ·I don't.                                     16·   · · · Q.· ·That's why you moved out?
      17·   · · · Q.· ·Did you live there by yourself or with       17·   · · · A.· ·Correct.
      18·   ·your current wife?                                     18·   · · · Q.· ·So in terms of Grasslands and Oakridge --
      19·   · · · A.· ·My current wife and two boys at the time.    19·   ·I'm sorry, Oakbridge, the Whitestone Court, what
      20·   · · · Q.· ·Who did you lease it from?                   20·   ·neighborhood in Oakbridge was that located in, if
      21·   · · · A.· ·A gentleman named John -- I think it's       21·   ·you remember?
      22·   ·Pinacchio, and I don't remember the spelling on that   22·   · · · A.· ·I don't remember what they called it.
      23·   ·one.                                                   23·   · · · Q.· ·Back on 651 Grasslands Circle in the
      24·   · · · Q.· ·And why did you leave in 2013?               24·   ·Muirfield Village, I'm just looking at those
      25·   · · · A.· ·Why did I leave?                             25·   ·pictures.· It looks like there's some garages there.

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      ·1·   · · · Q.· ·Yes.                                         ·1·   ·Does one of those garages go with the condo?
      ·2·   · · · A.· ·John hadn't paid the mortgage, and he got    ·2·   · · · A.· ·Yes.
      ·3·   ·foreclosed on, and so the bank sort of forced us to    ·3·   · · · Q.· ·Which one?
      ·4·   ·leave.                                                 ·4·   · · · A.· ·It's a one-car garage just to the left of
      ·5·   · · · Q.· ·So what was the reason for taking that       ·5·   ·the 651 identifier.
      ·6·   ·lease to begin with?· Why did you move there?          ·6·   · · · Q.· ·And did you use that for your car or --
      ·7·   · · · A.· ·Are you asking me why did we make a          ·7·   ·some people use it for storage.· Did you use it for
      ·8·   ·decision for that particular house?                    ·8·   ·any purpose when you lived there?
      ·9·   · · · Q.· ·Right.                                       ·9·   · · · A.· ·Both.
      10·   · · · A.· ·A friend of mine told me John owned a        10·   · · · Q.· ·Okay.· So after you moved out of 651, did
      11·   ·house in there and he was looking to rent and if I     11·   ·somebody else move in?
      12·   ·would be willing to fix things up or the -- do         12·   · · · A.· ·Yes.
      13·   ·maintenance on it, he would rent it to me for a        13·   · · · Q.· ·Who was that?
      14·   ·reasonable price.                                      14·   · · · A.· ·Didn't move in right away, but a girl
      15·   · · · Q.· ·How much were you paying?                    15·   ·named Dawn Dellapa.
      16·   · · · A.· ·I think it was 1200 or 1400 a month.         16·   · · · Q.· ·Is she your tenant?
      17·   · · · Q.· ·Did Mr. Pinacchio tell you anything about    17·   · · · A.· ·She is.
      18·   ·the property before you moved in?                      18·   · · · Q.· ·And has she been your tenant -- from when
      19·   · · · A.· ·No.                                          19·   ·to when, do you know?
      20·   · · · Q.· ·Was there an agent involved?                 20·   · · · A.· ·Sometime in 2008 or 2009 until current,
      21·   · · · A.· ·No.                                          21·   ·present.
      22·   · · · Q.· ·Did Drummond tell you anything about the     22·   · · · Q.· ·How much rent does she pay?
      23·   ·property before you moved in?                          23·   · · · A.· ·It has varied quite a bit.· Right now it's
      24·   · · · A.· ·No.                                          24·   ·1200.
      25·   · · · Q.· ·And did you work on the property?            25·   · · · Q.· ·Do you have a written lease with her?


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      ·1·   · · · A.· ·I don't.                                     ·1·   · · · Q.· ·So when you purchased this from -- is it
      ·2·   · · · Q.· ·And is there a reason why you don't have     ·2·   ·Cornish?
      ·3·   ·that in writing?· Because you're friends or any        ·3·   · · · A.· ·Yes.
      ·4·   ·other reason?                                          ·4·   · · · Q.· ·Did he provide you with any information
      ·5·   · · · · · ·MR. NIDEL:· Objection, form.                 ·5·   ·about the property?
      ·6·   · ·BY MR. WACHTER:                                      ·6·   · · · A.· ·No.
      ·7·   · · · Q.· ·I'm just curious why you don't have a        ·7·   · · · Q.· ·Was there a real estate agent involved?
      ·8·   ·written lease.                                         ·8·   · · · A.· ·There was.
      ·9·   · · · A.· ·I knew her.                                  ·9·   · · · Q.· ·Did that person provide you with any
      10·   · · · Q.· ·So for your purchases in Grasslands, we      10·   ·information about the property?
      11·   ·talked about Winged Foot, 3039 Grasslands, and also    11·   · · · A.· ·Not that I recall.
      12·   ·651 Grasslands Village Circle.· Were those your        12·   · · · Q.· ·Did Drummond provide you with any
      13·   ·three -- only three purchases within Grasslands and    13·   ·information about the property?
      14·   ·Oakbridge?                                             14·   · · · A.· ·Not that I recall.
      15·   · · · A.· ·There was one other purchase of another      15·   · · · Q.· ·Why did you purchase this additional condo
      16·   ·condo, and I don't remember the address, but -- and    16·   ·at the time?
      17·   ·then there was one lot that I think I put a deposit    17·   · · · A.· ·At the time, properties were appreciating,
      18·   ·on and we didn't go through with the sale.             18·   ·so we thought it would be a good investment.
      19·   · · · Q.· ·What -- where was the other condo located?   19·   · · · Q.· ·So in terms of your former wife, you're
      20·   · · · A.· ·Near 651.· Right around the corner.          20·   ·saying that she may still have an interest in or own
      21·   · · · Q.· ·Did you purchase that?                       21·   ·the condo that was purchased from Mr. Cornish,
      22·   · · · A.· ·We did.                                      22·   ·right?
      23·   · · · Q.· ·And who -- when you say "we," who is that?   23·   · · · A.· ·She may, yes.
      24·   · · · A.· ·It was through that LLC, and then I          24·   · · · Q.· ·And as far as you know, she still owns
      25·   ·believe I transferred it either to my ex-wife or she   25·   ·3039 Grasslands?

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      ·1·   ·formed an LLC.· I don't remember the details of the    ·1·   · · · A.· ·Yes, she does.
      ·2·   ·sale.                                                  ·2·   · · · Q.· ·Do you know whether she owns any other
      ·3·   · · · Q.· ·Was the LLC something that you had with      ·3·   ·property in Grasslands or Oakbridge?
      ·4·   ·your former wife?                                      ·4·   · · · A.· ·I don't think anymore.
      ·5·   · · · A.· ·Yes.                                         ·5·   · · · Q.· ·When you say "anymore"...
      ·6·   · · · Q.· ·Do you recall when you purchased it?         ·6·   · · · A.· ·She had purchased a home in Oakbridge in
      ·7·   · · · A.· ·Not exactly, but it was just prior to 651.   ·7·   ·the Oak Park neighborhood, but I think she's sold
      ·8·   · · · Q.· ·Do you recall who you purchased it from?     ·8·   ·that a few years back, but I really don't know the
      ·9·   · · · A.· ·A gentleman named Roy Cornish.               ·9·   ·details.
      10·   · · · Q.· ·Was it a second-story condo?                 10·   · · · Q.· ·You mentioned on one of your earlier
      11·   · · · A.· ·Yes.                                         11·   ·properties -- I can't remember which one -- that you
      12·   · · · Q.· ·Similar to 651?                              12·   ·might have put in an addition or some construction?
      13·   · · · A.· ·Yep, only with a two-car garage.             13·   · · · A.· ·Yes.
      14·   · · · Q.· ·How long did you hold that?                  14·   · · · Q.· ·Can you explain that?
      15·   · · · A.· ·That's -- I don't recall, because when we    15·   · · · A.· ·3039, we built on to it.· The short
      16·   ·went through the divorce, it got transferred to her,   16·   ·description or details was my ex-wife wanted to
      17·   ·and I don't remember the details of when that          17·   ·additional -- add additional overhang in the back
      18·   ·happened.                                              18·   ·and add a pool, and that kind of grew into adding on
      19·   · · · Q.· ·When were you divorced?                      19·   ·to the front of the house as well.
      20·   · · · A.· ·I think it was final 2008.                   20·   · · · Q.· ·Did you do the work, or did you hire a
      21·   · · · Q.· ·Is that condo still owned by -- and I        21·   ·contractor for that?
      22·   ·don't know if I got it right -- Rekha, Rekha           22·   · · · A.· ·I hired a contractor, which I kind of
      23·   ·Holdings?                                              23·   ·helped, but it was definitely through a contractor.
      24·   · · · A.· ·No.· It got transferred to either my         24·   · · · Q.· ·So in determining how much to pay for
      25·   ·ex-wife or an LLC she put together.                    25·   ·these various purchases in Grasslands, what did you


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      ·1·   ·rely on in terms of your assessment of the value?      ·1·   · · · A.· ·No, not really, other than it was dated,
      ·2·   · · · A.· ·Statements from real estate agents,          ·2·   ·looked dated, but we may be interested in it because
      ·3·   ·comparison properties, and statements by a Drummond    ·3·   ·of the location and the water view.
      ·4·   ·real estate agent.                                     ·4·   · · · Q.· ·So I'm just curious in terms of how you
      ·5·   · · · Q.· ·What statements by the Drummond real         ·5·   ·got in contact with Jeorgia.
      ·6·   ·estate agent?                                          ·6·   · · · · · ·MR. NIDEL:· Objection to form.
      ·7·   · · · A.· ·Just that houses were appreciating, condos   ·7·   · ·BY MR. WACHTER:
      ·8·   ·were appreciating and this might be a good time to     ·8·   · · · Q.· ·Was she the listed agent on the property?
      ·9·   ·buy.                                                   ·9·   · · · A.· ·She was an agent for Drummond, so we kind
      10·   · · · Q.· ·Who was that that you're referring to?       10·   ·of had open dialogue, I guess.
      11·   · · · A.· ·Her first name is Jeorgia.· I don't          11·   · · · Q.· ·So how did you meet her, if you recall?
      12·   ·remember her last name.· Jeorgia with a J.             12·   · · · A.· ·I don't recall.
      13·   · · · Q.· ·When did you speak with Jeorgia?             13·   · · · Q.· ·So you were also looking at properties
      14·   · · · A.· ·Several times starting in probably 2001.     14·   ·that Drummond had for sale?
      15·   ·She -- she helped with the purchase of 3039 through    15·   · · · A.· ·I think we considered a lot which Drummond
      16·   ·the Wallaces and also with the purchase of --          16·   ·had for sale, but I don't recall a finished house.
      17·   ·through the condo with Roy Cornish.                    17·   · · · Q.· ·Did you ever get any sales literature from
      18·   · · · Q.· ·Was she the agent on that?                   18·   ·Drummond?
      19·   · · · A.· ·She was, as far as I remember.               19·   · · · A.· ·I think we did when we were first looking
      20·   · · · Q.· ·What all did she tell you about the          20·   ·for -- looking at 3141 Winged Foot.
      21·   ·benefits or advantages of these properties?            21·   · · · Q.· ·Did you keep any of that?
      22·   · · · A.· ·3039, I would say, was probably limited in   22·   · · · A.· ·No.
      23·   ·that, was more that she knew that the Wallaces were    23·   · · · Q.· ·Do you recall what it said?
      24·   ·interested in selling, and we had a conversation       24·   · · · A.· ·Not the details, no.
      25·   ·that we were interested in looking for a house on --   25·   · · · Q.· ·In addition to the sales, that would also

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      ·1·   ·on the water, but I don't remember beyond that.        ·1·   ·include promotional literature.· Were you given any
      ·2·   · · · Q.· ·Do you recall anything else that she told    ·2·   ·promotional literature, fliers and promotional
      ·3·   ·you?                                                   ·3·   ·materials from Drummond?
      ·4·   · · · A.· ·She talked about the condos are              ·4·   · · · A.· ·No, not that I recall.
      ·5·   ·appreciating fairly quickly, and if we were            ·5·   · · · Q.· ·For these properties that you purchased in
      ·6·   ·interested in purchasing, she knew of one or two       ·6·   ·Grasslands, did you finance those through a lender?
      ·7·   ·that were coming up for sale.                          ·7·   · · · A.· ·Yes.
      ·8·   · · · Q.· ·And these were coming up for sale by         ·8·   · · · Q.· ·Do you recall the lenders involved?
      ·9·   ·individuals?                                           ·9·   · · · A.· ·SunTrust.
      10·   · · · A.· ·Correct.                                     10·   · · · Q.· ·SunTrust was the lender on all of them?
      11·   · · · Q.· ·Did she give you any other information       11·   · · · A.· ·I believe so.
      12·   ·about the condos?                                      12·   · · · Q.· ·Was there somebody that you dealt with at
      13·   · · · A.· ·Not that I recall.                           13·   ·SunTrust?· Do you have a banker that you dealt with
      14·   · · · Q.· ·Did she give you any other information       14·   ·or an office?
      15·   ·about 3039 Grasslands?                                 15·   · · · A.· ·Yeah, I don't remember the details.
      16·   · · · A.· ·Again, outside of general information, I     16·   · · · Q.· ·So in terms of the -- taking out the
      17·   ·don't -- don't recall anything else.                   17·   ·mortgage loan on these properties or the purchase,
      18·   · · · Q.· ·And when you say "general information,"      18·   ·was there an appraisal for each of these properties?
      19·   ·what does that mean to you?                            19·   · · · A.· ·I'm assuming, yes.
      20·   · · · A.· ·The situation with, you know, why the        20·   · · · Q.· ·Did you review the appraisal or agree with
      21·   ·couple was selling and, you know, details about the    21·   ·it?
      22·   ·house, but outside of that, I don't remember -- I      22·   · · · · · ·MR. NIDEL:· Objection to form.
      23·   ·don't recall anything else.                            23·   · ·BY MR. WACHTER:
      24·   · · · Q.· ·Do you recall anything she said about the    24·   · · · Q.· ·Do you recall reviewing the appraisals?
      25·   ·details of the house for 3039 Grasslands?              25·   · · · · · ·MR. NIDEL:· Objection to form.· You --


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      ·1·   · · · it's a compound question.                         ·1·   ·Foot, Grasslands Village, and Grasslands Drive, and
      ·2·   · ·BY MR. WACHTER:                                      ·2·   ·I guess there was also the other condo, Muir 651?
      ·3·   · · · Q.· ·Do you recall reviewing the appraisal for    ·3·   · · · A.· ·Uh-huh.
      ·4·   ·any of these properties?                               ·4·   · · · Q.· ·I just can't remember.· Was that also one
      ·5·   · · · A.· ·I don't recall, no.                          ·5·   ·that you purchased?
      ·6·   · · · Q.· ·What is your understanding of the purpose    ·6·   · · · A.· ·Yeah.· I don't recall the address, but yes
      ·7·   ·of an appraisal?                                       ·7·   ·there was another one.
      ·8·   · · · A.· ·To justify the value for the mortgage        ·8·   · · · Q.· ·All right.· So we have four purchases in
      ·9·   ·company that's underwriting it.                        ·9·   ·Grasslands; is that right?
      10·   · · · Q.· ·As far as you knew, was the appraised        10·   · · · A.· ·Yes.
      11·   ·value accurate --                                      11·   · · · Q.· ·And that's all; all that you purchased?
      12·   · · · · · ·MR. NIDEL:· Objection to form and            12·   · · · A.· ·Yes.
      13·   · · · foundation.                                       13·   · · · Q.· ·So did each of these purchases come with a
      14·   · ·BY MR. WACHTER:                                      14·   ·radon disclosure?
      15·   · · · Q.· ·-- for each of these properties?             15·   · · · A.· ·Not that I recall.
      16·   · · · · · ·MR. NIDEL:· Objection to form and            16·   · · · Q.· ·Do you know what radon is?
      17·   · · · foundation.                                       17·   · · · A.· ·It's a gas.
      18·   · · · A.· ·I don't think I would have any way of        18·   · · · Q.· ·Is it a radioactive gas?
      19·   ·knowing that other than going -- going by the          19·   · · · A.· ·As far as I know, yes.
      20·   ·experts in that case.                                  20·   · · · Q.· ·And is it associated with the soil?
      21·   · ·BY MR. WACHTER:                                      21·   · · · · · ·MR. NIDEL:· Objection to form and
      22·   · · · Q.· ·Who would be the expert you're referring     22·   · · · foundation.
      23·   ·to?                                                    23·   · · · A.· ·What radon is produced by?
      24·   · · · A.· ·The appraisal, appraiser.· But whether it    24·   · ·BY MR. WACHTER:
      25·   ·was accurate, et cetera, I wouldn't have any -- any    25·   · · · Q.· ·Right.

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      ·1·   ·way of knowing that.                                   ·1·   · · · A.· ·I'm not an engineer or scientist, so I
      ·2·   · · · Q.· ·You can't recall disagreeing with any of     ·2·   ·can't answer that.· I really don't know.
      ·3·   ·the appraisals on any of these properties in           ·3·   · · · Q.· ·Do you know whether it comes from radium
      ·4·   ·Grasslands, do you?                                    ·4·   ·in the -- radium in the soil?
      ·5·   · · · A.· ·I don't.                                     ·5·   · · · · · ·MR. NIDEL:· Objection to form and
      ·6·   · · · Q.· ·So with regard to these properties that      ·6·   · · · foundation.
      ·7·   ·you purchased with your former wife -- or I guess      ·7·   · · · A.· ·As far as I know, yes.
      ·8·   ·you purchased all of them with your former wife; is    ·8·   · ·BY MR. WACHTER:
      ·9·   ·that right?· I'm talking about Winged Foot,            ·9·   · · · Q.· ·And so in terms of your purchase contract
      10·   ·Grasslands and Grasslands Village, those three.        10·   ·when you bought these four properties with your
      11·   · · · A.· ·Correct.                                     11·   ·former wife, within the contract was there a
      12·   · · · Q.· ·Those were purchased with your former        12·   ·disclosure that related to radon?
      13·   ·wife.                                                  13·   · · · A.· ·Not that I recall.
      14·   · · · A.· ·Correct.                                     14·   · · · Q.· ·When you purchased these four properties,
      15·   · · · Q.· ·Do you recall whether your former wife had   15·   ·were you aware that radon was an issue with respect
      16·   ·any involvement in the negotiation for those, or was   16·   ·to potential health risk?
      17·   ·it primarily yourself?                                 17·   · · · · · ·MR. NIDEL:· Objection to form and
      18·   · · · A.· ·I don't recall the details of who            18·   · · · foundation.
      19·   ·negotiated.                                            19·   · · · A.· ·Was I aware that radon was a health risk?
      20·   · · · Q.· ·Do you recall whether your former wife       20·   · ·BY MR. WACHTER:
      21·   ·received any information concerning these              21·   · · · Q.· ·Yes.
      22·   ·properties?                                            22·   · · · A.· ·In general, yes.
      23·   · · · A.· ·I don't recall, no.                          23·   · · · Q.· ·Did you ever test for radon in any of
      24·   · · · Q.· ·So for each of these properties -- and I'm   24·   ·these four properties?
      25·   ·referring to the three that you purchased, Winged      25·   · · · A.· ·No.· I would have no reason to, I guess.


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      ·1·   · · · Q.· ·And then also, I know you lived at           ·1·   ·prior to 2000.· My ex-wife had a house and it's
      ·2·   ·804 Whitestone Court as a tenant.· Did you test for    ·2·   ·called Highland Place, but I don't recall the
      ·3·   ·radon there?                                           ·3·   ·address.· But she had owned that prior to our
      ·4·   · · · A.· ·No.· Just for structural issues.             ·4·   ·marriage.
      ·5·   · · · Q.· ·What is that?· What are you referring to?    ·5·   · · · Q.· ·How long did you live there?
      ·6·   · · · A.· ·Well, the exterior recalls were cracking,    ·6·   · · · A.· ·I want to say under a year.
      ·7·   ·like major cracks, and the floor was buckled in        ·7·   · · · Q.· ·So what were the -- so moving forward
      ·8·   ·areas, so we had an engineer come out and do an        ·8·   ·then, what was the last time that you actually lived
      ·9·   ·evaluation, structural evaluation.                     ·9·   ·in either Grasslands or Oakbridge?
      10·   · · · · · ·MR. NIDEL:· Charles, if we could take a      10·   · · · A.· ·Late 2013.
      11·   · · · break at some point, it's been over an hour.      11·   · · · Q.· ·In terms of the 651 condo, you mentioned
      12·   · · · · · ·MR. WACHTER:· Sure.· Any time you need a     12·   ·that you got a tenant.· Did anybody else live there
      13·   · · · break, let us know.· Now's a good time for me.    13·   ·from the time you moved out until your tenant moved
      14·   · · · Go ahead.                                         14·   ·in?· Was there anybody else in there?
      15·   · · · · · ·THE VIDEOGRAPHER:· We are going off the      15·   · · · A.· ·Not that I recall.
      16·   · · · record at 10:30 a.m.· This concludes Media        16·   · · · Q.· ·And I'm not sure that we covered all of
      17·   · · · Number 1 in the deposition.                       17·   ·your other purchases, but do you also own other
      18·   · · · · · ·(Recess taken.)                              18·   ·property in Polk County?
      19·   · · · · · ·THE VIDEOGRAPHER:· We are back on the        19·   · · · A.· ·We purchased two condos in a neighborhood
      20·   · · · video record at 10:40 a.m.· This begins Media     20·   ·called Carillon Lakes or Carillon Lakes.· I'm not
      21·   · · · Number 2 in the videotaped deposition of          21·   ·sure about the pronunciation.
      22·   · · · Mr. Feist.                                        22·   · · · Q.· ·Do you still own those?
      23·   · · · · · ·MR. NIDEL:· Can we -- I don't know that      23·   · · · A.· ·No.
      24·   · · · I -- maybe I missed it.· Can we have everyone     24·   · · · Q.· ·When did you own those?
      25·   · · · who's attending this remotely identify            25·   · · · A.· ·When did we purchase them?

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      ·1·   · · · themselves for the record?                        ·1·   · · · Q.· ·Yes.
      ·2·   · · · · · ·MS. DANIEL:· They can't speak.               ·2·   · · · A.· ·I think it was about the same time, 2005,
      ·3·   · · · · · ·MR. NIDEL:· They can't?                      ·3·   ·2004, something like that.
      ·4·   · · · · · ·MR. GRADY:· I think Russell can tell us      ·4·   · · · Q.· ·Did you sell them?
      ·5·   · · · who's on.                                         ·5·   · · · A.· ·No.
      ·6·   · · · · · ·MR. NIDEL:· What's that?                     ·6·   · · · Q.· ·What happened to them?
      ·7·   · · · · · ·MR. GRADY:· I think he can tell us who's     ·7·   · · · A.· ·The bank repossessed them.
      ·8·   · · · on, but I don't think they can speak, because I   ·8·   · · · Q.· ·Did you own those with your former wife?
      ·9·   · · · think everybody's muted.                          ·9·   · · · A.· ·We put a deposit on two condos for it
      10·   · · · · · ·MR. NIDEL:· We can't unmute them for them    10·   ·together, but the purchase was through me.· By that
      11·   · · · to identify themselves?· I mean, I didn't -- we   11·   ·time we were starting our divorce.
      12·   · · · don't have to -- I didn't know there was a        12·   · · · Q.· ·Any other property in Polk County that you
      13·   · · · technical.· We can do it after this session or    13·   ·purchased?
      14·   · · · something.                                        14·   · · · A.· ·Not that I recall.
      15·   · · · · · ·MR. GRADY:· There are only two people on.    15·   · · · Q.· ·Did you own a lot in the Christina area?
      16·   · · · · · ·MR. NIDEL:· Okay.· Well, I just think it's   16·   · · · A.· ·Oh, yes.
      17·   · · · just -- I think we should have a record of        17·   · · · Q.· ·Can you tell me where that's located?
      18·   · · · who's at the deposition.                          18·   · · · A.· ·It doesn't have a street address, but it's
      19·   · · · · · ·MR. WACHTER:· Good idea.· Thanks.            19·   ·on the corner of a street called Hayter and West
      20·   · · · Appreciate it.                                    20·   ·Christina Boulevard.
      21·   · ·BY MR. WACHTER:                                      21·   · · · Q.· ·Why did you purchase that?
      22·   · · · Q.· ·Mr. Feist, I just want to clarify.· When     22·   · · · A.· ·My current wife said she would like to
      23·   ·you moved to Polk County, would that be in 2000 when   23·   ·have a few acres so the boys could have room to play
      24·   ·you bought the house on Winged Foot?                   24·   ·and so on.
      25·   · · · A.· ·I moved to Polk County in -- I think just    25·   · · · Q.· ·What is the size of that lot?


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      ·1·   · · · A.· ·Roughly four and a quarter acres.            ·1·   ·of these locations, did you engage in any outdoor
      ·2·   · · · Q.· ·When did you purchase that?                  ·2·   ·activities?
      ·3·   · · · A.· ·I don't remember the exact date, but I       ·3·   · · · A.· ·In the various houses?
      ·4·   ·want -- I think it was 2016, but I don't remember      ·4·   · · · Q.· ·Right.· So for Winged Foot, which was on
      ·5·   ·exactly.                                               ·5·   ·the golf course and I believe had a screened-in
      ·6·   · · · Q.· ·Okay.· So the golfers tell me that there     ·6·   ·lanai and pool, did you go outside, spend much time
      ·7·   ·are other golf course communities in Polk County,      ·7·   ·outside?
      ·8·   ·such as Eagle Brook.· Did you consider those golf      ·8·   · · · A.· ·Yeah.
      ·9·   ·course communities before purchasing in Grasslands?    ·9·   · · · Q.· ·What did you do outside?
      10·   · · · A.· ·Initially, no.                               10·   · · · A.· ·Swim, garden.· We planted a ton of trees
      11·   · · · Q.· ·Did you consider them at some point later?   11·   ·and built a little pond, and so work -- worked in
      12·   · · · A.· ·We did look at another house in Eagle        12·   ·the yard quite a bit and played golf.
      13·   ·Brook.                                                 13·   · · · Q.· ·Did you have a yard service?
      14·   · · · Q.· ·So is Eagle Brook comparable to              14·   · · · A.· ·I think I did for part of the time.
      15·   ·Grasslands?                                            15·   · · · Q.· ·Did you have a yard service on Grasslands
      16·   · · · · · ·MR. NIDEL:· Objection to form and            16·   ·Drive or Muirfield Village?
      17·   · · · foundation.                                       17·   · · · A.· ·Not Muirfield Village, and Grasslands
      18·   · · · A.· ·I don't know how to answer that, to be       18·   ·Drive, not while I was living there, no.
      19·   ·honest.                                                19·   · · · Q.· ·And at Grasslands, did you do your own
      20·   · ·BY MR. WACHTER:                                      20·   ·yardwork?
      21·   · · · Q.· ·Are there any other golf --                  21·   · · · A.· ·Some, yes.
      22·   · · · A.· ·It's a golf course community.                22·   · · · Q.· ·Who did -- who did the other?
      23·   · · · Q.· ·Okay.· Are there any other golf course       23·   · · · A.· ·Oh, at Grasslands, I did most of it and
      24·   ·communities in Polk County that you would consider     24·   ·then towards the end before I had moved out, my
      25·   ·comparable to Grasslands?                              25·   ·ex-wife hired a company.

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      ·1·   · · · · · ·MR. NIDEL:· Objection to form and            ·1·   · · · Q.· ·So Muirfield Village doesn't have a yard;
      ·2·   · · · foundation.                                       ·2·   ·is that right?
      ·3·   · · · A.· ·Not that I know of, I guess.                 ·3·   · · · A.· ·That's correct.· It's a condo.
      ·4·   · ·BY MR. WACHTER:                                      ·4·   · · · Q.· ·Did you spend any time outdoors in
      ·5·   · · · Q.· ·So when you -- when you lived in             ·5·   ·Muirfield Village?
      ·6·   ·Grasslands -- I just want to clarify the, you know,    ·6·   · · · A.· ·Some, yes.
      ·7·   ·working from home.· At Winged Foot, did you work       ·7·   · · · Q.· ·What would -- what did that consist of?
      ·8·   ·from home?                                             ·8·   · · · A.· ·If you're saying right around the condo, I
      ·9·   · · · A.· ·Some, yes.                                   ·9·   ·went for walks.· If you're saying in general in
      10·   · · · Q.· ·Do you know what percentage?                 10·   ·Grasslands, I played golf and tennis and swam,
      11·   · · · A.· ·I don't know, maybe 20, 25 percent.          11·   ·et cetera.
      12·   · · · Q.· ·And the rest was away from the home?         12·   · · · Q.· ·When you played golf, you played golf at
      13·   · · · A.· ·Yes.                                         13·   ·the course that's there at Grasslands?
      14·   · · · Q.· ·Grasslands Drive, did you work from home?    14·   · · · A.· ·Yes, mostly.
      15·   · · · A.· ·Yes, some.                                   15·   · · · Q.· ·And when you played -- well, where else
      16·   · · · Q.· ·What percentage?                             16·   ·would you play golf?
      17·   · · · A.· ·Probably a little less, 20 percent maybe.    17·   · · · A.· ·I might have -- I played in a couple
      18·   · · · Q.· ·Muirfield Village, when you lived there,     18·   ·tournaments and, you know, scrambles at other
      19·   ·did you work from home?                                19·   ·courses, but 90 percent of the golf I played at the
      20·   · · · A.· ·Yes, about the same, 20, 25 percent.         20·   ·time was at Grasslands.
      21·   · · · Q.· ·Whitestone, did you work from home?          21·   · · · Q.· ·And how about tennis; where did you play
      22·   · · · A.· ·Yes.                                         22·   ·tennis?
      23·   · · · Q.· ·What percent?                                23·   · · · A.· ·Mostly at Grasslands.· I'd say 85,
      24·   · · · A.· ·I believe it was a hundred percent.          24·   ·90 percent.
      25·   · · · Q.· ·And in terms of outdoor activities at each   25·   · · · Q.· ·Now, are those hard courts or soft courts?


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      ·1·   · · · A.· ·Both.· They have mostly clay courts and      ·1·   · · · Q.· ·When was it treated or removed?
      ·2·   ·they added a couple of hard courts.                    ·2·   · · · A.· ·I don't remember the dates, but I'm going
      ·3·   · · · Q.· ·What did you play on?                        ·3·   ·to say maybe 2018.· It's a guess.
      ·4·   · · · A.· ·Mostly the clay.                             ·4·   · · · Q.· ·Any other melanomas or skin cancers?
      ·5·   · · · Q.· ·How often did you play tennis?               ·5·   · · · A.· ·Just precancerous, but no -- no cancer.
      ·6·   · · · A.· ·A couple times a week, maybe.                ·6·   · · · Q.· ·So is that -- so when you had these
      ·7·   · · · Q.· ·For what period of time was that?            ·7·   ·precancerous issues, is that something you brought
      ·8·   · · · A.· ·2001 through, I don't know, probably 2004.   ·8·   ·up with your physician?
      ·9·   · · · Q.· ·You were kind enough to give us access to    ·9·   · · · A.· ·Yes.
      10·   ·some of your medical records.· I noticed you had       10·   · · · Q.· ·You wanted to have them checked out?
      11·   ·some knee issues like a lot of tennis players.· Did    11·   · · · A.· ·Yeah.
      12·   ·that interfere with your ability to play tennis?       12·   · · · Q.· ·I also saw insomnia.· Do you still suffer
      13·   · · · A.· ·Yes.                                         13·   ·from insomnia?
      14·   · · · Q.· ·And so was there any period of time that     14·   · · · A.· ·Yeah, if you want to call it that.· I've
      15·   ·you were not able to play because of your knee or      15·   ·never slept very well.
      16·   ·other issues?                                          16·   · · · Q.· ·Do you still take Lunesta or Ambien?
      17·   · · · A.· ·Yes, after surgery.                          17·   · · · A.· ·No.
      18·   · · · Q.· ·When was that?                               18·   · · · Q.· ·Do you take anything for your insomnia?
      19·   · · · A.· ·Maybe around 2013, 2014.· I don't recall     19·   · · · A.· ·Occasionally take something called
      20·   ·the dates on the surgery.                              20·   ·Temazepam.
      21·   · · · Q.· ·Your medical records only went up to a       21·   · · · Q.· ·That's occasional?
      22·   ·certain point, and so I -- I don't know the current    22·   · · · A.· ·Yeah.
      23·   ·situation.· Have you been diagnosed with any           23·   · · · Q.· ·Do you use a CPAP machine?
      24·   ·illnesses in the past few years?                       24·   · · · A.· ·I attempted, but I don't use it.
      25·   · · · A.· ·Diagnosed with any illnesses.· Not that I    25·   · · · Q.· ·Didn't work out for you?

                                                         Page 59                                                      Page 61
      ·1·   ·can think of.                                          ·1·   · · · A.· ·No.
      ·2·   · · · Q.· ·I know you received care at Watson Clinic.   ·2·   · · · Q.· ·Do you take any other medications to help
      ·3·   ·Are you still -- is that right?                        ·3·   ·with your sleep?
      ·4·   · · · A.· ·That's correct.                              ·4·   · · · A.· ·Not that I recall.
      ·5·   · · · Q.· ·Have you been diagnosed with cancer of any   ·5·   · · · Q.· ·Do you take any medications related to
      ·6·   ·type?                                                  ·6·   ·anxiety?
      ·7·   · · · · · ·MR. NIDEL:· Objection to form.· Asked and    ·7·   · · · A.· ·Not that I recall.
      ·8·   · · · answered.                                         ·8·   · · · Q.· ·In the second condo that you and your
      ·9·   · ·BY MR. WACHTER:                                      ·9·   ·former wife purchased near 651, did you ever live
      10·   · · · Q.· ·You can answer.                              10·   ·there?
      11·   · · · A.· ·No.                                          11·   · · · A.· ·No.
      12·   · · · Q.· ·I noticed you had some potentially           12·   · · · Q.· ·Who lived there, or did anybody live
      13·   ·precancerous lesions on your hands and your            13·   ·there?
      14·   ·forehead; is that correct?                             14·   · · · A.· ·Yeah, her -- her mother did.
      15·   · · · A.· ·That's correct.                              15·   · · · Q.· ·How long did she live there, do you know?
      16·   · · · Q.· ·And --                                       16·   · · · A.· ·To be honest, I don't.
      17·   · · · A.· ·Back as well.                                17·   · · · Q.· ·Don't know?
      18·   · · · Q.· ·Did any of those turn into melanoma or       18·   · · · A.· ·No.
      19·   ·cancer?                                                19·   · · · Q.· ·Don't know whether she still lives there
      20·   · · · A.· ·The one on my back, yes.                     20·   ·or not?
      21·   · · · Q.· ·What was the treatment for that?             21·   · · · A.· ·I know that she does not, but I don't now
      22·   · · · A.· ·Removal.                                     22·   ·how long she lived there.
      23·   · · · Q.· ·Do you have any knowledge of what caused     23·   · · · Q.· ·Do you know who lives there now?
      24·   ·the melanoma on your back?                             24·   · · · A.· ·I don't.
      25·   · · · A.· ·I don't.                                     25·   · · · Q.· ·So, for example, in the -- your tenant at


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      ·1·   ·651, is there any record anywhere as to who she is     ·1·   · ·BY MR. WACHTER:
      ·2·   ·or her identifying information?· I know you told us    ·2·   · · · Q.· ·Yes.
      ·3·   ·her name, but is there a record anywhere?              ·3·   · · · A.· ·Yeah.
      ·4·   · · · · · ·MR. NIDEL:· Objection to form and            ·4·   · · · Q.· ·At what point did you learn that general
      ·5·   · · · foundation.                                       ·5·   ·fact about Polk County?
      ·6·   · · · A.· ·You'd have to clarify the question. I        ·6·   · · · A.· ·I don't believe I know until this lawsuit
      ·7·   ·don't -- I don't understand what you're asking.        ·7·   ·came up.
      ·8·   · ·BY MR. WACHTER:                                      ·8·   · · · Q.· ·How did the lawsuit come up?
      ·9·   · · · Q.· ·Did you file her name as a tenant with       ·9·   · · · A.· ·For me, I read about it in the newspaper.
      10·   ·anyone?                                                10·   · · · Q.· ·Okay.· Did you -- without getting into any
      11·   · · · A.· ·I sent her contact information to the        11·   ·discussions -- we don't want any discussions you've
      12·   ·company that handles the association.· I don't         12·   ·had with your counsel, but did you contact them or
      13·   ·remember what their title is.                          13·   ·did they contact you?
      14·   · · · Q.· ·Why did you do that?                         14·   · · · A.· ·I believe there was a request for a
      15·   · · · A.· ·It was a request, requirement.· I'm not      15·   ·contact for additional information, so I contacted
      16·   ·sure how to say it, but yeah.                          16·   ·them to get additional information about what the
      17·   · · · Q.· ·Do you stay in contact with any other        17·   ·issues were.
      18·   ·property owners or residents in Grasslands or          18·   · · · Q.· ·And again, don't tell us about any
      19·   ·Oakbridge?                                             19·   ·communications or any particular statements or, you
      20·   · · · A.· ·No.                                          20·   ·know, back and forth with your lawyer because that's
      21·   · · · Q.· ·Have you talked to any other residents or    21·   ·not what I'm asking.
      22·   ·owners in Grasslands or Oakbridge about this           22·   · · · A.· ·Okay.
      23·   ·lawsuit?                                               23·   · · · Q.· ·But where did you see the information that
      24·   · · · A.· ·Not that I recall, no.                       24·   ·indicated that you could contact them?
      25·   · · · Q.· ·When did you -- did you learn at some        25·   · · · A.· ·I don't recall.· I believe it was on a

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      ·1·   ·point that Grasslands and Oakbridge was built on       ·1·   ·website, the attorney's website, but I don't recall
      ·2·   ·formerly mined land, land that was formerly mined      ·2·   ·the specifics.
      ·3·   ·for phosphate?                                         ·3·   · · · Q.· ·So up to that point, did you have any
      ·4·   · · · A.· ·I originally thought it was an old dump, a   ·4·   ·concerns about the neighborhood and any potential
      ·5·   ·trash dump.· And I don't remember who told me, but     ·5·   ·radon, radiation, anything related to the soil or
      ·6·   ·at some point somebody said that it was a phosphate    ·6·   ·the land?
      ·7·   ·mine, but I don't remember when it was.· I don't       ·7·   · · · A.· ·Not that I recall.
      ·8·   ·recall.                                                ·8·   · · · Q.· ·And going back to the landfill issue you
      ·9·   · · · Q.· ·You're aware in general that Polk County     ·9·   ·thought you were told at some point, was it the golf
      10·   ·has very substantial phosphate mining or has had       10·   ·course or the residence was built on a landfill?
      11·   ·very substantial phosphate mining over the years?      11·   · · · A.· ·I thought it was a, like, general
      12·   · · · · · ·MR. NIDEL:· Objection to form and            12·   ·Oakbridge/Grasslands statement.· It was -- I heard
      13·   · · · foundation.                                       13·   ·that it was a trash dump or something like that, but
      14·   · ·BY MR. WACHTER:                                      14·   ·I didn't know the details.
      15·   · · · Q.· ·Did you know that about Polk County before   15·   · · · Q.· ·When did you learn that -- or did you
      16·   ·you moved there?                                       16·   ·learn -- I think you said you learned at some point
      17·   · · · A.· ·No.                                          17·   ·that Grasslands and Oakbridge had been previously
      18·   · · · · · ·MR. NIDEL:· Same objections.                 18·   ·mined for phosphate.· When did you learn that?
      19·   · ·BY MR. WACHTER:                                      19·   · · · A.· ·I don't recall.
      20·   · · · Q.· ·Did you learn at some point that Polk        20·   · · · Q.· ·You know that now; is that right?
      21·   ·County has over the years had very substantial         21·   · · · A.· ·Yes, obviously.
      22·   ·phosphate mining?                                      22·   · · · Q.· ·And so you first moved there roughly 20
      23·   · · · · · ·MR. NIDEL:· Objection to form.               23·   ·years ago.· Can you place that knowledge somewhere
      24·   · · · A.· ·Was I aware of that at some point?           24·   ·within that 20-year time span of when you learned
      25                                                            25·   ·that?


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      ·1·   · · · · · ·MR. NIDEL:· Objection to form and            ·1·   ·right?
      ·2·   · · · foundation.                                       ·2·   · · · A.· ·I believe so.
      ·3·   · · · A.· ·Yeah, what are you asking?                   ·3·   · · · Q.· ·So is there any reason why you did not
      ·4·   · ·BY MR. WACHTER:                                      ·4·   ·look into that prior to 2017?
      ·5·   · · · Q.· ·What I'm asking is you -- you moved there    ·5·   · · · A.· ·Because I was unaware that there was an
      ·6·   ·around 2000, right?                                    ·6·   ·issue.· I was unaware that Polk County was the
      ·7·   · · · A.· ·Right.                                       ·7·   ·center for phosphate mining.
      ·8·   · · · Q.· ·Okay.· So within the past 20 years, can      ·8·   · · · Q.· ·You're now aware of that; is that right?
      ·9·   ·you tell us when you learned that any of this -- any   ·9·   · · · A.· ·I am.
      10·   ·of these neighborhoods were formerly mined for         10·   · · · Q.· ·How did you learn that?
      11·   ·phosphate?                                             11·   · · · · · ·MR. NIDEL:· Objection to form.· Asked and
      12·   · · · · · ·MR. NIDEL:· Objection to form.· Asked and    12·   · · · answered.
      13·   · · · answered.· All you've added is within the last    13·   · · · · · ·MR. WACHTER:· Counsel, when you say "asked
      14·   · · · 20 years.· You're asking the same question.       14·   · · · and answered," I believe you're suggesting an
      15·   · · · · · ·MR. WACHTER:· I'd appreciate it if you       15·   · · · answer to the witness.· I'd appreciate if you
      16·   · · · wouldn't interrupt, Counsel.                      16·   · · · would not interrupt.
      17·   · · · · · ·MR. NIDEL:· Okay.· Well, don't ask the       17·   · · · · · ·MR. NIDEL:· Okay.· Objection to form.
      18·   · · · same question repeatedly, I won't.                18·   · · · · · ·MR. WACHTER:· Thank you.
      19·   · · · · · ·MR. WACHTER:· Counsel, you're not allowed    19·   · · · A.· ·Was there a question there?
      20·   · · · to interrupt regardless.                          20·   · ·BY MR. WACHTER:
      21·   · · · · · ·MR. NIDEL:· Objection to form.               21·   · · · Q.· ·Yeah, thank you, Mr. Feist.· Appreciate
      22·   · · · · · ·MR. WACHTER:· You're not allowed to          22·   ·it.· Let me see where we are.
      23·   · · · interrupt.                                        23·   · · · · · ·So I -- Mr. Feist, I believe what you said
      24·   · ·BY MR. WACHTER:                                      24·   ·was that you were not aware that Polk County was the
      25·   · · · Q.· ·So, Mr. Feist, can you tell us a period of   25·   ·center for phosphate mining.· So how did you learn

                                                         Page 67                                                       Page 69
      ·1·   ·time when you learned that fact?                       ·1·   ·that fact?
      ·2·   · · · A.· ·Over a 20 -- 20-year period, it was          ·2·   · · · · · ·MR. NIDEL:· Objection to form.
      ·3·   ·towards the latter part of that 20 years, so in the    ·3·   · · · A.· ·I believe after I saw the article, I did
      ·4·   ·past -- past few years.                                ·4·   ·research on phosphate mining in the area.
      ·5·   · · · Q.· ·Can you tell us how you learned that?        ·5·   · ·BY MR. WACHTER:
      ·6·   · · · A.· ·Again, I had heard some talk, I guess, and   ·6·   · · · Q.· ·The article is the article about this
      ·7·   ·I never did research and -- until I had seen the       ·7·   ·particular lawsuit?
      ·8·   ·newspaper article that there was some issue.           ·8·   · · · A.· ·Correct.
      ·9·   · · · Q.· ·Did Drummond ever tell you or any of         ·9·   · · · Q.· ·And this was the lawsuit that was
      10·   ·Drummond's employees ever tell you that the land had   10·   ·originally filed by Mr. Jerue, correct?
      11·   ·been previously mined for phosphate?                   11·   · · · A.· ·Correct.
      12·   · · · A.· ·No.                                          12·   · · · Q.· ·You ever talked to Mr. Jerue?
      13·   · · · Q.· ·So when you moved into any of these          13·   · · · A.· ·No, not that I recall.
      14·   ·locations in Grasslands or Oakbridge, were you aware   14·   · · · Q.· ·Even up until today, have you spoken with
      15·   ·at the time that this was reclaimed land that had      15·   ·him?
      16·   ·been previously mined for phosphate?                   16·   · · · A.· ·Not that I recall, no.
      17·   · · · A.· ·No.                                          17·   · · · Q.· ·Have you ever met him?
      18·   · · · Q.· ·Was that a no?                               18·   · · · A.· ·Not that I recall.
      19·   · · · A.· ·That was a no.                               19·   · · · Q.· ·I believe you said earlier that you never
      20·   · · · Q.· ·For any of the properties that you           20·   ·tested for radon at any of the properties in
      21·   ·lived -- where you lived in Polk County or             21·   ·Grasslands and Oakbridge.· Can you tell me why you
      22·   ·purchased, did you ever look into whether any of       22·   ·never tested for radon?
      23·   ·those locations were previously mined for phosphate?   23·   · · · A.· ·I never saw the need to.· I never -- I
      24·   · · · A.· ·I did after this lawsuit started.            24·   ·didn't have information that would lead me to
      25·   · · · Q.· ·And the lawsuit started in 2017; is that     25·   ·believe that there was some issue, so I never knew I


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      ·1·   ·should test.                                           ·1·   · · · A.· ·I have no way of knowing that.
      ·2·   · · · Q.· ·So despite whether test -- you didn't        ·2·   · ·BY MR. WACHTER:
      ·3·   ·test, I understand that, do you have any information   ·3·   · · · Q.· ·Is that because you never tested or no one
      ·4·   ·that would indicate that there is a radon problem at   ·4·   ·told you that it had been tested?
      ·5·   ·any of these locations where you lived in Grasslands   ·5·   · · · · · ·MR. NIDEL:· Objection to form.
      ·6·   ·or Oakbridge?                                          ·6·   · ·BY MR. WACHTER:
      ·7·   · · · A.· ·Did I have any information at the time or    ·7·   · · · Q.· ·Has anyone told you it's been tested?
      ·8·   ·now?                                                   ·8·   · · · A.· ·No.
      ·9·   · · · Q.· ·Yeah, both, at the time and now.             ·9·   · · · Q.· ·For 651 Grasslands Village Circle in
      10·   · · · A.· ·At the time, no.· And now, I'm not an        10·   ·Muirfield Village, any information on the radon
      11·   ·expert, so I don't -- I can't give you details, but    11·   ·levels there?
      12·   ·I believe that there are some issues out there with    12·   · · · A.· ·No.
      13·   ·radon.                                                 13·   · · · · · ·MR. NIDEL:· Objection to form and
      14·   · · · Q.· ·So just based on your knowledge, in your     14·   · · · foundation.
      15·   ·own words, what issues do you think there might be     15·   · ·BY MR. WACHTER:
      16·   ·with respect to radon at these locations where you     16·   · · · Q.· ·And the other condo there, I believe you
      17·   ·previously lived in Grasslands or Oakbridge?           17·   ·said the other condo in Muirfield Village was also a
      18·   · · · · · ·MR. NIDEL:· Objection to form and            18·   ·second-story condo; is that right?
      19·   · · · foundation.                                       19·   · · · A.· ·Correct.
      20·   · · · A.· ·Again, I'm not an expert, so I can't -- I    20·   · · · Q.· ·Did you have any information on the radon
      21·   ·don't think I can answer that.                         21·   ·levels there?
      22·   · ·BY MR. WACHTER:                                      22·   · · · · · ·MR. NIDEL:· Objection to form.
      23·   · · · Q.· ·Do you know whether the radon levels in      23·   · ·BY MR. WACHTER:
      24·   ·these locations are unsafe?                            24·   · · · Q.· ·Any information.
      25·   · · · · · ·MR. NIDEL:· Objection to form and            25·   · · · A.· ·I don't have any information for that, no.

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      ·1·   · · · foundation.                                       ·1·   · · · Q.· ·So in addition to radon, have there been
      ·2·   · ·BY MR. WACHTER:                                      ·2·   ·any other radiation testing conducted at any of
      ·3·   · · · Q.· ·So, Mr. Feist, for example, 3141 Winged      ·3·   ·these locations?
      ·4·   ·Foot Drive, do you know whether the radon levels       ·4·   · · · · · ·MR. NIDEL:· Objection to form and
      ·5·   ·were safe or unsafe during the time that you lived     ·5·   · · · foundation.
      ·6·   ·there?                                                 ·6·   · · · A.· ·(Shaking head.)
      ·7·   · · · · · ·MR. NIDEL:· Objection to foundation.         ·7·   · ·BY MR. WACHTER:
      ·8·   · · · A.· ·I don't know.                                ·8·   · · · Q.· ·So for 3141 Winged Foot Drive, has there
      ·9·   · ·BY MR. WACHTER:                                      ·9·   ·been any other type of radiation testing?
      10·   · · · Q.· ·For 3039 Grasslands Drive, do you know       10·   · · · · · ·MR. NIDEL:· Objection to form and
      11·   ·whether the radon levels were safe or unsafe when      11·   · · · foundation.
      12·   ·you lived there?                                       12·   · ·BY MR. WACHTER:
      13·   · · · · · ·MR. NIDEL:· Objection to form and            13·   · · · Q.· ·To your knowledge.
      14·   · · · foundation.                                       14·   · · · A.· ·Did I contract with anyone to test
      15·   · ·BY MR. WACHTER:                                      15·   ·3141 Winged Foot Drive for radon?· No.
      16·   · · · Q.· ·If you know.                                 16·   · · · Q.· ·Do you know if anybody did?
      17·   · · · A.· ·I had no way of knowing if there was a       17·   · · · A.· ·Not that I know of.
      18·   ·radon issue or not.                                    18·   · · · Q.· ·So for 3039 Grasslands Drive, did you
      19·   · · · Q.· ·Just -- so after you left 3039 Grasslands    19·   ·contract with anybody to test for radiation?
      20·   ·Drive, I believe your former wife and then your        20·   · · · A.· ·No, I didn't.
      21·   ·daughter continued to live there.· During the time     21·   · · · Q.· ·Do you know if anybody did?
      22·   ·that they have lived there, have the radon levels      22·   · · · A.· ·I have no way of knowing that.· I don't
      23·   ·been safe or unsafe?                                   23·   ·know.
      24·   · · · · · ·MR. NIDEL:· Objection to form and            24·   · · · Q.· ·For 651 Grasslands in Muirfield Village,
      25·   · · · foundation.                                       25·   ·did you contract with anyone to test for radiation?


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      ·1·   · · · A.· ·No.                                          ·1·   ·Village Circle in Muirfield Village.
      ·2·   · · · Q.· ·Do you know whether anybody did?             ·2·   · · · A.· ·Uh-huh.
      ·3·   · · · A.· ·Again, I have no way of knowing that for     ·3·   · · · Q.· ·Do you have any information to indicate
      ·4·   ·sure.                                                  ·4·   ·whether there's unsafe radiation in that condo?
      ·5·   · · · Q.· ·Do you have any information?                 ·5·   · · · · · ·MR. NIDEL:· Objection to form and
      ·6·   · · · · · ·MR. NIDEL:· Objection to form.               ·6·   · · · foundation.
      ·7·   · · · A.· ·I don't know whether anybody has or not,     ·7·   · ·BY MR. WACHTER:
      ·8·   ·because I know there was a lot of testing out there.   ·8·   · · · Q.· ·You may answer.
      ·9·   ·What particular address and all of that, I have no     ·9·   · · · · · ·MR. NIDEL:· Same objections.
      10·   ·way of knowing.                                        10·   · · · A.· ·I know there was multiple locations in
      11·   · ·BY MR. WACHTER:                                      11·   ·Grasslands and Oakbridge that were tested.· I don't
      12·   · · · Q.· ·And I appreciate that.                       12·   ·know if 651 Grasslands Village Circle was tested. I
      13·   · · · · · ·How about the other condo in Muirfield       13·   ·have no information of what actual testing was done.
      14·   ·Village; was that tested for radiation?                14·   ·I just know -- understand that there was multiple
      15·   · · · · · ·MR. NIDEL:· Objection to form and            15·   ·locations tested, so...
      16·   · · · foundation.                                       16·   · ·BY MR. WACHTER:
      17·   · · · A.· ·Not that I know of.                          17·   · · · Q.· ·Do you know whether your tenant has had
      18·   · ·BY MR. WACHTER:                                      18·   ·any radiation or radon testing done at 651?
      19·   · · · Q.· ·So just to be clear, on 651 Grasslands       19·   · · · A.· ·Not that I know of.
      20·   ·Village Circle, has that condo that you owned been     20·   · · · Q.· ·Did you have a discussion, any discussion
      21·   ·tested for any radiation of any type?                  21·   ·at all, with your tenant about whether there was any
      22·   · · · · · ·MR. NIDEL:· Objection to form and            22·   ·unsafe radon or radiation at that location?
      23·   · · · foundation.                                       23·   · · · A.· ·We've had discussions about in general in
      24·   · ·BY MR. WACHTER:                                      24·   ·Grasslands and that there's a potential risk.
      25·   · · · Q.· ·You may answer.                              25·   · · · Q.· ·When did you have those discussions?

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      ·1·   · · · A.· ·I did not contract with anybody to test      ·1·   · · · A.· ·I think just after newspaper articles
      ·2·   ·there.· Has it been tested?· I don't know the          ·2·   ·about the lawsuit came out.
      ·3·   ·particular addresses that were tested.· I just know    ·3·   · · · Q.· ·What did you tell your tenant?
      ·4·   ·that there was considerable testing.· But whether      ·4·   · · · A.· ·That there is a risk, a higher risk than
      ·5·   ·651 was tested or not, I don't know.                   ·5·   ·normal, that -- that there's radiation, the levels
      ·6·   · · · Q.· ·Do you have any information that would       ·6·   ·of radiation in Grasslands are elevated and that
      ·7·   ·indicate 651 Grasslands Village is unsafe?             ·7·   ·there's health risks for that.
      ·8·   · · · · · ·MR. NIDEL:· Objection to form and            ·8·   · · · Q.· ·What did your tenant say in regard, if
      ·9·   · · · foundation and calls for a legal conclusion.      ·9·   ·anything?
      10·   · · · · · ·MR. WACHTER:· Counsel, I believe you're      10·   · · · A.· ·I remember her asking me if this is
      11·   · · · suggesting answers.· I'd appreciate if you        11·   ·something she needs to worry about.
      12·   · · · wouldn't.· I don't really need to know the        12·   · · · Q.· ·What did you tell her?
      13·   · · · basis for your objection.                         13·   · · · A.· ·I said I can't give you details, you know,
      14·   · · · · · ·MR. NIDEL:· I disagree with your             14·   ·I'm not a scientist.· I'm not a geologic -- not a
      15·   · · · characterization, and I believe it calls for a    15·   ·geological, but a radiation engineer, but from what
      16·   · · · legal conclusion.                                 16·   ·I understand, radiation levels are elevated and, you
      17·   · · · · · ·MR. WACHTER:· Counsel, I don't need --       17·   ·know, I think long-term there's concerns there. But
      18·   · · · that's an inappropriate speaking objection,       18·   ·outside of that, I don't have details of, you know,
      19·   · · · counsel, here in the Middle District of Florida   19·   ·whether there's actions to take -- to take
      20·   · · · and we may need to call the magistrate if that    20·   ·immediately.· I'll leave that up to her.
      21·   · · · continues.                                        21·   · · · Q.· ·Did the tenant have anything further to
      22·   · · · · · ·MR. NIDEL:· Okay.                            22·   ·say about whether she was willing to stay in the
      23·   · ·BY MR. WACHTER:                                      23·   ·location?
      24·   · · · Q.· ·Mr. Feist, I think we were talking about     24·   · · · A.· ·Not in regards to the radiation level.
      25·   ·your current ownership of property at 651 Grasslands   25·   ·I've been lenient on rent, so I think she stays


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      ·1·   ·because that's the best place she could find for the   ·1·   ·right?
      ·2·   ·price.                                                 ·2·   · · · A.· ·I believe so, yeah.
      ·3·   · · · Q.· ·As far as you know, the tenant made a        ·3·   · · · Q.· ·So over three and a half years ago the
      ·4·   ·decision to stay in that location?                     ·4·   ·lawsuit was filed.· Is there any reason why your
      ·5·   · · · A.· ·That's correct.                              ·5·   ·daughter is -- and your former wife are still living
      ·6·   · · · Q.· ·Your conversation with her about             ·6·   ·in the house in Grasslands?
      ·7·   ·radiation, when was that?                              ·7·   · · · · · ·MR. NIDEL:· Objection to form and
      ·8·   · · · A.· ·I don't recall the date.                     ·8·   · · · foundation.
      ·9·   · · · Q.· ·Was it about the time you filed a lawsuit    ·9·   · · · A.· ·You're asking my daughter?· For my
      10·   ·or joined the lawsuit?                                 10·   ·daughter, she's a minor, and she's going to -- and
      11·   · · · A.· ·Somewhere around there, yes.                 11·   ·my ex-wife has custody, so she's going to live with
      12·   · · · Q.· ·And was there more than one conversation     12·   ·my ex-wife.
      13·   ·or was it just one conversation?                       13·   · ·BY MR. WACHTER:
      14·   · · · A.· ·I believe there was more than one.· One      14·   · · · Q.· ·Did you suggest that your daughter should
      15·   ·when it initially came out and then again sometime     15·   ·move out?
      16·   ·after.· But I don't -- don't remember the details of   16·   · · · A.· ·I suggested that there are probably health
      17·   ·the conversation other than, again, asking if          17·   ·concerns, especially long-term, and that she should
      18·   ·there's concern, if she should be concerned.           18·   ·take that seriously, but I didn't suggest that she
      19·   · · · Q.· ·Did you tell her about the lawsuit?          19·   ·move out.
      20·   · · · A.· ·Somewhat, I guess.                           20·   · · · Q.· ·Well, wouldn't you want to have the
      21·   · · · Q.· ·And after you told her about the lawsuit     21·   ·property tested with regard to safety for your
      22·   ·and the concerns, is it fair to say your tenant        22·   ·daughter?
      23·   ·decided to stay?                                       23·   · · · · · ·MR. NIDEL:· Objection to form.
      24·   · · · · · ·MR. NIDEL:· Objection to foundation.         24·   · ·BY MR. WACHTER:
      25·   · · · A.· ·She did, yeah, because of rent -- rent       25·   · · · Q.· ·As a father, wouldn't you want to have the

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      ·1·   ·leniency more than anything else.                      ·1·   ·property where your daughter -- the home where your
      ·2·   · ·BY MR. WACHTER:                                      ·2·   ·daughter lives tested for safety?
      ·3·   · · · Q.· ·What about your daughter and former wife     ·3·   · · · · · ·MR. NIDEL:· Objection to form.
      ·4·   ·at 3039 Grasslands Drive, did you have a discussion    ·4·   · · · A.· ·Yes, I would.
      ·5·   ·with them about any concerns regarding radiation       ·5·   · ·BY MR. WACHTER:
      ·6·   ·risk at that location?                                 ·6·   · · · Q.· ·Did you?
      ·7·   · · · A.· ·Not with my ex-wife, but my daughter, yes.   ·7·   · · · A.· ·Did I contract with anyone to test for
      ·8·   · · · Q.· ·What conversation did you have with your     ·8·   ·radiation levels at 3039 Grasslands?· No, I didn't.
      ·9·   ·daughter?                                              ·9·   · · · Q.· ·Why not?
      10·   · · · A.· ·I told her from what I understand,           10·   · · · A.· ·Because I was under the impression that
      11·   ·radiation levels are much higher than normal and       11·   ·the attorneys were hiring engineers to test
      12·   ·that there's health concerns.                          12·   ·throughout Grasslands and Oakbridge.· So do I -- do
      13·   · · · Q.· ·When was that?                               13·   ·I know if they tested that particular address? I
      14·   · · · A.· ·Again, similar time frame, not too long      14·   ·don't.
      15·   ·after the lawsuit started.                             15·   · · · Q.· ·Did you ever get the results for that
      16·   · · · Q.· ·What was your daughter's reaction?           16·   ·particular address?
      17·   · · · A.· ·Surprised, shocked, concerned.               17·   · · · A.· ·I didn't, no.
      18·   · · · Q.· ·Did you suggest that they have the house     18·   · · · Q.· ·Wouldn't you be concerned -- if you were
      19·   ·tested?                                                19·   ·concerned about your daughter's safety, wouldn't you
      20·   · · · A.· ·I don't recall.                              20·   ·be concerned to find out the results of the testing
      21·   · · · Q.· ·Do you know whether they had the house       21·   ·of 3039 Grasslands, if it had been tested?
      22·   ·tested?                                                22·   · · · A.· ·If it had been tested in particular, sure.
      23·   · · · A.· ·I don't.· I believe I suggested it to my     23·   · · · Q.· ·Why didn't you demand the results?
      24·   ·daughter, but I don't remember the details.            24·   · · · A.· ·To be honest, I don't know.· I can't
      25·   · · · Q.· ·So the lawsuit was filed in 2017; is that    25·   ·answer that.


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      ·1·   · · · Q.· ·The same with your tenant; did you suggest   ·1·   ·any experts that your lawyers have retained to look
      ·2·   ·that she have the property tested?                     ·2·   ·into this case?
      ·3·   · · · A.· ·I -- I remember telling her that the         ·3·   · · · A.· ·Do I have any experts, no.
      ·4·   ·attorneys were hiring engineers to test and, you       ·4·   · · · Q.· ·Do you know whether your lawyers have
      ·5·   ·know, if she felt the need to test as well, she        ·5·   ·hired any experts or qualified engineers or other
      ·6·   ·could.· But, you know, I think that's the extent of    ·6·   ·qualified individuals to look into the safety
      ·7·   ·it.                                                    ·7·   ·issues?
      ·8·   · · · Q.· ·Did your attorneys ever give you the         ·8·   · · · A.· ·As far as I know, yes.
      ·9·   ·locations where they hired people to test?             ·9·   · · · Q.· ·Do you know who they are?
      10·   · · · A.· ·No.                                          10·   · · · A.· ·I don't.
      11·   · · · Q.· ·Any reason why not?                          11·   · · · Q.· ·Have you met with them, any of them?
      12·   · · · · · ·MR. NIDEL:· Objection to foundation.         12·   · · · A.· ·There was one I met and I don't know what
      13·   · ·BY MR. WACHTER:                                      13·   ·his role was, what he actually tested, but there was
      14·   · · · Q.· ·Were you given a reason as to why not?       14·   ·one I did meet.
      15·   · · · A.· ·I can't answer that.· I don't know.          15·   · · · Q.· ·Do you know who that is or could you tell
      16·   · · · Q.· ·Well, would you agree with me that the       16·   ·us something that could help us identify who that
      17·   ·best way to find out whether a property is safe or     17·   ·person is?
      18·   ·unsafe is to have a qualified person test that         18·   · · · A.· ·I don't remember a name.· I just remember
      19·   ·property?                                              19·   ·he was an older guy.
      20·   · · · A.· ·Yes.                                         20·   · · · Q.· ·Aside from this, the older guy --
      21·   · · · Q.· ·And do you have any knowledge of             21·   · · · A.· ·Yep.
      22·   ·particular addresses within Grasslands or Oakbridge    22·   · · · Q.· ·And I appreciate your efforts to try and
      23·   ·where a qualified person or company tested for         23·   ·identify the person.· If you think of anything, let
      24·   ·radiation for safety?                                  24·   ·us know.· But aside from this one individual, have
      25·   · · · A.· ·Particular address, no.                      25·   ·you met with any other or talked with any other --

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      ·1·   · · · Q.· ·Do you have any other information other      ·1·   · · · A.· ·No.
      ·2·   ·than particular addresses?                             ·2·   · · · Q.· ·-- experts or potential experts?
      ·3·   · · · A.· ·I didn't accompany anyone on a testing       ·3·   · · · A.· ·No.
      ·4·   ·run.· I'm just aware that they tested.· And what       ·4·   · · · Q.· ·So have you suffered any personal injury
      ·5·   ·particular address, I really don't know.· The only     ·5·   ·as a result of living in Grasslands or Oakbridge in
      ·6·   ·other information was I saw a document one time of     ·6·   ·connection with the formerly mined land?
      ·7·   ·testing years ago, and it wasn't lot by lot, but it    ·7·   · · · · · ·MR. NIDEL:· Objection to form and
      ·8·   ·was more of area by area, and it showed radiation      ·8·   · · · foundation.
      ·9·   ·levels.                                                ·9·   · · · A.· ·I have no way of knowing that.
      10·   · · · Q.· ·Was that "many years ago," the testing was   10·   · ·BY MR. WACHTER:
      11·   ·done many years ago?                                   11·   · · · Q.· ·Have you gone to the doctor and asked to
      12·   · · · A.· ·It was.                                      12·   ·be evaluated to see whether you have any cancer or
      13·   · · · Q.· ·So -- but we're talking currently, and       13·   ·other illnesses that are associated with living at
      14·   ·thank you for clarifying that.· Currently, do you      14·   ·this -- at these locations within the property?
      15·   ·have any knowledge of any properties in Grasslands     15·   · · · A.· ·Have I gone to the doctor and asked to be
      16·   ·or Oakbridge that have been tested and found to be     16·   ·evaluated?
      17·   ·unsafe?                                                17·   · · · Q.· ·Right.
      18·   · · · A.· ·I have no way of knowing any particular      18·   · · · A.· ·I do yearly.· I'm not sure what you're
      19·   ·address, no.· I just know there was many, many         19·   ·asking.· If I asked to be tested particularly for
      20·   ·points tested, and outside of that, I don't know.      20·   ·radiation exposure?· Not in particular, no.
      21·   · · · Q.· ·And the reason you don't know is because     21·   · · · Q.· ·And I appreciate you clarifying that. I
      22·   ·that information has not been provided to you; is      22·   ·know you go to Watson Clinic.· You go to Watson
      23·   ·that correct?                                          23·   ·Clinic on a regular basis, right?
      24·   · · · A.· ·That is correct.                             24·   · · · · · ·MR. NIDEL:· Objection to form.
      25·   · · · Q.· ·So in this particular case, do you have      25·   · · · A.· ·It's my -- it's my doctor.· Do I go on a


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      ·1·   ·regular basis?· God, I hope not.                       ·1·   ·because of that, do I have a concern, absolutely.
      ·2·   · ·BY MR. WACHTER:                                      ·2·   · · · Q.· ·And I forgot to ask and I appreciate you
      ·3·   · · · Q.· ·Well, do you go to Watson Clinic when you    ·3·   ·reminding me.· Has your daughter suffered any
      ·4·   ·have a need for medical --                             ·4·   ·illnesses related to radiation exposure?
      ·5·   · · · A.· ·Yes.                                         ·5·   · · · · · ·MR. NIDEL:· Objection to foundation.
      ·6·   · · · Q.· ·Okay.· And you've got health insurance?      ·6·   · · · A.· ·Not that I know of yet.
      ·7·   · · · A.· ·Yes.                                         ·7·   · ·BY MR. WACHTER:
      ·8·   · · · Q.· ·And in connection with Watson Clinic or      ·8·   · · · Q.· ·Have you advised her to go to a physician
      ·9·   ·any other physician, since 2017 have you gone to a     ·9·   ·to be checked out for any type of consequences
      10·   ·physician and asked to be evaluated for any            10·   ·health-wise from radiation exposure?
      11·   ·potential health consequences of exposure to any       11·   · · · A.· ·I advised her that that might be something
      12·   ·radiation in Grasslands or Oakbridge?                  12·   ·that would come out of this, that we all should be
      13·   · · · A.· ·I have not.· I understood that that was      13·   ·concerned, and that long-term, we want to be tested
      14·   ·part of the lawsuit and that medical monitoring        14·   ·on a regular basis.· But did I tell her to go to the
      15·   ·would be a possible result of this, but did I get      15·   ·doctor that day and get -- no, I didn't.
      16·   ·tested since then, no, I haven't.                      16·   · · · Q.· ·Up until today, do you know whether she's
      17·   · · · Q.· ·Well, in the three and a half years since    17·   ·gone to the doctor to be evaluated?
      18·   ·you filed a lawsuit, have you gone -- is there any     18·   · · · A.· ·I don't know.
      19·   ·reason why you have not gone to a physician to ask     19·   · · · Q.· ·Is there any reason why you didn't ask her
      20·   ·to be evaluated?                                       20·   ·to do it at the time you learned about this?
      21·   · · · A.· ·I guess because I'm not a physician and I    21·   · · · A.· ·My ex-wife has custody and she makes
      22·   ·don't know that there are tests that you could do      22·   ·decisions for doctor visits and dentist visits, so I
      23·   ·for radiation exposure.                                23·   ·said to my daughter that there's a health concern,
      24·   · · · Q.· ·And as far as you know, you haven't          24·   ·long-term health concern and -- but I would leave
      25·   ·developed any cancers related to any exposure or       25·   ·that up to my ex-wife to make the decision.

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      ·1·   ·dosage in Grasslands or Oakbridge, right?              ·1·   · · · Q.· ·Now, of your sons, I think you said two of
      ·2·   · · · A.· ·Not that I know.                             ·2·   ·your sons lived in Grasslands for a period of time?
      ·3·   · · · Q.· ·Has the -- has the fact that you were --     ·3·   · · · A.· ·Yes, in Whitestone Court.
      ·4·   ·you've lived in these neighborhoods over a period of   ·4·   · · · Q.· ·How many years or what period of time?
      ·5·   ·time, has that caused any type of consequences to      ·5·   · · · A.· ·2010 to 2013.
      ·6·   ·you, physical, emotional, mental, anything like        ·6·   · · · Q.· ·Have they developed any health problems
      ·7·   ·that?                                                  ·7·   ·related to radiation exposure?
      ·8·   · · · · · ·MR. NIDEL:· Objection to foundation.         ·8·   · · · · · ·MR. NIDEL:· Objection to form and
      ·9·   · · · A.· ·I'm not sure what you're asking.             ·9·   · · · foundation.
      10·   · ·BY MR. WACHTER:                                      10·   · · · A.· ·Not that I'm aware of.
      11·   · · · Q.· ·Okay.· You said earlier that you thought     11·   · ·BY MR. WACHTER:
      12·   ·there was radiation exposure in the neighborhood; is   12·   · · · Q.· ·Have you had them checked out for that?
      13·   ·that right?                                            13·   · · · A.· ·No.
      14·   · · · A.· ·Correct.                                     14·   · · · Q.· ·Any reason why you haven't?
      15·   · · · Q.· ·Has that caused you any emotional or         15·   · · · A.· ·Because I want to see the outcome of this
      16·   ·mental consequences?                                   16·   ·lawsuit.
      17·   · · · · · ·MR. NIDEL:· Objection to form.               17·   · · · Q.· ·But I mean, if this is a health concern,
      18·   · · · A.· ·Other than this deposition, yeah,            18·   ·is there any reason why you would delay that three
      19·   ·actually, it has.                                      19·   ·and a half years or longer?
      20·   · ·BY MR. WACHTER:                                      20·   · · · A.· ·Because I didn't think it was going to
      21·   · · · Q.· ·Could you explain that, please?              21·   ·take three and a half years.· That's the honest
      22·   · · · A.· ·The fact that I lived out there for a        22·   ·truth.
      23·   ·number of years and my daughter has lived out there    23·   · · · Q.· ·When you first found out about this, is
      24·   ·for 18 years, and that there's elevated levels of      24·   ·there any reason why you didn't have your sons or
      25·   ·radiation and there's possibility of health issues     25·   ·daughters -- I think you mentioned the daughter, but


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      ·1·   ·your sons checked out by a physician or other          ·1·   ·no physical issues.
      ·2·   ·testing?                                               ·2·   · · · Q.· ·So in terms of -- just to clarify, no
      ·3·   · · · A.· ·I wanted to wait until the outcome of the    ·3·   ·physical issues and --
      ·4·   ·lawsuit.                                               ·4·   · · · A.· ·No.
      ·5·   · · · Q.· ·Are your sons covered under your health      ·5·   · · · Q.· ·Have you had any illness that you can
      ·6·   ·insurance?                                             ·6·   ·trace to the anxiety over having been exposed to
      ·7·   · · · A.· ·They are.                                    ·7·   ·radiation?
      ·8·   · · · Q.· ·Is your daughter covered by health           ·8·   · · · A.· ·Not that I'm aware of.
      ·9·   ·insurance?                                             ·9·   · · · Q.· ·And in terms -- we talked about insomnia,
      10·   · · · A.· ·She is.                                      10·   ·but have you had any additional insomnia or
      11·   · · · Q.· ·What -- so your former wife is a             11·   ·sleeplessness that you can trace to this exposure?
      12·   ·physician; is that right?                              12·   · · · A.· ·I'm not a physician, so I can't really
      13·   · · · A.· ·She is.                                      13·   ·trace much -- much to the exposure to radiation.
      14·   · · · Q.· ·What's her medical specialty?                14·   · · · Q.· ·Has this affected your work or personal
      15·   · · · A.· ·Ear, nose and throat.                        15·   ·life?
      16·   · · · Q.· ·In terms of how this lawsuit has affected    16·   · · · A.· ·Not that I'm aware of, other than feeling
      17·   ·you, I want to focus on any impact from being          17·   ·a great deal of anxiety about the long-term
      18·   ·exposed to any radiation when you lived at             18·   ·exposure.
      19·   ·Grasslands or Oakbridge.· So any impact from           19·   · · · Q.· ·In addition to that, is there anything
      20·   ·actually being exposed as opposed to being involved    20·   ·else that you can tell us in terms of any --
      21·   ·in the litigation --                                   21·   · · · A.· ·Not that I'm aware of.
      22·   · · · A.· ·Yeah, I understand.                          22·   · · · Q.· ·-- mental distress?
      23·   · · · Q.· ·-- and deposition.· So aside from being      23·   · · · A.· ·Sorry for interrupting, but not that I --
      24·   ·involved in the litigation --                          24·   ·I'm aware of.
      25·   · · · A.· ·Yeah.                                        25·   · · · Q.· ·Have you suffered any financial losses

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      ·1·   · · · Q.· ·-- focusing on when you lived there --       ·1·   ·associated with the fact that this property was
      ·2·   · · · A.· ·Yeah.                                        ·2·   ·formerly mined for phosphate and, in your view, has
      ·3·   · · · Q.· ·-- and the consequences, have you -- for     ·3·   ·elevated radiation?· Has that caused any financial
      ·4·   ·example, have you lost work as a result of any         ·4·   ·loss to you?
      ·5·   ·emotional distress, mental pain, pain and suffering?   ·5·   · · · · · ·MR. NIDEL:· Objection to form and
      ·6·   · · · A.· ·As a result of living in Grasslands or       ·6·   · · · foundation.
      ·7·   ·Oakbridge?                                             ·7·   · · · A.· ·The best way to answer this is not yet, I
      ·8·   · · · Q.· ·As a result of having an exposure to         ·8·   ·guess.
      ·9·   ·radiation.                                             ·9·   · ·BY MR. WACHTER:
      10·   · · · A.· ·Not that I'm aware of.                       10·   · · · Q.· ·And then how -- and so when you say "not
      11·   · · · Q.· ·Have you had any anxiety, depression or      11·   ·yet," are you saying that -- would that mean that
      12·   ·other mental consequences from that?                   12·   ·you're not going to know for 651 Grasslands Village
      13·   · · · A.· ·Prior to finding out about this, no.         13·   ·Circle whether that's going to have a financial
      14·   · · · Q.· ·Once you found out about it, have you gone   14·   ·consequence or not?
      15·   ·to the doctor and said that you've got mental          15·   · · · A.· ·It probably will, yes.
      16·   ·distress as a result of having this exposure?          16·   · · · Q.· ·What's it -- what's that based on?· What's
      17·   · · · A.· ·No, I didn't go to the doctor and state      17·   ·your statement based on?
      18·   ·that.                                                  18·   · · · A.· ·I'm assuming you're asking me for my
      19·   · · · Q.· ·Did you have any anxiety or depression as    19·   ·opinion.
      20·   ·a result of finding out about the exposure?            20·   · · · Q.· ·Yes, sir.
      21·   · · · A.· ·Anxiety, yes.· Depression, I don't think     21·   · · · A.· ·My opinion is that there's a number of
      22·   ·so.                                                    22·   ·residents who aren't taking this seriously, and I
      23·   · · · Q.· ·Any other psychological or physical          23·   ·think that once it comes out and they do take it
      24·   ·symptoms from that?                                    24·   ·seriously, I do think that there will be financial
      25·   · · · A.· ·A great deal of anxiety.· Outside of that,   25·   ·impact as well as emotional impact.


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      ·1·   · · · Q.· ·And when you say that there are a number     ·1·   ·right to express his or her opinion one way or the
      ·2·   ·of residents not taking this seriously, what are you   ·2·   ·other?
      ·3·   ·referring to?                                          ·3·   · · · A.· ·I do.
      ·4·   · · · A.· ·I haven't talked to anybody, but based on    ·4·   · · · Q.· ·In terms of the opinions that were
      ·5·   ·the fact that a number of residents did a, I don't     ·5·   ·expressed against the litigation, do you recall what
      ·6·   ·know, residents' town hall or something like that,     ·6·   ·residents were saying?
      ·7·   ·get-together, somebody provided some kind of           ·7·   · · · A.· ·From what I remember, they had one of the
      ·8·   ·information to them.· But outside of that, I don't     ·8·   ·residents do some I'll call it uncertified testing
      ·9·   ·know.· But the fact that they're -- it doesn't seem    ·9·   ·and they were, I believe basing their opinions on
      10·   ·like they're taking it seriously.                      10·   ·that, but outside of that, I don't know.· I've never
      11·   · · · Q.· ·Well, wouldn't you agree that it's each      11·   ·talked to anybody about it since this started.
      12·   ·individual's choice as to whether to take it           12·   · · · Q.· ·And is there any reason why you haven't
      13·   ·seriously or not?                                      13·   ·talked to anybody about that?
      14·   · · · · · ·MR. NIDEL:· Objection to form.               14·   · · · · · ·So my question, Mr. Feist -- sorry for the
      15·   · · · A.· ·Yeah.                                        15·   ·interruption -- is there any reason you haven't
      16·   · ·BY MR. WACHTER:                                      16·   ·reached out to some of those residents who were
      17·   · · · Q.· ·And in terms of the residents that went to   17·   ·opposed to the litigation?
      18·   ·the residents' town hall that you referred to, do      18·   · · · · · ·MR. NIDEL:· Objection to form and
      19·   ·you know any of those residents?                       19·   · · · foundation.
      20·   · · · · · ·MR. NIDEL:· Objection to foundation.         20·   · · · A.· ·I've lost friendships over this.
      21·   · · · A.· ·Just a picture I saw in the paper, I         21·   · ·BY MR. WACHTER:
      22·   ·recognized one guy.· Outside of that, I don't know.    22·   · · · Q.· ·Who have you lost friendships with?
      23·   · ·BY MR. WACHTER:                                      23·   · · · A.· ·I played golf out there.· I had several
      24·   · · · Q.· ·Who was that?                                24·   ·friends, and I've lost friendships over it and I
      25·   · · · A.· ·Tom Graham.                                  25·   ·haven't contacted anybody to discuss it.

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      ·1·   · · · Q.· ·Have you spoken with him about the case?     ·1·   · · · Q.· ·Who were the people you played golf with
      ·2·   · · · A.· ·No.                                          ·2·   ·that you've lost friendships with?
      ·3·   · · · Q.· ·And your understanding is that he's not in   ·3·   · · · A.· ·You're asking me to give you a list of
      ·4·   ·favor of it?                                           ·4·   ·names?
      ·5·   · · · · · ·MR. NIDEL:· Objection to form.               ·5·   · · · Q.· ·Yes, sir.
      ·6·   · · · A.· ·I don't know.· At the time I'm assuming,     ·6·   · · · A.· ·How many would you like?
      ·7·   ·but I don't know.                                      ·7·   · · · Q.· ·As many as you can remember.· Give me what
      ·8·   · ·BY MR. WACHTER:                                      ·8·   ·you could remember.
      ·9·   · · · Q.· ·There was another town hall -- we're just    ·9·   · · · A.· ·Tom Graham I would consider a friend.
      10·   ·referring to these meetings as town hall meetings.     10·   · · · Q.· ·Anybody else?
      11·   ·There was another town hall meeting that was           11·   · · · A.· ·There's a gentleman named John Fargar.
      12·   ·organized by someone associated with your lawyers.     12·   · · · Q.· ·How do you spell his last name?
      13·   ·Do you recall that?                                    13·   · · · A.· ·F-A-R-G-A-R, I believe.
      14·   · · · A.· ·Yeah.                                        14·   · · · Q.· ·Anybody else?
      15·   · · · Q.· ·Did you go to that?                          15·   · · · A.· ·I could probably remember most of the guys
      16·   · · · A.· ·I did.                                       16·   ·that I used to play golf with or some of them
      17·   · · · Q.· ·And did you hear different opinions          17·   ·anyway, but...
      18·   ·expressed at that town hall meeting?                   18·   · · · Q.· ·Who are they?
      19·   · · · A.· ·Yeah.                                        19·   · · · A.· ·I'll call them golfing buddies.
      20·   · · · Q.· ·Which opinions did you hear?                 20·   · · · Q.· ·But I'm saying, what are their names?
      21·   · · · A.· ·Both in favor and against.                   21·   · · · A.· ·Jim Maskas, M-A-S-K-A-S, he's not a
      22·   · · · Q.· ·And these were opinions expressed by         22·   ·resident though.
      23·   ·residents?                                             23·   · · · Q.· ·Anybody else?
      24·   · · · A.· ·Yes.                                         24·   · · · A.· ·I'm drawing blanks on last names, but...
      25·   · · · Q.· ·And you believe that each resident last a    25·   · · · Q.· ·First names?


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      ·1·   · · · A.· ·Ron, who I believe passed away from          ·1·   ·property owners in these neighborhoods who are not
      ·2·   ·cancer.· That was loss of friendship.                  ·2·   ·in favor of the litigation; is that right?
      ·3·   · · · Q.· ·Any other first names?                       ·3·   · · · A.· ·I've heard that, yes.
      ·4·   · · · A.· ·Will.· Robbie Davis.· I don't think those    ·4·   · · · Q.· ·And do you know the reasons why?· Have
      ·5·   ·two guys are residents, though.· There was another     ·5·   ·they told you why they're not in favor of it?
      ·6·   ·guy named Bob that I don't remember his last name      ·6·   · · · A.· ·I don't know that.
      ·7·   ·either.· We had a group of 20, 25 guys that would      ·7·   · · · Q.· ·Are they concerned that you're -- have you
      ·8·   ·play occasionally.· One week 16 guys, next week ten    ·8·   ·heard an opinion that residents are concerned that
      ·9·   ·guys, next week 20, so -- and no longer friends with   ·9·   ·your litigation could have an adverse impact on
      10·   ·them, so I haven't discussed it.                       10·   ·their investment in their properties?
      11·   · · · Q.· ·So what was the predominant view from this   11·   · · · A.· ·Am I aware of that?
      12·   ·group?                                                 12·   · · · Q.· ·Yes.
      13·   · · · · · ·MR. NIDEL:· Objection to form and            13·   · · · A.· ·Has somebody said that to me, no.
      14·   · · · foundation.                                       14·   · · · Q.· ·Are you aware that there are residents out
      15·   · · · A.· ·Yeah, I -- I don't know.· I've never         15·   ·there who don't think that the radiation is a
      16·   ·talked to anybody about it, so...                      16·   ·problem?
      17·   · ·BY MR. WACHTER:                                      17·   · · · · · ·MR. NIDEL:· Objection to form and
      18·   · · · Q.· ·Well, when you said you lost friendship,     18·   · · · foundation.
      19·   ·was that because some of the folks you mentioned       19·   · · · A.· ·Based on what I've read, yes.
      20·   ·indicated that they were not in favor of this          20·   · ·BY MR. WACHTER:
      21·   ·litigation?                                            21·   · · · Q.· ·Are there any other reasons that you're
      22·   · · · A.· ·No.· No, I've lost friendships because       22·   ·aware of as to why there are some residents who are
      23·   ·number one, I moved away from Grasslands, and number   23·   ·not in favor of this litigation?
      24·   ·two, because this litigation started and just that I   24·   · · · A.· ·I can't speculate on that.· I really
      25·   ·was involved.· I think I've lost friendships because   25·   ·don't.

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      ·1·   ·of that.                                               ·1·   · · · Q.· ·Would you agree with me that there are a
      ·2·   · · · Q.· ·Just to clarify, of this golfing group,      ·2·   ·substantial number of residents who are not in favor
      ·3·   ·your golfing buddies, have some of them expressed an   ·3·   ·of this litigation?
      ·4·   ·opinion that they were not in favor of your            ·4·   · · · · · ·MR. NIDEL:· Objection to form and
      ·5·   ·involvement in this litigation?· Isn't that what you   ·5·   · · · foundation.
      ·6·   ·were talking about?                                    ·6·   · · · A.· ·Again, based on opinion, I think that
      ·7·   · · · A.· ·Yes.· And I'm aware of Tom Graham wasn't     ·7·   ·there's probably a number for, a number against.
      ·8·   ·in favor of it and -- but there was another Tom that   ·8·   ·How many that is, gosh, I don't know.· I really
      ·9·   ·lived two houses down from John Fargar who talked      ·9·   ·don't.
      10·   ·with me briefly at the town hall and didn't sound      10·   · ·BY MR. WACHTER:
      11·   ·like he was in favor -- in favor of it, but it also    11·   · · · Q.· ·Would you agree that it's each resident's
      12·   ·sounded like he understood.                            12·   ·personal right to make a decision as to whether they
      13·   · · · Q.· ·Well, would you agree this is an             13·   ·want to pursue this litigation or not?
      14·   ·individual choice for each homeowner and resident to   14·   · · · · · ·MR. NIDEL:· Objection to form and
      15·   ·make for themselves?                                   15·   · · · foundation.
      16·   · · · · · ·MR. NIDEL:· Object to form and foundation.   16·   · · · A.· ·It's a personal right how they feel about
      17·   · · · A.· ·Yeah, I don't know -- I don't know what      17·   ·it, yeah.
      18·   ·you're asking.                                         18·   · ·BY MR. WACHTER:
      19·   · ·BY MR. WACHTER:                                      19·   · · · Q.· ·And wouldn't it be up to each individual
      20·   · · · Q.· ·Well, the resident -- I'm sorry to           20·   ·resident as to whether they want to make a claim or
      21·   ·interrupt you.· Were you able to finish your           21·   ·not?
      22·   ·question -- your answer?                               22·   · · · · · ·MR. NIDEL:· Same objections.
      23·   · · · A.· ·Yeah, go ahead.                              23·   · · · A.· ·If you're asking me to speak for the
      24·   · · · Q.· ·Okay, thanks.                                24·   ·residents who aren't in favor, I don't know what
      25·   · · · · · ·You're aware that there are residents and    25·   ·their reasoning would be.· But do I think that they


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      ·1·   ·have the right to make their own decision?             ·1·   · · · to form and foundation.· Calls for an expert
      ·2·   ·Probably, yeah.                                        ·2·   · · · opinion.
      ·3·   · ·BY MR. WACHTER:                                      ·3·   · · · A.· ·Of who should be entitled to it?
      ·4·   · · · Q.· ·In terms of any health consequences -- I     ·4·   · ·BY MR. WACHTER:
      ·5·   ·think you mentioned somebody passed away from          ·5·   · · · Q.· ·Yes, sir.
      ·6·   ·cancer -- do you know of anybody who has been          ·6·   · · · A.· ·Anybody who was exposed.
      ·7·   ·diagnosed with cancer caused by radiation exposure     ·7·   · · · Q.· ·For what period of time?
      ·8·   ·or radon exposure from living at Grasslands or         ·8·   · · · · · ·MR. NIDEL:· Same objections.
      ·9·   ·Oakbridge?                                             ·9·   · · · A.· ·Yeah, actually, I'm going to object --
      10·   · · · · · ·MR. NIDEL:· Objection to form and            10·   ·object on that one for the same reason.· I have no
      11·   · · · foundation.                                       11·   ·way of knowing.
      12·   · · · A.· ·Just -- just what I heard, you know, kind    12·   · ·BY MR. WACHTER:
      13·   ·of secondhand, but I don't have any specific           13·   · · · Q.· ·Well, fortunately for you, you don't have
      14·   ·knowledge of any specific person.                      14·   ·to object.
      15·   · ·BY MR. WACHTER:                                      15·   · · · A.· ·Oh.
      16·   · · · Q.· ·So you moved out there originally in the     16·   · · · Q.· ·Your lawyer will do that for you.
      17·   ·year 2000; is that right?                              17·   · · · A.· ·Come on.
      18·   · · · A.· ·Correct.                                     18·   · · · Q.· ·But I'm saying, who is in that group?
      19·   · · · Q.· ·Okay.· In the 20 years since you             19·   ·Anybody who's been exposed, would that be one day,
      20·   ·originally moved out there, are you aware of anybody   20·   ·one month, one year, ten years, what?
      21·   ·who's contracted cancer from being exposed to any      21·   · · · · · ·MR. NIDEL:· Objection to form and
      22·   ·level of radiation or radon in Grasslands or           22·   · · · foundation.
      23·   ·Oakbridge?                                             23·   · · · A.· ·I have no way to determine that.
      24·   · · · · · ·MR. NIDEL:· Objection to form and            24·   · ·BY MR. WACHTER:
      25·   · · · foundation.                                       25·   · · · Q.· ·How would we find those people in order to

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      ·1·   · · · A.· ·Yeah, again, I'm not a physician, a          ·1·   ·tell them that they're entitled to medical
      ·2·   ·radiation expert.· I kind of leave that up to the      ·2·   ·monitoring?
      ·3·   ·attorneys and their experts.                           ·3·   · · · · · ·MR. NIDEL:· Objection to form and
      ·4·   · · · · · ·Am I aware of people who've contracted       ·4·   · · · foundation.
      ·5·   ·cancer?· I'm aware, yeah.· Can I attribute that to     ·5·   · · · A.· ·If they've lived out there, I think
      ·6·   ·living at Grasslands, I can't -- I can't say that      ·6·   ·they're entitled to it.· Does that mean if they
      ·7·   ·one way or the other.                                  ·7·   ·lived out there for a week, a year, ten years, I
      ·8·   · ·BY MR. WACHTER:                                      ·8·   ·can't say that.· But anybody who's lived out there
      ·9·   · · · Q.· ·In terms -- you had mentioned medical        ·9·   ·and been exposed I would think should be entitled to
      10·   ·monitoring --                                          10·   ·medical monitoring.
      11·   · · · A.· ·Yeah.                                        11·   · ·BY MR. WACHTER:
      12·   · · · Q.· ·-- a little while ago.· Can you -- do you    12·   · · · Q.· ·How could the Court put together a list of
      13·   ·have any way to figure out who would all be entitled   13·   ·people who would be entitled to medical monitoring?
      14·   ·to medical monitoring?                                 14·   · · · · · ·MR. NIDEL:· Objection to form and
      15·   · · · · · ·MR. NIDEL:· Objection to form and            15·   · · · objection to foundation.
      16·   · · · foundation.                                       16·   · ·BY MR. WACHTER:
      17·   · ·BY MR. WACHTER:                                      17·   · · · Q.· ·Can you think of any way to identify --
      18·   · · · Q.· ·Let me -- let me rephrase that.              18·   ·let me give you another example.
      19·   · · · · · ·Medical monitoring, do you understand that   19·   · · · A.· ·I'm sure there's a list of -- list of
      20·   ·they have something to do with exposure and            20·   ·residents and they can contact them.· In particular,
      21·   ·potential consequences and being tested, right?        21·   ·I don't know.
      22·   · · · A.· ·Right.                                       22·   · · · Q.· ·So, for example, your tenant --
      23·   · · · Q.· ·Who would be entitled to that medical        23·   · · · A.· ·Uh-huh.
      24·   ·monitoring that you're proposing in the lawsuit?       24·   · · · Q.· ·-- is she on a list somewhere?
      25·   · · · · · ·MR. NIDEL:· Objection to the -- objection    25·   · · · A.· ·On a list for potential medical


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      ·1·   ·monitoring?                                            ·1·   ·go about that step by step?· How would you determine
      ·2·   · · · Q.· ·On a list who could be identified as being   ·2·   ·people -- if they're not listed as owner, okay?· So
      ·3·   ·within this group entitled to medical monitoring.      ·3·   ·for the time being, you've got family members and
      ·4·   · · · · · ·MR. NIDEL:· Objection to foundation.         ·4·   ·tenants who are not the owners.
      ·5·   · · · A.· ·Yeah, I don't know.                          ·5·   · · · A.· ·Yep.
      ·6·   · ·BY MR. WACHTER:                                      ·6·   · · · Q.· ·And then how do you determine if the owner
      ·7·   · · · Q.· ·Other people's tenants --                    ·7·   ·occupied it or not?· So how do you go about finding
      ·8·   · · · A.· ·Yeah.                                        ·8·   ·those people as to whether they were there?
      ·9·   · · · Q.· ·-- if you own a property and you rent it     ·9·   · · · A.· ·Yeah.
      10·   ·to somebody --                                         10·   · · · · · ·MR. NIDEL:· Objection to form and
      11·   · · · A.· ·Are they on some list somewhere --           11·   · · · foundation.
      12·   · · · Q.· ·Right.                                       12·   · · · A.· ·There's probably multiple ways.· Driver's
      13·   · · · A.· ·-- as a -- it's a requirement, request to    13·   ·license, registrations for, you know, mail.· Just
      14·   ·send all tenant contact information to the             14·   ·there's probably a number of ways that you can
      15·   ·association.                                           15·   ·get...
      16·   · · · Q.· ·Well, aside from the association, are they   16·   · · · · · ·THE COURT REPORTER:· Can we go off?
      17·   ·on a list anywhere so that we could contact them?      17·   · · · · · ·MR. WACHTER:· I'm sorry.· Court reporter?
      18·   · · · · · ·MR. NIDEL:· Objection to form.               18·   · · · · · ·THE COURT REPORTER:· Can we go off the
      19·   · · · A.· ·Yeah, I don't know.                          19·   · · · record?
      20·   · ·BY MR. WACHTER:                                      20·   · · · · · ·MR. WACHTER:· Sure.· Go ahead.
      21·   · · · Q.· ·In terms of family members, you mentioned    21·   · · · · · ·THE VIDEOGRAPHER:· We are going off the
      22·   ·that your former wife's mother lived for a period of   22·   · · · record at 12:00 p.m.
      23·   ·time in one of the condos that you purchased,          23·   · · · · · ·(Recess taken.)
      24·   ·correct?                                               24·   · · · · · ·THE VIDEOGRAPHER:· We are back on the
      25·   · · · A.· ·Correct.                                     25·   · · · record at 12:00 p.m.· This concludes Media

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      ·1·   · · · Q.· ·Is she on a list somewhere as to having      ·1·   · · · Number 2 in the deposition of Mr. Feist.
      ·2·   ·lived there for what period of time?                   ·2·   · · · · · ·The time now is also 12:13 p.m.
      ·3·   · · · · · ·MR. NIDEL:· Objection to form and            ·3·   · · · · · ·(At this time, a luncheon recess was taken
      ·4·   · · · foundation.                                       ·4·   · · · from 12:00 p.m. to 12:52 p.m.)
      ·5·   · · · A.· ·Not that I'm aware of.· I imagine that       ·5·   · · · · · ·THE VIDEOGRAPHER:· We are back on the
      ·6·   ·wouldn't be too difficult to find, but...              ·6·   · · · video record at 12:52 p.m.· This begins Media
      ·7·   · ·BY MR. WACHTER:                                      ·7·   · · · Number 3 in the deposition.
      ·8·   · · · Q.· ·Why do you think it wouldn't be too          ·8·   · ·BY MR. WACHTER:
      ·9·   ·difficult to find?                                     ·9·   · · · Q.· ·Mr. Feist, could you please go back to
      10·   · · · A.· ·I'm a computer engineer and I could --       10·   ·Exhibit Number 6.· Do you have that handy?
      11·   ·these days you could find just about anything about    11·   · · · A.· ·Sure.
      12·   ·people via the Internet.· So could you find people     12·   · · · Q.· ·I believe Exhibit Number 6 is -- it
      13·   ·that have had that address -- one of the addresses     13·   ·references the condo purchase at 651 Grasslands
      14·   ·in Oakbridge or Grasslands at some point?· You         14·   ·Circle --
      15·   ·probably could find that out within a 5 percent        15·   · · · A.· ·Correct.
      16·   ·accuracy, I would imagine.                             16·   · · · Q.· ·-- in Muirfield Village?
      17·   · · · Q.· ·What do you mean by "5 percent accuracy"?    17·   · · · A.· ·Correct.
      18·   · · · A.· ·I'm just -- I don't have any details on --   18·   · · · Q.· ·Mr. Feist, the -- this deed that
      19·   ·on how accurate you could be, but I would imagine      19·   ·references your purchase in Muirfield Village has
      20·   ·that you could, you know, put together a pretty        20·   ·also got an Exhibit A attached to it.· Does your
      21·   ·decent list, fairly accurate list of past and/or --    21·   ·exhibit there have an Exhibit A attached to it, two
      22·   ·and/or present residents regardless of whether it      22·   ·pages there?
      23·   ·was a rental or -- yeah.                               23·   · · · A.· ·Uh-huh.
      24·   · · · Q.· ·And I appreciate that you're a computer      24·   · · · Q.· ·Is it a two-page exhibit?
      25·   ·programming and software engineer.· So how would you   25·   · · · A.· ·Yeah.


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      ·1·   · · · Q.· ·Okay.· So on Exhibit A, did you read any     ·1·   · · · Q.· ·And did you go and look at, for example,
      ·2·   ·of these materials, 1 through 12 on Exhibit A, when    ·2·   ·on number -- look at Number 3, declaration of
      ·3·   ·you were purchasing this location?                     ·3·   ·covenants and conditions and restrictions.· Did you
      ·4·   · · · A.· ·Do I remember this particular transaction?   ·4·   ·go look that up and see what was in there?
      ·5·   ·No.· But I make it a habit to read through things,     ·5·   · · · A.· ·Did I look -- did I do research on what
      ·6·   ·so I can assume, yes.                                  ·6·   ·that particular point was referencing?
      ·7·   · · · Q.· ·So for any of these purchases in             ·7·   · · · Q.· ·Yes, sir.
      ·8·   ·Grasslands, did you read the document -- you've read   ·8·   · · · A.· ·No, I didn't.
      ·9·   ·Exhibit A which is 1 through 12; is that right?        ·9·   · · · Q.· ·And did you do research on any of these
      10·   · · · A.· ·Yes.                                         10·   ·points that are referenced here?
      11·   · · · Q.· ·And did you read the documents that are      11·   · · · A.· ·No, I don't think I did.
      12·   ·mentioned in Exhibit A?                                12·   · · · Q.· ·And would that be the same for these other
      13·   · · · · · ·MR. NIDEL:· Objection to form and            13·   ·purchases in Grasslands that you had?
      14·   · · · foundation.                                       14·   · · · A.· ·Yeah.· I wouldn't have seen a reason to go
      15·   · · · A.· ·Did I read the document and did I read the   15·   ·do additional research based on this document or
      16·   ·things on the document?                                16·   ·similar documents for other purchases.
      17·   · ·BY MR. WACHTER:                                      17·   · · · Q.· ·What are your claims in this case?
      18·   · · · Q.· ·Yeah.                                        18·   · · · · · ·MR. NIDEL:· Objection to form and
      19·   · · · · · ·MR. NIDEL:· Same objection.                  19·   · · · foundation.
      20·   · · · A.· ·Yeah, I would think that's a fair            20·   · ·BY MR. WACHTER:
      21·   ·assessment.                                            21·   · · · Q.· ·You may answer.
      22·   · ·BY MR. WACHTER:                                      22·   · · · · · ·MR. NIDEL:· Same objections.
      23·   · · · Q.· ·Well, do you recall -- for this particular   23·   · ·BY MR. WACHTER:
      24·   ·transaction Muirfield Village, do you have a           24·   · · · Q.· ·Do you know your claims?
      25·   ·specific recollection whether you read each and        25·   · · · A.· ·They're in the -- the document.

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      ·1·   ·every one of these documents listed on Exhibit A?      ·1·   · · · Q.· ·What document?
      ·2·   · · · A.· ·I don't.                                     ·2·   · · · A.· ·The case document.· I don't know if you've
      ·3·   · · · Q.· ·Do you have a recollection of any of the     ·3·   ·read it, but I can read it.
      ·4·   ·documents on Exhibit A?                                ·4·   · · · Q.· ·No, I'd rather you not read it.· I'd
      ·5·   · · · A.· ·I don't.                                     ·5·   ·rather you just tell me without -- do you have it
      ·6·   · · · Q.· ·Were these documents that are listed on      ·6·   ·there in front of you?
      ·7·   ·Exhibit A, were they at the closing table or           ·7·   · · · A.· ·I believe I do.
      ·8·   ·provided to you prior to closing?                      ·8·   · · · Q.· ·Well, can you put it aside, please?· I'd
      ·9·   · · · · · ·MR. NIDEL:· Objection to form and            ·9·   ·like your recollection without referencing the
      10·   · · · foundation.                                       10·   ·document.
      11·   · · · A.· ·This was 15 years ago, so I -- I don't       11·   · · · · · ·MR. NIDEL:· Objection to form and
      12·   ·recall.                                                12·   · · · foundation and --
      13·   · ·BY MR. WACHTER:                                      13·   · ·BY MR. WACHTER:
      14·   · · · Q.· ·Is that -- would your answer be the same     14·   · · · Q.· ·Without reading --
      15·   ·for the prior purchases that we talked about?          15·   · · · · · ·MR. NIDEL:· -- potentially calls for
      16·   · · · A.· ·Yeah, my answer's the same, that I make it   16·   · · · attorney-client privileged information.
      17·   ·a practice to read things probably more than most,     17·   · ·BY MR. WACHTER:
      18·   ·but did I read every particular one on this            18·   · · · Q.· ·Without reading the complaint, please tell
      19·   ·particular document, I can't say yes or no. I          19·   ·me what your claims are in this case.
      20·   ·really don't know.· It's a safe assumption that I      20·   · · · · · ·MR. NIDEL:· And objection to form and
      21·   ·did.                                                   21·   · · · foundation, and I'm going to object to the
      22·   · · · Q.· ·You're saying it's a safe assumption that    22·   · · · extent that it calls for attorney-client
      23·   ·you read Exhibit A, 1 through 12, the items listed     23·   · · · information.
      24·   ·on Exhibit A, right?                                   24·   · · · · · ·MR. WACHTER:· Counsel, you're entitled to
      25·   · · · A.· ·Correct.                                     25·   · · · instruct your witness not to answer, but if you


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      ·1·   · · · don't instruct him not to answer, I'm going to    ·1·   · · · A.· ·I'm not an engineer.· I don't know.
      ·2·   · · · ask for the question, but that's going to be up   ·2·   · ·BY MR. WACHTER:
      ·3·   · · · to you.                                           ·3·   · · · Q.· ·Well, I -- you don't even know if there's
      ·4·   · · · · · ·MR. NIDEL:· I'm going to make the same       ·4·   ·elevated levels, right, because nobody told you; is
      ·5·   · · · objections and I'm going to instruct the          ·5·   ·that right?
      ·6·   · · · witness not to answer to the extent he's          ·6·   · · · · · ·MR. NIDEL:· Objection to form and
      ·7·   · · · relying on conversations with his attorneys       ·7·   · · · misstates the witness' testimony.
      ·8·   · · · about how to interpret legal claims made in a     ·8·   · · · A.· ·Nobody --
      ·9·   · · · complaint that he just referenced.                ·9·   · ·BY MR. WACHTER:
      10·   · ·BY MR. WACHTER:                                      10·   · · · Q.· ·Wouldn't you demand -- wouldn't you demand
      11·   · · · Q.· ·So Mr. Feist, we're not asking for           11·   ·from your lawyers that they test this property and
      12·   ·communications you had with your counsel.· Tell us     12·   ·give you those results?
      13·   ·in your own words what your claims are in this case.   13·   · · · A.· ·Not -- what I said was I didn't -- I don't
      14·   · · · · · ·MR. NIDEL:· Same objections.                 14·   ·know every exact address.· I know that they tested.
      15·   · ·BY MR. WACHTER:                                      15·   ·I know the levels were high.· But do I know every
      16·   · · · Q.· ·You may answer unless your lawyer tells      16·   ·address?· No.
      17·   ·you not to answer.                                     17·   · · · Q.· ·You don't know 651, do you?
      18·   · · · · · ·MR. NIDEL:· Same objections with the         18·   · · · A.· ·I don't.
      19·   · · · instruction to the witness not to answer to the   19·   · · · Q.· ·Now, let's take a look at this picture
      20·   · · · extent that he's relying on discussions with      20·   ·that's on the monitor, if we can get it on the
      21·   · · · his attorneys about the claims in this case.      21·   ·monitor.· I want to make sure we're looking at the
      22·   · ·BY MR. WACHTER:                                      22·   ·same exhibit.
      23·   · · · Q.· ·So can you answer the question without       23·   · · · · · ·MR. WACHTER:· Can we have that, folks?
      24·   ·relying on communications with your counsel?           24·   · ·BY MR. WACHTER:
      25·   · · · A.· ·Can I answer the question without            25·   · · · Q.· ·Do you see this here, 651, the outdoor?

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      ·1·   ·referencing communication with my counsel or...        ·1·   · · · A.· ·I can, yeah.
      ·2·   · · · Q.· ·Right.                                       ·2·   · · · Q.· ·Okay.· I just want to make sure this is
      ·3·   · · · A.· ·There's elevated levels of radiation at      ·3·   ·the pictures of your condo.
      ·4·   ·Grasslands and Oakbridge.· Those elevated levels       ·4·   · · · · · ·So there's a -- your condo is a
      ·5·   ·have a risk that comes with that, a risk that can      ·5·   ·second-story condo, right?
      ·6·   ·cause health issues.· So for me, that's what this is   ·6·   · · · A.· ·Correct.
      ·7·   ·about.· It's if there's elevated levels of             ·7·   · · · Q.· ·So what would be needed to clean up or
      ·8·   ·radiation, it should be cleaned up, because every      ·8·   ·remediate any levels that you're not even aware of
      ·9·   ·person that has lived in there and every person that   ·9·   ·on your second-story condo?
      10·   ·will live in there in the future until it's cleaned    10·   · · · · · ·MR. NIDEL:· Objection to form and
      11·   ·up is exposed to that same risk.                       11·   · · · foundation.
      12·   · · · · · ·So if you're asking me what are the exact    12·   · · · A.· ·You're asking me to give you instructions
      13·   ·words in this document, I can't tell you.· I leave     13·   ·on how to clean up radiation on a second-floor
      14·   ·that up to the attorney.· But the bottom line is,      14·   ·condo?
      15·   ·there's an issue with elevated levels of radiation     15·   · ·BY MR. WACHTER:
      16·   ·whether you want to accept it or not.· So I prefer     16·   · · · Q.· ·I'm asking you, what's wrong with the
      17·   ·to accept it and try to do something about it.         17·   ·second-floor condo and how would you anticipate it
      18·   · · · · · ·I don't know if that answered your           18·   ·could be remediated?
      19·   ·question, but that's how I -- that's how I feel        19·   · · · · · ·MR. NIDEL:· Objection to form and
      20·   ·about it.                                              20·   · · · foundation.· I think you're misunderstanding
      21·   · · · Q.· ·So Mr. Feist, then what -- what would be     21·   · · · this deposition.· This is the plaintiff
      22·   ·needed to clean up any elevated levels of radiation    22·   · · · deposition, not an expert deposition.
      23·   ·on your property here at 651 Grasslands Circle?        23·   · · · · · ·MR. WACHTER:· Counsel, I think you're
      24·   · · · · · ·MR. NIDEL:· Objection to form and            24·   · · · instructing the witness and suggesting answers.
      25·   · · · foundation.                                       25·   · · · We're going to object to your --


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      ·1·   · · · · · ·THE WITNESS:· He's not.                      ·1·   · · · · · ·MR. NIDEL:· Objection to form and
      ·2·   · · · · · ·MR. WACHTER:· -- suggesting answers there.   ·2·   · · · foundation.
      ·3·   · · · · · ·MR. NIDEL:· Okay.· Well, if you're going     ·3·   · ·BY MR. WACHTER:
      ·4·   · · · to waste his time and my time with asking him     ·4·   · · · Q.· ·You can answer.
      ·5·   · · · for expert opinions repeatedly, as you've done    ·5·   · · · A.· ·If you're asking for my opinion or you're
      ·6·   · · · most of the day, we're going to -- we're going    ·6·   ·asking for expert instructions?· If you're --
      ·7·   · · · to leave so that you can conduct an expert        ·7·   · · · Q.· ·In your own --
      ·8·   · · · deposition with an expert.                        ·8·   · · · A.· ·-- asking for my opinion, my guess --
      ·9·   · · · · · ·MR. WACHTER:· Do you want to take a break    ·9·   · · · Q.· ·In your own words, yes, sir.
      10·   · · · and call the magistrate right now?· Because       10·   · · · · · ·MR. NIDEL:· Objection to form and
      11·   · · · you're -- you're suggesting answers to the        11·   · · · foundation.· I'm going to instruct the witness
      12·   · · · witness because that's exactly --                 12·   · · · not to guess.
      13·   · · · · · ·MR. NIDEL:· No, I'm suggesting you don't     13·   · · · · · ·MR. WACHTER:· Counsel, again, you're
      14·   · · · waste our time with questions that are meant      14·   · · · suggesting answers to your witness and it's not
      15·   · · · for an expert.· That's what I'm asking.           15·   · · · appropriate to instruct the witness on anything
      16·   · ·BY MR. WACHTER:                                      16·   · · · here in the Middle District of Florida, other
      17·   · · · Q.· ·Mr. Feist, in your own words -- I want       17·   · · · than the attorney-client privilege.· And I
      18·   ·your testimony in your own words and not your          18·   · · · thought you were aware of that.· If you're not
      19·   ·counsel's testimony.                                   19·   · · · aware of that, let's make sure you're aware of
      20·   · · · · · ·Mr. Feist, in your own words, how could      20·   · · · that, because instructing the witness is not
      21·   ·your residence here at 651 Grasslands Circle be        21·   · · · appropriate, suggesting answers to the witness
      22·   ·remediated or fixed with regard to the radiation you   22·   · · · is not appropriate through objection or
      23·   ·perceive may occur there?                              23·   · · · directly, and that's what you're doing,
      24·   · · · · · ·MR. NIDEL:· Objection to form and            24·   · · · Counsel.
      25·   · · · foundation.                                       25·   · · · · · ·MR. NIDEL:· And, Counsel, you've ignored

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      ·1·   · · · A.· ·To me, it's not about how the second-floor   ·1·   · · · the fact that he asked if you -- "Are you
      ·2·   ·condo would be remediated.· The issue is, you know,    ·2·   · · · asking for my guess?"· And it's also
      ·3·   ·there's a number of spots throughout the entire        ·3·   · · · inappropriate here in the Middle District of
      ·4·   ·development that have higher than normal levels of     ·4·   · · · Florida to solicit guesses from witnesses.· So
      ·5·   ·radiation.                                             ·5·   · · · let's not solicit guesses from the witness.
      ·6·   · · · · · ·So do I think that this piece of grass       ·6·   · · · · · ·MR. WACHTER:· You're instructing him not
      ·7·   ·outside of the condo could have a high level of        ·7·   · · · to answer that question?
      ·8·   ·radiation?· Absolutely.· Do I think that needs to be   ·8·   · · · · · ·MR. NIDEL:· I'm instructing him not to
      ·9·   ·cleaned up?· Absolutely.· Do I think there has to be   ·9·   · · · guess.
      10·   ·something done on the inside of the second-floor       10·   · · · · · ·MR. WACHTER:· You're instructing him --
      11·   ·condo?· Gosh, I don't know.· I'm not a -- an expert.   11·   · · · you're instructing him in terms of the way --
      12·   · ·BY MR. WACHTER:                                      12·   · · · · · ·MR. NIDEL:· I'm instructing him not to
      13·   · · · Q.· ·Well, let's talk about the grass in front    13·   · · · guess.
      14·   ·of -- I'm sorry, did you finish?· I didn't want to     14·   · · · · · ·MR. WACHTER:· Let me finish, Counsel.
      15·   ·interrupt you.                                         15·   · · · Just want to be clear.· You're instructing the
      16·   · · · A.· ·No, no, go ahead.                            16·   · · · witness not to give his opinion and you're
      17·   · · · Q.· ·Let's talk about this grass out here.        17·   · · · instructing the witness on -- and telling him
      18·   ·What would you do with this grass out here to          18·   · · · how he should answer that question.
      19·   ·remediate it?                                          19·   · · · · · ·MR. NIDEL:· I'm objecting to form and
      20·   · · · · · ·MR. NIDEL:· Objection to form and            20·   · · · foundation.
      21·   · · · foundation.                                       21·   · ·BY MR. WACHTER:
      22·   · ·BY MR. WACHTER:                                      22·   · · · Q.· ·So Mr. Feist, in your own words, how would
      23·   · · · Q.· ·If you think there's an elevated level of    23·   ·you fix any elevated levels of radiation in the
      24·   ·radiation out here, what would be needed to solve      24·   ·grass in front of 651?
      25·   ·that problem?                                          25·   · · · A.· ·I would call --


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      ·1·   · · · · · ·MR. NIDEL:· Objection to form and            ·1·   ·working on the pond.· Which address was that?
      ·2·   · · · foundation.                                       ·2·   · · · A.· ·Correct.· What was that?· What was the
      ·3·   · · · A.· ·I would call somebody who is more            ·3·   ·last part?
      ·4·   ·qualified than me to give me an assessment of how to   ·4·   · · · Q.· ·Which address.
      ·5·   ·clean that up because I'm not an expert.· I wouldn't   ·5·   · · · A.· ·3 -- I'm sorry, 3141 Winged Foot.
      ·6·   ·know.                                                  ·6·   · · · Q.· ·Has a pond?
      ·7·   · ·BY MR. WACHTER:                                      ·7·   · · · A.· ·Yes.
      ·8·   · · · Q.· ·What about the tree there?· Would the tree   ·8·   · · · Q.· ·So -- and the driveway is at 3039?
      ·9·   ·stay or go if you remediated?· Could you remediate     ·9·   · · · A.· ·That's correct.
      10·   ·this area without losing that tree?                    10·   · · · Q.· ·When you dug into the soil and you said
      11·   · · · · · ·MR. NIDEL:· Objection to form and            11·   ·there was clay substance, did you know what it was
      12·   · · · foundation.                                       12·   ·at the time?
      13·   · · · A.· ·If the level of radiation is elevated at     13·   · · · A.· ·No.
      14·   ·that tree, I would think that would be a good idea.    14·   · · · Q.· ·Did the contractor at either location tell
      15·   · ·BY MR. WACHTER:                                      15·   ·you what it was?
      16·   · · · Q.· ·Where else --                                16·   · · · A.· ·No.
      17·   · · · A.· ·Replace it with a tree that wouldn't have    17·   · · · Q.· ·Did you have any idea of what it was?
      18·   ·the same level of radiation.                           18·   · · · A.· ·No.· Just looked like wet clay to me, gray
      19·   · · · Q.· ·Thanks.· I didn't want to cut you off.· If   19·   ·wet clay.
      20·   ·you have any further answer, please go ahead.          20·   · · · Q.· ·And --
      21·   · · · A.· ·No, I think that's it.                       21·   · · · A.· ·Incidentally, my daughter was also out
      22·   · · · Q.· ·Where else in the neighborhood have you      22·   ·there helping me dig the pond and help at -- both at
      23·   ·been where you think that some type of remediation     23·   ·3141 and 3039.· She was very young, but part of the
      24·   ·may be needed?                                         24·   ·bonding process and so she was also in that stuff.
      25·   · · · · · ·MR. NIDEL:· Objection to form and            25·   ·So part of the --

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      ·1·   · · · foundation.                                       ·1·   · · · Q.· ·Go ahead.
      ·2·   · · · · · ·THE WITNESS:· No, I'll answer this one.      ·2·   · · · A.· ·I was just going to say that's part of the
      ·3·   · · · A.· ·I've done enough research at least to        ·3·   ·reason that I got involved in it.
      ·4·   ·understand what the kind of byproduct of phosphate     ·4·   · · · Q.· ·How long did that take in terms of your
      ·5·   ·mining is, and at both 3141 Winged Foot and at         ·5·   ·working in the pond with your daughter?
      ·6·   ·3039 Grasslands, I experienced that by working in      ·6·   · · · A.· ·How long did I work on that?
      ·7·   ·the yard, by planting trees, digging the pond out.     ·7·   · · · Q.· ·Yeah.· One day, a week, a month?· How
      ·8·   ·There is -- call it slurry or sludge.· There's the     ·8·   ·long?
      ·9·   ·byproduct of phosphate out there.· It's a gooey,       ·9·   · · · A.· ·The initial -- initial process was, I
      10·   ·clay, gray substance.                                  10·   ·think, a couple of weeks.· And then after that, it
      11·   · · · · · ·And I didn't have to dig down 3 feet to      11·   ·was, you know, additional work, but it wasn't
      12·   ·get to it.· I barely broke the surface and that        12·   ·additional digging.· So, you know, total time, maybe
      13·   ·goo's all over my foot, all over my legs, all over     13·   ·two months.
      14·   ·my hands.· We had a driveway put in at 3039 and the    14·   · · · Q.· ·But how much time did you and your
      15·   ·contractor who put in the bricks said that this        15·   ·daughter spend excavating around the pond?
      16·   ·ground, it's too soft clay, too gooey to hold the      16·   · · · A.· ·A number of hours.· I can't tell you with
      17·   ·bricks in place.· I experienced the same thing when    17·   ·much accuracy.
      18·   ·I was out there working on the house.                  18·   · · · Q.· ·A day, two days?
      19·   · · · · · ·So this material is out there.· I know       19·   · · · A.· ·Over a two-week period for the initial,
      20·   ·that it was in 3141 Winged Foot and I know it was at   20·   ·yeah, a couple days of kind of work time.
      21·   ·3039.· Where else it's at in Grasslands or             21·   · · · Q.· ·So in terms of that pond area that you and
      22·   ·Oakbridge, I can't tell you, but that byproduct        22·   ·your daughter worked on --
      23·   ·material's out there.                                  23·   · · · A.· ·Yeah.
      24·   · ·BY MR. WACHTER:                                      24·   · · · Q.· ·-- can you go back and look at Exhibit
      25·   · · · Q.· ·You mentioned digging out the pond or        25·   ·Number 1 and just tell us just kind of generally,


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      ·1·   ·where is that located?· And I see the house, I see     ·1·   ·at the time.· Do I think it's a good idea now?
      ·2·   ·the pool cage, the pool and the area surrounding the   ·2·   ·Probably.
      ·3·   ·pool --                                                ·3·   · · · Q.· ·Why didn't you feel the need to do that or
      ·4·   · · · A.· ·Yeah.                                        ·4·   ·have that done before today?
      ·5·   · · · Q.· ·-- and there are some other pictures here.   ·5·   · · · A.· ·Because that's just one -- one instance of
      ·6·   ·But where is the...                                    ·6·   ·time that I spent outside digging in the yard and
      ·7·   · · · A.· ·Let me see if there's a better               ·7·   ·just sort of one of the projects as well as, you
      ·8·   ·representation.                                        ·8·   ·know, all the time I spent outside at the golf
      ·9·   · · · · · ·Well, there's not a great picture, but if    ·9·   ·course and -- so that's just one instance.· So if I
      10·   ·you look at -- one, two, three -- fourth page and      10·   ·thought to test all the spots that I had spent
      11·   ·you look at the fourth picture, so second row,         11·   ·extended amount of time, I would have run out of
      12·   ·second picture down, it's standing on the patio        12·   ·time I'm sure.
      13·   ·looking out towards the pool.· To the left of where    13·   · · · Q.· ·So for your counsel, I don't want you to
      14·   ·the patio and pool area would end is where the pond    14·   ·get into any conversations with your counsel, but
      15·   ·was built.                                             15·   ·did you give your counsel addresses where you've
      16·   · · · Q.· ·What size pond is this?· Since these         16·   ·asked them to go and test or have an expert go and
      17·   ·pictures aren't that good, we'll get some better       17·   ·test?
      18·   ·pictures.· But are you talking like a small pond or    18·   · · · A.· ·I didn't ask them to test my locations
      19·   ·a large pond?                                          19·   ·specifically, no.
      20·   · · · A.· ·It's fairly large.· It was probably          20·   · · · Q.· ·And did you ask them whether those
      21·   ·25 feet by 12 feet maybe.                              21·   ·locations had been tested?
      22·   · · · Q.· ·And what exactly did you all do out there?   22·   · · · · · ·MR. NIDEL:· Okay.· I don't know -- I don't
      23·   ·Did you excavate around it?                            23·   · · · understand the question.· You're asking him --
      24·   · · · A.· ·Excavate around it?                          24·   · · · you said you didn't want to get into
      25·   · · · Q.· ·Well, what did you do?                       25·   · · · conversations, but you're asking him if he

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      ·1·   · · · A.· ·I helped with the digging and I helped       ·1·   · · · asked us.· So that is directly implicating
      ·2·   ·with laying the liner and building a little water --   ·2·   · · · attorney-client communications.· So yes, I will
      ·3·   ·waterfall, and so assist -- assisted in the            ·3·   · · · now instruct the witness not to answer.
      ·4·   ·construction, so...                                    ·4·   · · · · · ·And by the way, in the Middle District,
      ·5·   · · · Q.· ·So this was a pond that you built from       ·5·   · · · it's inappropriate to ask for attorney-client
      ·6·   ·scratch?                                               ·6·   · · · communications.
      ·7·   · · · A.· ·I had another guy help me and he was more    ·7·   · ·BY MR. WACHTER:
      ·8·   ·of a pond expert, but I did some of the labor, yes.    ·8·   · · · Q.· ·So Mr. Feist, as you sit here today, do
      ·9·   · · · Q.· ·But just in -- you're not talking about an   ·9·   ·you have any knowledge as to these areas where you
      10·   ·existing pond.· It's something that you -- you took    10·   ·were digging and encountered material?· As you sit
      11·   ·the backyard area, turned a portion of it into a       11·   ·here today, do you have any facts to indicate that
      12·   ·pond?                                                  12·   ·that material was elevated with radiation?
      13·   · · · A.· ·That's correct.· When we bought the house,   13·   · · · · · ·MR. NIDEL:· Objection to foundation.
      14·   ·there was no landscaping or features or anything.      14·   · · · A.· ·Did I have that area tested?· No.
      15·   · · · Q.· ·So given your concerns about that, have      15·   · ·BY MR. WACHTER:
      16·   ·you had that pond area tested by a qualified expert    16·   · · · Q.· ·And as you sit here today, do you know
      17·   ·to determine whether the material you encountered      17·   ·whether those areas are elevated in radiation?
      18·   ·has elevated radiation or not?                         18·   · · · · · ·MR. NIDEL:· Objection to form and
      19·   · · · A.· ·No.                                          19·   · · · foundation.
      20·   · · · Q.· ·Is there any reason why you didn't?          20·   · · · A.· ·If you're asking if I was a hundred
      21·   · · · A.· ·Just the fact that I relied on the experts   21·   ·percent sure, I would say that I was probably
      22·   ·hired by the attorney to do general testing out        22·   ·90 percent sure.
      23·   ·there to test the level of radiation.· But did I       23·   · ·BY MR. WACHTER:
      24·   ·feel a need to test the pond outside of a house that   24·   · · · Q.· ·What's that 90 percent based on?
      25·   ·I owned before?· I didn't feel the need to do that     25·   · · · A.· ·Given my level of knowledge of the


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      ·1·   ·byproduct of phosphate mining, I'm pretty confident    ·1·   · · · A.· ·From when we moved in, so 2000 to probably
      ·2·   ·that's what it was.· Am I a hundred percent sure       ·2·   ·2007.
      ·3·   ·that it was -- had elevated levels of radiation?       ·3·   · · · Q.· ·Were you a member of a country club out
      ·4·   ·No, I don't know.· I didn't test that specially. I     ·4·   ·there?
      ·5·   ·had a pretty good idea that was some sludge or slag    ·5·   · · · A.· ·I was, yeah.
      ·6·   ·or whatever you call it.                               ·6·   · · · Q.· ·And I guess when you play, did you use sun
      ·7·   · · · Q.· ·You said you did some research on this.      ·7·   ·protection, sunscreen, hats, that type of thing?
      ·8·   ·When did you do your research?                         ·8·   · · · A.· ·I did.· I also preferred to walk that,
      ·9·   · · · · · ·MR. NIDEL:· Objection to form.               ·9·   ·so...
      10·   · · · A.· ·I can't give you specifics, but over the     10·   · · · Q.· ·How long would it take you -- how many
      11·   ·past three years I've tried to educate myself on the   11·   ·holes would you play?
      12·   ·process of phosphate mining and at least basics        12·   · · · A.· ·Usually 18.
      13·   ·of -- basics of the byproduct of it.                   13·   · · · Q.· ·And how long would that take on average?
      14·   · ·BY MR. WACHTER:                                      14·   · · · A.· ·Three and a half, four hours.
      15·   · · · Q.· ·Is it your understanding that the -- all     15·   · · · Q.· ·So in addition to playing golf and walking
      16·   ·of the byproduct is elevated or some of the            16·   ·the course, I think you said you would also play
      17·   ·byproduct is elevated or it's elevated to different    17·   ·tennis out on the clay courts primarily?
      18·   ·degrees?                                               18·   · · · A.· ·Correct.
      19·   · · · A.· ·That, I don't know.                          19·   · · · Q.· ·And how often would you play tennis?
      20·   · · · Q.· ·Well, would you agree the way to find out    20·   · · · A.· ·I didn't play tennis nearly as often.· So
      21·   ·the degree to which it might be containing radiation   21·   ·when I was playing regularly, probably once a week.
      22·   ·would be to have it tested?                            22·   ·When not so regularly, maybe once a month.
      23·   · · · · · ·MR. NIDEL:· Objection to form and            23·   · · · Q.· ·So in addition to being outdoors, I think
      24·   · · · foundation.                                       24·   ·you mentioned landscaping, planting trees, you
      25·   · · · A.· ·If you're referring to those specific        25·   ·talked about the pond, the driveway, golf and

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      ·1·   ·areas, sure, yeah.                                     ·1·   ·tennis.
      ·2·   · ·BY MR. WACHTER:                                      ·2·   · · · A.· ·Uh-huh.
      ·3·   · · · Q.· ·In addition to those areas throughout        ·3·   · · · Q.· ·While you were living at Grasslands, did
      ·4·   ·Grasslands and Oakbridge, would you agree that the     ·4·   ·you have other regular activities that took you
      ·5·   ·best way to determine if certain areas had the clay    ·5·   ·outdoors?
      ·6·   ·or byproduct or elevated radiation would be to test    ·6·   · · · A.· ·Yeah.
      ·7·   ·those areas to find out which ones had it and which    ·7·   · · · Q.· ·What was that?
      ·8·   ·ones didn't?                                           ·8·   · · · A.· ·Spending time with my daughter, swimming
      ·9·   · · · A.· ·Yes.                                         ·9·   ·at the swimming pool.
      10·   · · · · · ·MR. NIDEL:· Objection to form and            10·   · · · Q.· ·Any other activities on a regular basis?
      11·   · · · foundation.                                       11·   · · · A.· ·Riding bikes.· I mean, just -- I don't
      12·   · ·BY MR. WACHTER:                                      12·   ·know what kind of specifics outside those you're
      13·   · · · Q.· ·What was your answer?· I'm sorry.            13·   ·looking for, but kind of general outdoor activities.
      14·   · · · A.· ·I said yes.                                  14·   · · · Q.· ·So behind your condo at 651, there's a
      15·   · · · Q.· ·Now, at times you mentioned golfing.· How    15·   ·pond area there.· Did you do any work back there?
      16·   ·often did you play at the Grasslands course?           16·   · · · A.· ·Work?· No.· Have I been back there?· Yeah.
      17·   · · · A.· ·You're looking for how many times a week,    17·   · · · Q.· ·Sorry?
      18·   ·month?                                                 18·   · · · A.· ·I said have I been back there?· Yes.· Have
      19·   · · · Q.· ·Sure, any type of average.                   19·   ·I done work back there?· No.
      20·   · · · · · ·MR. NIDEL:· Objection to form.               20·   · · · Q.· ·Well, how often did you go back there?
      21·   · · · A.· ·I'd say on average, I probably practiced     21·   · · · · · ·MR. NIDEL:· Objection to form.
      22·   ·once or twice a week and I actually played on          22·   · · · A.· ·I probably have been back there half a
      23·   ·average maybe one and a half times a week.             23·   ·dozen times, maybe ten times.· I live on -- lived on
      24·   · ·BY MR. WACHTER:                                      24·   ·the second floor, so...
      25·   · · · Q.· ·And what period did you play?                25


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      ·1·   · ·BY MR. WACHTER:                                      ·1·   · · · A.· ·He did.
      ·2·   · · · Q.· ·You mentioned landscaping and working        ·2·   · · · Q.· ·What were the --
      ·3·   ·outside.· Did you ever use fertilizer in your yard     ·3·   · · · A.· ·Not on record.· He didn't certify
      ·4·   ·at Winged Foot or Grasslands Drive?                    ·4·   ·anything, but I was standing there with him.
      ·5·   · · · A.· ·Not that I recall.                           ·5·   · · · Q.· ·Did he tell you what the levels were?
      ·6·   · · · Q.· ·You mentioned your daughter's in college.    ·6·   · · · A.· ·Yes.
      ·7·   ·Where is she in college?                               ·7·   · · · Q.· ·What did he tell you?
      ·8·   · · · A.· ·UCF.                                         ·8·   · · · A.· ·In one spot that had quite a bit of dirt
      ·9·   · · · Q.· ·And is she -- with the current situation,    ·9·   ·piled up was 14, and another spot was 50.· It
      10·   ·is she attending or is she at home taking it           10·   ·happens to be a former phosphate mine.
      11·   ·virtually?                                             11·   · · · Q.· ·So your lot in Christina, does it have
      12·   · · · A.· ·She's on campus taking it virtually.         12·   ·elevated levels of radiation?
      13·   · · · Q.· ·The other question you talked about before   13·   · · · A.· ·Yep.
      14·   ·lunch was other residents, and the follow-up           14·   · · · Q.· ·Have you done anything to remediate that
      15·   ·question I've got for you is:· Was there any effort    15·   ·or to take care of that?
      16·   ·on your part to reach out to other residents to see    16·   · · · A.· ·Not yet.· Planning on building a house on
      17·   ·whether they were in favor of or concerned about the   17·   ·it.· That's not going to work out so well.
      18·   ·issues that you raised in the lawsuit?                 18·   · · · Q.· ·Before you purchased that lot in
      19·   · · · A.· ·I have not contacted any other residents,    19·   ·Christina, were you aware that that was formerly
      20·   ·no.                                                    20·   ·mined for phosphate?
      21·   · · · Q.· ·Is there any reason why you haven't?         21·   · · · A.· ·No.
      22·   · · · A.· ·I didn't know if that was appropriate or     22·   · · · Q.· ·When you lived in Oakbridge, were there
      23·   ·not.                                                   23·   ·areas of Oakbridge that you visited for recreation
      24·   · · · Q.· ·I think you also said before lunch that      24·   ·or walking around or doing other activities?
      25·   ·one of the experts or potential people that you met    25·   · · · A.· ·In the yard at the house we were staying,

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      ·1·   ·was an older gentleman, and I can't remember whether   ·1·   ·but -- and we would go jogging or riding bikes and
      ·2·   ·you told us what was it that you discussed with him.   ·2·   ·we also spent some time out by the lake and little
      ·3·   ·Is this an expert or an engineer or somebody?          ·3·   ·waterfall area.
      ·4·   · · · A.· ·Yes, as far as I know, he was a radiation    ·4·   · · · Q.· ·Do you know an area in Oakbridge called
      ·5·   ·engineering expert.· Do I know specifically what his   ·5·   ·Mission Lakes?
      ·6·   ·title was?· I don't know.                              ·6·   · · · A.· ·Yes.
      ·7·   · · · Q.· ·Was he local or someplace out of town?       ·7·   · · · Q.· ·Did you ever go up there?
      ·8·   · · · A.· ·He was someplace out of town.                ·8·   · · · A.· ·No.
      ·9·   · · · Q.· ·How long did you meet with him?              ·9·   · · · Q.· ·What is the Mission Lakes area, to your
      10·   · · · A.· ·How long did I meet with him?                10·   ·knowledge?
      11·   · · · Q.· ·Yeah.                                        11·   · · · A.· ·They're -- I don't know if you call them
      12·   · · · A.· ·Thirty minutes, maybe; 15 minutes.· It       12·   ·condos or zero lot line properties, but they're
      13·   ·wasn't very long.                                      13·   ·basically two units together and set up as a condo.
      14·   · · · Q.· ·Where was the location of that meeting?      14·   · · · Q.· ·And then near there there's an open field?
      15·   · · · A.· ·The Christina lot.                           15·   · · · A.· ·Yes.
      16·   · · · Q.· ·I'm sorry, Christina what?                   16·   · · · Q.· ·Did you ever go out on that open field?
      17·   · · · A.· ·The lot that we talked about this morning    17·   · · · A.· ·We didn't go out on the open field, but
      18·   ·in Christina.                                          18·   ·there's a kind of a path back there that myself and
      19·   · · · Q.· ·Why was he there and why did you meet        19·   ·my boys would walk from time to time.
      20·   ·there?                                                 20·   · · · Q.· ·And where did the path go?
      21·   · · · A.· ·The attorneys had told me he was coming in   21·   · · · A.· ·It led to -- I'm trying to remember the
      22·   ·town and he was coming in town to do testing at        22·   ·name of the road.· Edgewood, I think it is.
      23·   ·Grasslands, and I asked if he could come by            23·   · · · Q.· ·How often would you go down that path?
      24·   ·Christina lot and do testing.                          24·   · · · A.· ·In the three or so years we lived there,
      25·   · · · Q.· ·Did he do that?                              25·   ·probably, I don't know, six to ten times, maybe.


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      ·1·   · · · Q.· ·Now, is that path -- where is the path in    ·1·   · ·BY MR. WACHTER:
      ·2·   ·relation to the open field?                            ·2·   · · · Q.· ·Sorry.· In terms of the town hall meeting
      ·3·   · · · A.· ·It's the one perimeter of the open field.    ·3·   ·that your counsel organized --
      ·4·   · · · Q.· ·And why would you go down the path?          ·4·   · · · A.· ·Uh-huh, yeah.
      ·5·   · · · A.· ·To entertain my boys, a walk of discovery,   ·5·   · · · Q.· ·-- were you involved with setting up that
      ·6·   ·wilderness explorers.· You get the idea.               ·6·   ·meeting?
      ·7·   · · · Q.· ·It was brush?                                ·7·   · · · A.· ·No.
      ·8·   · · · A.· ·It was mostly cleared.· There was brush      ·8·   · · · · · ·MR. WACHTER:· Let's go ahead and mark the
      ·9·   ·and a ditch on one side and like tree lined and then   ·9·   · · · next exhibit, Exhibit 9.· Nancy will get that
      10·   ·backyards to a certain -- certain point and then       10·   · · · to you.
      11·   ·beyond that was the open field.                        11·   · · · · · ·(Thereupon, marked as Defense Exhibit 9.)
      12·   · · · Q.· ·Would you encounter any other residents      12·   · ·BY MR. WACHTER:
      13·   ·when you were walking the path, or did you?            13·   · · · Q.· ·Okay.· Take a look at Exhibit Number 9 and
      14·   · · · A.· ·Not that I recall, no.                       14·   ·let me know when you're done, you and your counsel.
      15·   · · · · · ·MR. WACHTER:· We're going to mark this       15·   · · · A.· ·Yeah, I've looked at it.
      16·   · · · next -- Nancy, I don't know if you can see this   16·   · · · Q.· ·Okay.· Does this refer to the town hall
      17·   · · · or not.· What's our next number?                  17·   ·meeting that you discussed earlier?
      18·   · · · · · ·THE COURT REPORTER:· 8.                      18·   · · · A.· ·Uh-huh, yes.
      19·   · · · · · ·MR. WACHTER:· 8?                             19·   · · · Q.· ·Now, on this second -- on the second page
      20·   · · · · · ·(Thereupon, marked as Defense Exhibit 8.)    20·   ·here, do you see the page in yellow?
      21·   · · · · · ·MR. NIDEL:· Is there a question?             21·   · · · A.· ·Right.
      22·   · ·BY MR. WACHTER:                                      22·   · · · Q.· ·And there's a radiation symbol down below?
      23·   · · · Q.· ·Mr. Feist, I want to give you plenty of      23·   · · · A.· ·Uh-huh.
      24·   ·time to look at this.· Have you had a chance to look   24·   · · · Q.· ·Were you involved in generating this
      25·   ·at Exhibit Number 8?                                   25·   ·notice with the yellow color and the radiation

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      ·1·   · · · A.· ·Three pages of it.                           ·1·   ·symbol?
      ·2·   · · · Q.· ·Take your time, you and your counsel,        ·2·   · · · A.· ·No, not at all.
      ·3·   ·please, to review this.· And let me know when you're   ·3·   · · · Q.· ·What's your understanding as to what this
      ·4·   ·done.                                                  ·4·   ·radiation symbol was meant to convey?
      ·5·   · · · A.· ·Okay.                                        ·5·   · · · · · ·MR. NIDEL:· Objection to form and
      ·6·   · · · · · ·Okay, I would say I have a general idea of   ·6·   · · · foundation.
      ·7·   ·it.                                                    ·7·   · ·BY MR. WACHTER:
      ·8·   · · · Q.· ·Okay, thank you, Mr. Feist.· Thank you for   ·8·   · · · Q.· ·If you have any.
      ·9·   ·taking the time to look through it.                    ·9·   · · · A.· ·Well, can you say the question again?
      10·   · · · · · ·This is a document, Drummond Properties      10·   · · · Q.· ·Do you have any knowledge as to why this
      11·   ·Lakeland Development Agreement with Department of      11·   ·radiation symbol was put on the notice?
      12·   ·Community Affairs and Central Florida Regional         12·   · · · A.· ·I can assume to get attention.
      13·   ·Planning Council, September 1985.                      13·   · · · Q.· ·And do you think that this type of
      14·   · · · · · ·Did you see this document -- did you ever    14·   ·radiation symbol ought to be put up in the
      15·   ·see this document prior to any of your purchases in    15·   ·neighborhood to tell the residents that you're
      16·   ·Grasslands communities?                                16·   ·concerned about radiation?
      17·   · · · A.· ·No, I don't recollect that.                  17·   · · · A.· ·Do I think that the symbol should be put
      18·   · · · Q.· ·Have you ever seen this document before      18·   ·up in the neighborhood?
      19·   ·today?                                                 19·   · · · Q.· ·Correct.
      20·   · · · A.· ·Not that I know of.                          20·   · · · A.· ·Probably should.
      21·   · · · Q.· ·In terms of the town hall meeting --         21·   · · · Q.· ·And do you recall Mr. Nidel making
      22·   · · · · · ·THE COURT REPORTER:· I'm sorry, I didn't     22·   ·statements at that meeting?
      23·   · · · hear you.                                         23·   · · · A.· ·I remember him being there and I remember
      24·   · · · A.· ·Yeah, I didn't either.                       24·   ·him talking, yeah.
      25                                                            25·   · · · Q.· ·Do you remember Mr. Nidel and the other


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      ·1·   ·counsel referring to your neighborhood as a toxic      ·1·   ·own or her own decision on that?
      ·2·   ·waste site?                                            ·2·   · · · A.· ·Yeah.
      ·3·   · · · A.· ·I don't remember that specifically, but...   ·3·   · · · Q.· ·Did -- and you're aware that there are
      ·4·   · · · Q.· ·Is that how you consider your                ·4·   ·very many residents in Grasslands and Oakbridge who
      ·5·   ·neighborhood?                                          ·5·   ·disagree with your point of view that you just
      ·6·   · · · · · ·MR. NIDEL:· Objection to form and            ·6·   ·expressed, correct?
      ·7·   · · · foundation.                                       ·7·   · · · A.· ·Can you repeat the question?
      ·8·   · · · · · ·THE WITNESS:· No, I'll answer this.          ·8·   · · · Q.· ·Yeah.· Thank you for clarifying that.
      ·9·   · · · A.· ·Yes, it's a very nice looking waste site.    ·9·   · · · · · ·Would you agree with me there are very
      10·   · ·BY MR. WACHTER:                                      10·   ·many residents and property owners in Grasslands and
      11·   · · · Q.· ·And do you recall Mr. Nidel making a         11·   ·Oakbridge who do not share your point of view of
      12·   ·statement that the homes in this neighborhood --       12·   ·whether they should be living in those
      13·   ·these neighborhoods, Grasslands and Oakbridge, are     13·   ·neighborhoods?
      14·   ·unliveable or unsellable?                              14·   · · · · · ·MR. NIDEL:· Objection to form and
      15·   · · · A.· ·I don't remember that in particular.         15·   · · · foundation.
      16·   ·Sorry.                                                 16·   · · · A.· ·Would I agree with their -- that there's
      17·   · · · Q.· ·Do you agree with the statement that the     17·   ·many?· I'm not sure what your definition of many is.
      18·   ·homes in the neighborhood are unliveable or            18·   ·Is it more than a few?· Probably, yeah.
      19·   ·unsellable?                                            19·   · ·BY MR. WACHTER:
      20·   · · · · · ·MR. NIDEL:· Objection to form and            20·   · · · Q.· ·Do you have any sense of how many?
      21·   · · · foundation.                                       21·   · · · A.· ·I don't.
      22·   · · · A.· ·Can you live in them?· Yeah.· We all make    22·   · · · Q.· ·But these are some of the same people
      23·   ·choices.· Should you?· Don't think so.· Can you sell   23·   ·you've lost friendships over because they don't
      24·   ·it?· Sure, you can sell just about anything.           24·   ·share your point of view; is that right?
      25                                                            25·   · · · A.· ·Some of them, I would imagine, yes.

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      ·1·   · ·BY MR. WACHTER:                                      ·1·   · · · Q.· ·So as part of your -- in your own words,
      ·2·   · · · Q.· ·So your address at 651 Grasslands Circle     ·2·   ·as part of your claim in this case, are you claiming
      ·3·   ·is a residence that no one should live in?             ·3·   ·that Drummond made any misrepresentations or false
      ·4·   · · · A.· ·I choose not to.                             ·4·   ·statements to you?
      ·5·   · · · Q.· ·How about the residence where your former    ·5·   · · · · · ·MR. NIDEL:· Objection to form and
      ·6·   ·wife and daughter live, 3039 Grasslands, is that a     ·6·   · · · foundation.
      ·7·   ·residence in a location that no one should live in?    ·7·   · · · A.· ·Can you repeat the question?
      ·8·   · · · A.· ·Is it a what?· I'm sorry.                    ·8·   · ·BY MR. WACHTER:
      ·9·   · · · Q.· ·Is it a residence where no one should live   ·9·   · · · Q.· ·Has Drummond or any of its employees made
      10·   ·in because of the radiation risk?                      10·   ·any false statements to you in connection with your
      11·   · · · A.· ·That particular level, I can't tell you.     11·   ·decision to purchase or live in Grasslands?
      12·   ·Do I think everybody should be living in Grasslands?   12·   · · · · · ·MR. NIDEL:· Objection.· Foundation.
      13·   ·I don't.                                               13·   · · · A.· ·Yeah, I don't -- I don't recollect
      14·   · · · Q.· ·What do you -- I'm just thinking -- what     14·   ·somebody making a false statement.
      15·   ·do you mean by that?                                   15·   · ·BY MR. WACHTER:
      16·   · · · A.· ·There's elevated levels of radiation.· Do    16·   · · · Q.· ·Did any -- did Drummond or its employees
      17·   ·I think that people should ignore that and live        17·   ·mislead you in any way in connection with your
      18·   ·there?· No, I don't think they should.· You could      18·   ·purchases in Grasslands or living there?
      19·   ·choose to ignore it and -- but do I think they         19·   · · · · · ·MR. NIDEL:· Objection to form and
      20·   ·should?· No.                                           20·   · · · foundation.
      21·   · · · Q.· ·Is it your view that the residents should    21·   · · · A.· ·The omission of the fact that it was a
      22·   ·all move out of Grasslands and Oakbridge?              22·   ·former phosphate mine and omission of reports of
      23·   · · · A.· ·It's a personal choice just like the         23·   ·elevated radiation from years ago and then I believe
      24·   ·lawsuit.                                               24·   ·after the reclamation, the omission of those, I do
      25·   · · · Q.· ·You think each resident should make his      25·   ·believe that's misleading.· I wouldn't have bought


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      ·1·   ·in there had I seen half of this information.          ·1·   ·reclamation process, if you have a concern?
      ·2·   · ·BY MR. WACHTER:                                      ·2·   · · · A.· ·I don't know the exact reclamation process
      ·3·   · · · Q.· ·And just so I get -- I want a clear idea     ·3·   ·that Drummond followed.· I don't have the details on
      ·4·   ·of what you're referring to.                           ·4·   ·that.· And whether they followed some of the things
      ·5·   · · · A.· ·Sure.                                        ·5·   ·in the document I just read through, I don't know.
      ·6·   · · · Q.· ·I think the first thing you mentioned was    ·6·   ·I've got no idea.
      ·7·   ·omission as to whether this was a former phosphate     ·7·   · · · · · ·What I have been told is that documents
      ·8·   ·mine or mined for phosphate?                           ·8·   ·show that the levels of radiation were elevated
      ·9·   · · · A.· ·Yeah, I would have thought that that would   ·9·   ·prior to them reclaiming and that it was similar
      10·   ·have been put right out there, common knowledge.       10·   ·afterwards and they're still similar today, so...
      11·   · · · Q.· ·And that was an omission that should have    11·   · · · Q.· ·So in terms of the construction, you
      12·   ·been disclosed to you?                                 12·   ·bought two homes that were on a slab, right, and
      13·   · · · A.· ·Yep, I believe so.                           13·   ·you've got a third condo and another condo that --
      14·   · · · Q.· ·And it was -- in your view, that would be    14·   ·both second stories, right?
      15·   ·a material piece of information, important?            15·   · · · A.· ·Right.
      16·   · · · · · ·MR. NIDEL:· Objection to form.               16·   · · · Q.· ·So for the ones that are on a slab on the
      17·   · · · A.· ·You're asking me do I think that that's      17·   ·ground, do you know whether that was done with
      18·   ·important information?                                 18·   ·what's called a monolithic slab?
      19·   · ·BY MR. WACHTER:                                      19·   · · · A.· ·You're asking me if I know the
      20·   · · · Q.· ·Yes, sir.                                    20·   ·construction process or construction details?
      21·   · · · A.· ·Yeah, it is.                                 21·   · · · Q.· ·Do you know whether the slab was
      22·   · · · Q.· ·And if that had been told to you, you        22·   ·monolithic in the sense that there were no joints,
      23·   ·would or would not have purchased in there?            23·   ·it was just a single-pour slab?
      24·   · · · A.· ·If somebody told me it was a former          24·   · · · A.· ·I don't know.· I'm familiar with the
      25·   ·phosphate mine, I can't tell you yes or no whether I   25·   ·terms, but I can't tell you whether it was or not.

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      ·1·   ·would have purchased anyway.· If they told me that     ·1·   · · · Q.· ·And then in terms of post-tensioning, when
      ·2·   ·there was elevated levels of radiation both before     ·2·   ·they put in tensions on the slab to keep it from
      ·3·   ·and after the reclamation process, I probably          ·3·   ·cracking, do you know whether that was done for
      ·4·   ·wouldn't have bought in there.                         ·4·   ·those two homes?
      ·5·   · · · Q.· ·I'm just talking about whether it's a        ·5·   · · · A.· ·I don't.
      ·6·   ·former phosphate mine.· What role would that have      ·6·   · · · Q.· ·So do you know any -- whether the
      ·7·   ·played in your decision-making process?                ·7·   ·construction process diminished or alleviated the
      ·8·   · · · · · ·MR. NIDEL:· Objection to form.· Asked and    ·8·   ·risk of radon getting into the home?
      ·9·   · · · answered.                                         ·9·   · · · · · ·MR. NIDEL:· Objection to form and
      10·   · ·BY MR. WACHTER:                                      10·   · · · foundation.
      11·   · · · Q.· ·That would be important information for      11·   · · · A.· ·I don't.
      12·   ·you?                                                   12·   · ·BY MR. WACHTER:
      13·   · · · A.· ·Would it have been important information?    13·   · · · Q.· ·And do you know whether the construction
      14·   ·Yeah.                                                  14·   ·process with a monolithic slab or any other
      15·   · · · Q.· ·Now, elevated radiation after reclamation.   15·   ·construction techniques they used reduced any other
      16·   · · · A.· ·Uh-huh.                                      16·   ·type of radiation from getting into the home?
      17·   · · · Q.· ·Is reclamation the same thing as             17·   · · · A.· ·Again, I'm not an engineer or expert, but
      18·   ·development, in your own mind?· Just in your own       18·   ·I would think so.· I would think that that would
      19·   ·words.· I know you've done some research.· Do you      19·   ·help.
      20·   ·have a distinction in your mind between reclaiming     20·   · · · Q.· ·In terms of this particular case, do you
      21·   ·the property and then actually developing it for       21·   ·know whether you're requesting to be a class
      22·   ·homesites?                                             22·   ·representative?· Do you know what that means, in
      23·   · · · A.· ·You're asking me if I think that that's      23·   ·your own words and nothing based on what your
      24·   ·two different things?· Yes, I do.                      24·   ·counsel have told you?
      25·   · · · Q.· ·And what is your concern about the           25·   · · · A.· ·Do I know what it means to be -- to what?


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      ·1·   · · · Q.· ·Have you heard the term "class               ·1·   · · · Q.· ·Do you know whether the Florida Department
      ·2·   ·representative"?                                       ·2·   ·of Health was asked or undertook to test the streets
      ·3·   · · · A.· ·Yes.                                         ·3·   ·and sidewalks and public areas?
      ·4·   · · · Q.· ·Okay.· What does that mean to you, without   ·4·   · · · A.· ·Yeah.· I don't know the details, but I had
      ·5·   ·getting into any conversations you might have had      ·5·   ·heard something like that, yes.
      ·6·   ·with your lawyers?· I just want your own words.        ·6·   · · · Q.· ·In terms of the generalities, do you know
      ·7·   · · · A.· ·Yeah.· I'm a representative for the others   ·7·   ·what the Florida Department of Health found in terms
      ·8·   ·that are involved in the class action suit.            ·8·   ·of safety?
      ·9·   · · · Q.· ·And do you have any duties or obligations    ·9·   · · · · · ·MR. NIDEL:· Objection to form and
      10·   ·that go along with that?                               10·   · · · foundation.
      11·   · · · · · ·MR. NIDEL:· Objection to form and            11·   · · · A.· ·I wasn't given those details.· I don't
      12·   · · · foundation.                                       12·   ·know.
      13·   · ·BY MR. WACHTER:                                      13·   · ·BY MR. WACHTER:
      14·   · · · Q.· ·And again, this is not -- please don't get   14·   · · · Q.· ·And what is your understanding as to
      15·   ·into any conversations you had with your lawyers.      15·   ·the -- or do you have one -- you said you were told
      16·   ·We just want your understanding of what you're         16·   ·some things about the Florida Department of Health.
      17·   ·asking in terms of your responsibilities as a class    17·   ·Do you have any knowledge of whether the Florida
      18·   ·representative.                                        18·   ·Department of Health found any cancer problems or
      19·   · · · A.· ·Yeah.                                        19·   ·problems that could cause cancer in these
      20·   · · · · · ·MR. NIDEL:· Objection to form and            20·   ·neighborhoods?
      21·   · · · foundation.                                       21·   · · · A.· ·Yeah, I -- I don't know.· I just -- I know
      22·   · · · A.· ·I don't know what the customary role is      22·   ·that they tested.· I know that they tested a lot
      23·   ·or -- or duties are.· So if that's what you're         23·   ·of -- collected a lot of data.· Do I know details of
      24·   ·asking, no, I don't.                                   24·   ·what they found and what their determination was?
      25                                                            25·   ·No, I don't.

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      ·1·   · ·BY MR. WACHTER:                                      ·1·   · · · · · ·MR. WACHTER:· We've been going about an
      ·2·   · · · Q.· ·In terms of outdoor activity, you            ·2·   · · · hour.· Is it okay if we take a break?
      ·3·   ·mentioned that you engaged in certain outdoor          ·3·   · · · · · ·THE WITNESS:· Sure.
      ·4·   ·activity and some of this with your kids, sons and     ·4·   · · · · · ·MR. WACHTER:· Thank you.
      ·5·   ·daughter -- your daughter and your sons.               ·5·   · · · · · ·THE VIDEOGRAPHER:· We are going off the
      ·6·   · · · A.· ·Right.                                       ·6·   · · · record at 1:57 p.m.· This concludes Media
      ·7·   · · · Q.· ·Some of it was on your own.· Do you have     ·7·   · · · Number 3 in the deposition.
      ·8·   ·any sense of what other residents -- whether other     ·8·   · · · · · ·(Recess taken.)
      ·9·   ·residents engaged in the same level of outdoor         ·9·   · · · · · ·THE VIDEOGRAPHER:· We are back on the
      10·   ·activity that you've done?· You also mentioned         10·   · · · video record at 2:11 p.m.· This begins Media
      11·   ·playing golf.· So do you -- do you know whether your   11·   · · · Number 4 of the videotaped deposition of
      12·   ·experiences outdoors are the same as other residents   12·   · · · Mr. Feist.
      13·   ·or is everybody different?                             13·   · · · · · ·MR. WACHTER:· Thank you.· I just want to
      14·   · · · A.· ·Yeah, I can't speak for other residents.     14·   · · · say there's some hammering and I understand
      15·   ·I really don't know.· It's probably typical --         15·   · · · it's interfering with the audio record, so I'm
      16·   ·typical, but I really don't know.                      16·   · · · going to try to speak up.· Unfortunately, we
      17·   · · · Q.· ·Have you asked the State of Florida to       17·   · · · didn't realize it was going to interfere, so
      18·   ·come and test any of these homes, the Florida          18·   · · · we'll try to wrap it up because they're not
      19·   ·Department of Health?                                  19·   · · · going to stop anytime soon.
      20·   · · · A.· ·No.                                          20·   · ·BY MR. WACHTER:
      21·   · · · Q.· ·And do you know whether the Florida          21·   · · · Q.· ·Mr. Feist, just a couple follow-up on the
      22·   ·Department of Health was asked by any residents in     22·   ·golfing.· Even though you were no longer a member
      23·   ·Grasslands and Oakbridge to come and test their        23·   ·out at Grasslands, did you continue to play out at
      24·   ·property?                                              24·   ·Grasslands up until 2017 and beyond?
      25·   · · · A.· ·I had heard that, yeah.                      25·   · · · A.· ·No.· I played a couple of times prior to


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      ·1·   ·2017, between the time I moved out of there and        ·1·   · · · A.· ·I think I filed in 2009.
      ·2·   ·2017, but only a few times.                            ·2·   · · · Q.· ·And was that yourself individually or with
      ·3·   · · · Q.· ·And did you play other courses even up       ·3·   ·your wife or -- do you recall?
      ·4·   ·until today?· Are you still playing?                   ·4·   · · · A.· ·I believe it was me individually.
      ·5·   · · · A.· ·A couple times a year.                       ·5·   · · · Q.· ·What was the reason for that?
      ·6·   · · · Q.· ·In terms of -- you'd mentioned your sons     ·6·   · · · A.· ·I had purchased three condos.· The two for
      ·7·   ·and I appreciate that.· Can you give us the age --     ·7·   ·Carillon Lakes or Carillon Lakes, that was supposed
      ·8·   ·current ages?· I'm not trying to...                    ·8·   ·to be purchased with my ex-wife.· We had put a
      ·9·   · · · A.· ·Yeah, I don't mind.· 13-year-old boy,        ·9·   ·deposit on both of them and then we started this
      10·   ·10-year-old boy, 5-year-old boy, and 2-year-old boy.   10·   ·divorce process.· And so I went ahead and went
      11·   · · · Q.· ·Mr. Feist, in terms of any testing that      11·   ·through with the purchase, so I ended up buying both
      12·   ·was done out there at Grasslands and Oakbridge, you    12·   ·of those.· And at the time, it was difficult to find
      13·   ·mentioned the swimming pool area.· Do you know         13·   ·renters because people were buying houses because it
      14·   ·whether that area was tested by any -- anyone          14·   ·was, I think, easy to get mortgages and that kind of
      15·   ·affiliated with you or your experts?                   15·   ·thing.· And I had also purchased a house as well as
      16·   · · · A.· ·I don't know that in particular, no.         16·   ·the condo at Grasslands.· And so I couldn't keep up
      17·   · · · Q.· ·How about the golf course?                   17·   ·with all the payments.
      18·   · · · A.· ·I don't know whether it was or not.          18·   · · · Q.· ·Mr. Feist, in connection with the
      19·   · · · Q.· ·How about the sidewalks in the Muirfield     19·   ·deposition, we've asked you to bring some documents,
      20·   ·Village or other areas within Grasslands?              20·   ·and so I just want to ask you -- and if your counsel
      21·   · · · A.· ·No, I don't know.                            21·   ·has objections, give your counsel time to object --
      22·   · · · Q.· ·Mr. Feist, have you made an effort to sell   22·   ·but when you signed up for this lawsuit, was there a
      23·   ·your Muirfield Village condo since this lawsuit?       23·   ·written letter of some kind or a written agreement
      24·   · · · A.· ·No.                                          24·   ·or an engagement letter between you and your
      25·   · · · Q.· ·Have you had an appraisal or someone give    25·   ·counsel?

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      ·1·   ·you an estimate of value?                              ·1·   · · · A.· ·Was there a agreement?
      ·2·   · · · A.· ·No.                                          ·2·   · · · Q.· ·Right.· When you joined the lawsuit, did
      ·3·   · · · Q.· ·Mr. Feist, have you been involved in any     ·3·   ·they have something that either you signed or they
      ·4·   ·prior lawsuits?                                        ·4·   ·signed that would indicate what they were going to
      ·5·   · · · A.· ·I was a defendant on a accident claim. I     ·5·   ·do for you or what you were going to do in this
      ·6·   ·wasn't involved, but I happened to own the truck       ·6·   ·lawsuit?
      ·7·   ·that the guy was driving.· But that's the only other   ·7·   · · · A.· ·I think that there was.
      ·8·   ·lawsuit I could think of that I was involved with.     ·8·   · · · Q.· ·Did you bring that with you today?
      ·9·   · · · Q.· ·Have you ever been involved in any other     ·9·   · · · A.· ·No.· I can't tell you whether I have a
      10·   ·class actions?                                         10·   ·copy of it or not.· I don't have one today.· I don't
      11·   · · · A.· ·No.· Probably some Internet-based things     11·   ·know if I have one in general.
      12·   ·like, you know, have I used this product and there's   12·   · · · Q.· ·Do you recall what was in it?
      13·   ·been a few times that I had used the product.· But     13·   · · · A.· ·I don't recall the particular details, no.
      14·   ·yeah, outside of that where I had knowledge of the     14·   · · · Q.· ·Do you recall the kind of claims that you
      15·   ·case and so on, no.                                    15·   ·were either going to make or not make in this case,
      16·   · · · Q.· ·So Mr. Feist, without getting into any       16·   ·whether that was spelled out?
      17·   ·discussions you might have had with your counsel,      17·   · · · A.· ·I think in general it was.
      18·   ·can you tell us what you did to prepare for the        18·   · · · · · ·MR. NIDEL:· Objection to the form.· If
      19·   ·deposition today, for this deposition?· Do not get     19·   · · · you're asking him does he recall, I'm not
      20·   ·into any discussions with your counsel, please.        20·   · · · objecting.· If you're asking him if -- what was
      21·   · · · A.· ·I would say not a whole lot.                 21·   · · · in that agreement, we are objecting to
      22·   · · · Q.· ·Mr. Feist, did you previously file           22·   · · · producing an agreement which apparently he
      23·   ·bankruptcy at some point?                              23·   · · · doesn't have a copy of, but we are objecting to
      24·   · · · A.· ·I did.                                       24·   · · · producing our attorney-client agreement.
      25·   · · · Q.· ·When was that?                               25·   · · · · · ·MR. WACHTER:· You're saying it's


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      ·1·   · · · attorney-client?                                  ·1·   · · · and Steven German.
      ·2·   · · · · · ·MR. NIDEL:· Correct.                         ·2·   · · · · · ·MR. GRADY:· On the defense side, Connie
      ·3·   · · · · · ·MR. WACHTER:· Okay.· Well, let's move on.    ·3·   · · · Cox, Bryan Balogh and Blake Andrews.
      ·4·   · ·BY MR. WACHTER:                                      ·4·   · · · · · ·MR. NIDEL:· Okay.· So that's it.· That's
      ·5·   · · · Q.· ·Mr. Feist, Number 2 on the list -- and       ·5·   · · · everyone?
      ·6·   ·this was on the deposition notice, but I'll just --    ·6·   · · · · · ·MR. GRADY:· That's everyone on our side.
      ·7·   ·I'll ask you or you can refer to it, it doesn't        ·7·   · · · · · ·MR. NIDEL:· Okay.· I know I have at least
      ·8·   ·matter.· I think you've already talked about whether   ·8·   · · · a handful of questions.· I may need to talk to
      ·9·   ·there's any -- whether you have any test results,      ·9·   · · · my co-counsel before I decide if that's it.· It
      10·   ·test results for radon, radiation, gamma.              10·   · · · might make sense if we take a five-minute break
      11·   · · · A.· ·Yeah, I don't.                               11·   · · · now and I can get that done at one time.
      12·   · · · Q.· ·Okay.· And anything in writing -- so we      12·   · · · · · ·THE VIDEOGRAPHER:· We are going off the
      13·   ·talked about your conversations with other             13·   · · · record at 2:21 p.m.
      14·   ·residents.· Do you have any e-mails, notes,            14·   · · · · · ·(Recess taken.)
      15·   ·correspondence with other residents concerning this    15·   · · · · · ·THE VIDEOGRAPHER:· We are back on the
      16·   ·issue?                                                 16·   · · · video record at 2:34 p.m.
      17·   · · · A.· ·I do not.                                    17·   · · · · · · · · · ·CROSS EXAMINATION
      18·   · · · Q.· ·The issues in the lawsuit.                   18·   · ·BY MR. NIDEL:
      19·   · · · A.· ·Yep.· I do not.                              19·   · · · Q.· ·Good afternoon, Mr. Feist.· I just have a
      20·   · · · Q.· ·The same thing, do you have any e-mails,     20·   ·few follow-up questions for you and we can get you
      21·   ·notes, anything in writing between you and             21·   ·back home.
      22·   ·Mr. Jerue --                                           22·   · · · · · ·Earlier today you were asked by counsel
      23·   · · · A.· ·No.                                          23·   ·about your responsibilities as class rep in this
      24·   · · · Q.· ·-- regarding this lawsuit?                   24·   ·case.· Do you recall that discussion?
      25·   · · · A.· ·No.                                          25·   · · · A.· ·Yes.

                                                       Page 159                                                      Page 161
      ·1·   · · · Q.· ·Did you sign any broker agreements to list   ·1·   · · · Q.· ·Okay.· And do you understand your
      ·2·   ·your property in Muirfield Village?                    ·2·   ·responsibilities to include cooperating with counsel
      ·3·   · · · A.· ·No.                                          ·3·   ·for both plaintiffs and defendants?
      ·4·   · · · Q.· ·So what did you bring with you, Mr. Feist?   ·4·   · · · A.· ·Yes, I do.
      ·5·   ·You mentioned something earlier and I cut you off.     ·5·   · · · · · ·MR. WACHTER:· Objection to form.
      ·6·   ·I apologize.· I'm curious as to what you brought       ·6·   · · · · · ·Just give me an opportunity to state my
      ·7·   ·with you.                                              ·7·   · · · objection.
      ·8·   · · · A.· ·You're asking me what I brought here?        ·8·   · · · · · ·THE WITNESS:· Sorry.
      ·9·   · · · Q.· ·Any documents related to this lawsuit that   ·9·   · ·BY MR. NIDEL:
      10·   ·you might have brought with you today.                 10·   · · · Q.· ·Okay.· And do you understand that your
      11·   · · · A.· ·I didn't bring anything.                     11·   ·responsibilities include speaking on behalf of
      12·   · · · · · ·MR. WACHTER:· All right.· Well, that's all   12·   ·others in your community?
      13·   · · · I've got.                                         13·   · · · · · ·MR. WACHTER:· Object to form.
      14·   · · · · · ·MR. NIDEL:· I may have a couple questions,   14·   · · · A.· ·Yes, I do.
      15·   · · · but first of all, can we get -- we asked for      15·   · ·BY MR. NIDEL:
      16·   · · · this before.· We haven't done it.· Can we get     16·   · · · Q.· ·And do you understand that your
      17·   · · · the identification of everyone that's on -- at    17·   ·responsibilities include doing things like producing
      18·   · · · the deposition, appearing at the deposition for   18·   ·documents, answering questions and attending
      19·   · · · the record?· Yeah, I mean, I know the court       19·   ·depositions, as you're doing today?
      20·   · · · reporter has asked for the names, but I want      20·   · · · · · ·MR. WACHTER:· Object to form.
      21·   · · · the names to be on the record, so -- and I        21·   · · · A.· ·Yes, I do.· I take the responsibility
      22·   · · · don't necessarily need them to speak, but if      22·   ·pretty seriously.· And just from a personal
      23·   · · · counsel can identify everyone that is attending   23·   ·standpoint, I -- I took this responsibility pretty
      24·   · · · the deposition.                                   24·   ·seriously.
      25·   · · · · · ·On the plaintiff's side, it's Chris Nidel    25


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      ·1·   · ·BY MR. NIDEL:                                        ·1·   · ·   · A.· ·Okay, I'm sorry.
      ·2·   · · · Q.· ·Okay.· And do you understand that you may    ·2·   · ·   · Q.· ·I just wanted to know whether you talked
      ·3·   ·have to attend trial in this case?                     ·3·   ·to   him or not.
      ·4·   · · · A.· ·Yeah.                                        ·4·   · ·   · A.· ·Yeah, we talked --
      ·5·   · · · · · ·MR. WACHTER:· Object to form.                ·5·   · ·   · Q.· ·Okay.
      ·6·   · · · A.· ·Yes, I assume that.                          ·6·   · ·   · A.· ·-- briefly.
      ·7·   · ·BY MR. NIDEL:                                        ·7·   · ·   · · · ·MR. WACHTER:· Thank you.· Appreciate it.
      ·8·   · · · Q.· ·Do you -- do you trust the counsel of your   ·8·   · ·   · · · ·THE WITNESS:· Yeah.
      ·9·   ·attorneys in this case?                                ·9·   · ·   · · · ·MR. WACHTER:· I'm done.
      10·   · · · A.· ·Yes.                                         10·   · ·   · · · ·MR. NIDEL:· I don't have any follow-up.
      11·   · · · Q.· ·There was some discussion about phosphate    11·   · ·   · · · ·THE VIDEOGRAPHER:· We are going off the
      12·   ·mining today with respect to what your knowledge       12·   · ·   · record at 2:39 p.m.· This concludes the
      13·   ·was.· Do you recall that discussion?                   13·   · ·   · videotaped deposition of Michael Feist.· The
      14·   · · · A.· ·I do, yeah.                                  14·   · ·   · total number of media used was four.
      15·   · · · Q.· ·Okay.· And when did you first become aware   15·   · ·   · · · ·THE COURT REPORTER:· Mr. Wachter, did you
      16·   ·of some relationship between phosphate mining and      16·   · ·   · want an e-mail of the rough?
      17·   ·radiation?                                             17·   · ·   · · · ·MR. WACHTER:· No.
      18·   · · · A.· ·Not until after this case started.           18·   · ·   · · · ·THE COURT REPORTER:· Mr. Nidel, are you
      19·   · · · Q.· ·Okay.· And is your concern with phosphate    19·   · ·   · ordering?
      20·   ·mining the concern that you associate phosphate        20·   · ·   · · · ·MR. NIDEL:· We will order a copy of the
      21·   ·mining with radiation?                                 21·   · ·   · transcript, just like a standard order.
      22·   · · · A.· ·Yes, and the health issues that could come   22·   · ·   · · · ·(The proceedings concluded at 2:39 p.m.)
      23·   ·from that.                                             23
      24·   · · · Q.· ·Okay.· And do you have any concerns          24
      25·   ·specific to phosphate mining and buying property       25

                                                       Page 163                                                      Page 165
      ·1·   ·that was phosphate-mined other than those that         ·1
                                                                    ·2
      ·2·   ·relate to those radiation concerns?
                                                                    ·3
      ·3·   · · · A.· ·No.· For me, it wouldn't matter what it
                                                                    ·4· · · · · · · · · · CERTIFICATE OF OATH
      ·4·   ·was as long as it was, you know, reclaimed or
                                                                    ·5
      ·5·   ·cleaned up to the point where it was -- served no
                                                                    ·6
      ·6·   ·health risks to anyone involved.
                                                                    ·7· ·STATE OF FLORIDA
      ·7·   · · · · · ·MR. NIDEL:· I have nothing further for       ·8· ·COUNTY OF HILLSBOROUGH
      ·8·   · · · you, Mr. Feist.· Thank you.                       ·9
      ·9·   · · · · · ·MR. WACHTER:· I have just a couple of        10
      10·   · · · questions.                                        11· · · · · · · ·I, the undersigned authority, certify
      11·   · · · · · · · · ·REDIRECT EXAMINATION                   12· · · that MICHAEL J. FEIST personally appeared before

      12·   · ·BY MR. WACHTER:                                      13· · · me and was duly sworn on the 7th day of October,

      13·   · · · Q.· ·Just to clarify, I finished my questions,    14· · · 2020.

      14·   ·we took a break.· Mr. Feist, don't tell me any         15· · · · · · · ·Signed this 19th day of October, 2020.
                                                                    16
      15·   ·conversations, any substance of what you might have
                                                                    17
      16·   ·talked over with your counsel, but you and your
                                                                    18· · · · · · · · · · ·________________________________
      17·   ·counsel went out during the break; is that right?
                                                                    · · · · · · · · · · · ·DENISE SANKARY, RPR, RMR, CRR
      18·   · · · A.· ·Correct.
                                                                    19· · · · · · · · · · ·Notary Public, State of Florida
      19·   · · · Q.· ·Don't tell me what you talked about, but
                                                                    · · · · · · · · · · · ·My Commission No. GG· 944837
      20·   ·did you talk with your counsel, without telling me     20· · · · · · · · · · ·Expires: 1/27/24
      21·   ·what you said?                                         21
      22·   · · · A.· ·Well, we both went to the bathroom and we    22
      23·   ·chatted a little bit, but he said he had a phone       23
      24·   ·call to make and --                                    24

      25·   · · · Q.· ·Well, don't tell me what he said.            25




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      ·1· · · · · · · · · CERTIFICATE OF REPORTER
      ·2
      ·3· ·STATE OF FLORIDA
      ·4· ·COUNTY OF HILLSBOROUGH
      ·5
      ·6
      ·7· · · · · · · ·I, DENISE SANKARY, Registered Merit
      ·8· · · Reporter, do hereby certify that I was authorized
      ·9· · · to and did stenographically report the foregoing
      10· · · videotaped deposition of MICHAEL J. FEIST; pages
      11· · · 1 through 164; that a review of the transcript
      12· · · was not requested; and that the transcript is a
      13· · · true record of my stenographic notes.
      14· · · · · · · ·I FURTHER CERTIFY that I am not a
      15· · · relative, employee, attorney, or counsel of any
      16· · · of the parties, nor am I a relative or employee
      17· · · of any of the parties' attorneys or counsel
      18· · · connected with the action, nor am I financially
      19· · · interested in the action.
      20· · · · · · · ·Dated this 19th day of October, 2020.
      21
      22· · · · · · · · · · ·________________________________
      · · · · · · · · · · · ·DENISE SANKARY, RPR, RMR, CRR
      23
      24
      25




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